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            · · · ·IN THE UNITED STATES DISTRICT COURT
            · · · · FOR THE SOUTHERN DISTRICT OF OHIO
            · · · · · · · · EASTERN DIVISION

            · · · · · · · · · · - - - - -


            Kevin C. Morgan II,· · · :

            · · · · Plaintiff,· · · ·:

            · · · · vs.· · · · · · · : Case No. 2:17-cv-00829
            · · · · · · · · · · · · · ·Judge Marbley
            City of Columbus,· · · · : Magistrate Judge Deavers
            Ohio, et al.,
            · · · · · · · · · · · · ·:
            · · · · Defendants.
            · · · · · · · · · · · · ·:



            · · · · · · · · · · - - - - -

            · · · · DEPOSITION OF KIMBERLEY K. JACOBS

            · · · · · · · · · · - - - - -


            ·   ·   ·   ·   ·Taken at Spectrum Reporting LLC
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            ·   ·   ·   ·   · · July 22, 2019, 9:34 a.m.


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  ·1· · · · · · · · · ·A P P E A R A N C E S

  ·2
  · ·   · ON BEHALF OF PLAINTIFF:
  ·3
  · ·   ·   ·   ·   ·The Gittes Law Group
  ·4·   ·   ·   ·   ·723 Oak Street
  · ·   ·   ·   ·   ·Columbus, OH 43205
  ·5·   ·   ·   ·   ·By Jeffrey P. Vardaro, Esq.
  · ·   ·   ·   ·   · · Frederick M. Gittes, Esq.
  ·6
  · ·   · · · · · ·and
  ·7
  · ·   ·   ·   ·   ·Walton + Brown, LLP
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  · ·   ·   ·   ·   ·Columbus, OH 43215
  ·9·   ·   ·   ·   ·By Sean L. Walton, Esq.

  10
  · ·   · ON BEHALF OF DEFENDANTS:
  11
  · ·   ·   ·   ·   ·City of Columbus Assistant City Attorney
  12·   ·   ·   ·   ·77 N. Front Street
  · ·   ·   ·   ·   ·Columbus, OH 43215
  13·   ·   ·   ·   ·By Richard N. Coglianese, Esq.

  14

  15· · ALSO PRESENT:

  16· · · · ·Kevin C. Morgan II

  17

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  ·1· · · · · · · · · · · · ·Monday Morning Session

  ·2· · · · · · · · · · · · · July 22, 2019, 9:34 a.m.

  ·3· · · · · · · · · · · · ·- - - - -

  ·4· · · · · · · · · S T I P U L A T I O N S

  ·5· · · · · · · · · · · · ·- - - - -

  ·6· · · · ·It is stipulated by counsel in attendance that

  ·7· · the deposition of Kimberley K. Jacobs, a witness

  ·8· · herein, called by the Plaintiff for

  ·9· · cross-examination, may be taken at this time by

  10· · the notary pursuant to notice and subsequent

  11· · agreement of counsel that said deposition may be

  12· · reduced to writing in stenotypy by the notary,

  13· · whose notes may thereafter be transcribed out of

  14· · the presence of the witness; that proof of the

  15· · official character and qualification of the notary

  16· · is waived.

  17· · · · · · · · · · · · ·- - - - -

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  · · · (Exhibits retained by Spectrum Reporting LLC.)
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  ·1· · · · · · · · · · KIMBERLEY K. JACOBS

  ·2· · being first duly sworn, testifies and says as

  ·3· · follows:

  ·4· · · · · · · · · · CROSS-EXAMINATION

  ·5· · BY MR. VARDARO:

  ·6· · Q.· · · · ·Could you state your name for the

  ·7· · record.

  ·8· · A.· · · · ·Kim Jacobs.

  ·9· · Q.· · · · ·All right.· And I think we've been

  10· · introduced before, but my name is Jeff Vardaro.

  11· · I'm representing Kevin Morgan in this case.· And I

  12· · will be asking you most if not all the questions

  13· · today.

  14· · A.· · · · ·Okay.

  15· · Q.· · · · ·I know from another case we've been

  16· · working on that you've been deposed fairly

  17· · recently.· But just to try to refresh some of the

  18· · ground rules for you -- well, first of all, have

  19· · you been in any depositions since your deposition

  20· · in the Carl Shaw case a few weeks ago?

  21· · A.· · · · ·No.

  22· · Q.· · · · ·Okay.· As I said, I'll be asking you

  23· · most if not all the questions.· If I ask you a

  24· · question and you don't understand the question,


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  ·1· · you understand that you can ask me to rephrase the

  ·2· · question?

  ·3· · A.· · · · ·I do.

  ·4· · Q.· · · · ·And you'll do that if you don't

  ·5· · understand it?

  ·6· · A.· · · · ·I will.

  ·7· · Q.· · · · ·And if you answer a question and you

  ·8· · don't ask me to rephrase it, I'm going to assume

  ·9· · you understood the question unless you tell me

  10· · otherwise, okay?

  11· · A.· · · · ·Okay.

  12· · Q.· · · · ·The other thing is I'm going to be

  13· · asking you some questions about different things

  14· · that happened a few years ago.· And I understand

  15· · that your memory, like everybody else's, is not

  16· · perfect.· So if you realize in the middle of the

  17· · deposition that you need to add something to what

  18· · you said before or correct something that you got

  19· · wrong, you understand you can do that even in the

  20· · middle of a question if you need to.

  21· · A.· · · · ·Okay.

  22· · Q.· · · · ·And will you do that for me?

  23· · A.· · · · ·Yes, I will.

  24· · Q.· · · · ·Okay.· I'm going to assume no new


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  ·1· · medical conditions or drugs or medications that

  ·2· · you're on since the last deposition?

  ·3· · A.· · · · ·Correct.

  ·4· · Q.· · · · ·Okay.· No new criminal convictions

  ·5· · since then?

  ·6· · A.· · · · ·No.

  ·7· · Q.· · · · ·Okay.· And did you have an opportunity

  ·8· · to meet with counsel to prepare for this

  ·9· · deposition?

  10· · A.· · · · ·I did.

  11· · Q.· · · · ·When was that?

  12· · A.· · · · ·Last week.

  13· · Q.· · · · ·Okay.· Just the one time?

  14· · A.· · · · ·I believe on Thursday.

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·That's all I recall.

  17· · Q.· · · · ·Okay.· And for about how long?

  18· · A.· · · · ·Probably under two hours.

  19· · Q.· · · · ·Okay.· Did you review any documents to

  20· · prepare for the deposition?

  21· · A.· · · · ·I did.

  22· · Q.· · · · ·What did you review?

  23· · A.· · · · ·I reviewed a copy of the investigation

  24· · summary and the charges and some prior


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  ·1· · disciplinary decisions that might be brought up

  ·2· · as, you know, comparable or whatever.

  ·3· · Q.· · · · ·Okay.· So first of all, you said the

  ·4· · investigative summary.· You're talking about the

  ·5· · internal affairs summary of the Kevin Morgan

  ·6· · investigation?

  ·7· · A.· · · · ·I am.

  ·8· · Q.· · · · ·Okay.· And the charges against Kevin

  ·9· · Morgan is what you're referring to?

  10· · A.· · · · ·Correct.

  11· · Q.· · · · ·Okay.· Did you review any of the

  12· · interview transcripts or hearing transcripts?

  13· · A.· · · · ·No.

  14· · Q.· · · · ·Okay.· Did you listen to any

  15· · recordings?

  16· · A.· · · · ·No.

  17· · Q.· · · · ·Okay.· In terms of -- did you review

  18· · the lawsuit in this case?

  19· · A.· · · · ·No.

  20· · Q.· · · · ·Have you ever seen it?

  21· · A.· · · · ·I don't recall.

  22· · Q.· · · · ·Okay.· In terms of the other

  23· · disciplinary decisions, can you remember what they

  24· · were, the ones that you said you reviewed?


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  ·1· · A.· · · · ·I reviewed many of the decisions that I

  ·2· · made as chief of police.

  ·3· · Q.· · · · ·Okay.

  ·4· · A.· · · · ·So back to 2012 forward that were

  ·5· · resulting in departmental charges or suspensions.

  ·6· · Q.· · · · ·Okay.· But you don't remember which

  ·7· · particular ones?

  ·8· · A.· · · · ·There's -- I don't know -- dozens of

  ·9· · them.

  10· · Q.· · · · ·Okay.· So you reviewed dozens of

  11· · investigations to prepare for this?

  12· · A.· · · · ·Not investigations.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·A summary.

  15· · Q.· · · · ·You reviewed dozens of internal affairs

  16· · summaries of those?

  17· · A.· · · · ·No.· No.

  18· · Q.· · · · ·Oh, I'm sorry?

  19· · A.· · · · ·We kept -- we posted a blurb on our

  20· · division's intranet that explained what the

  21· · charges were and gave a paragraph of what the case

  22· · was about.

  23· · Q.· · · · ·Okay.· Is there a name for that

  24· · document in the department?


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  ·1· · A.· · · · ·The discipline database.

  ·2· · Q.· · · · ·The discipline database.

  ·3· · · · · · · ·Okay.· Is it also referred to as like a

  ·4· · disciplinary grid or something to that effect?

  ·5· · A.· · · · ·Maybe somebody does.

  ·6· · Q.· · · · ·Not by you?

  ·7· · A.· · · · ·No.· It's on the division's intranet.

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·Under the Professional Standards Bureau

  10· · discipline link.

  11· · Q.· · · · ·Okay.· What information does it have on

  12· · it for each case?

  13· · A.· · · · ·Generally the officer's name, the rule

  14· · of conduct that was violated, the chief's

  15· · recommendation.· And then oftentimes the

  16· · director's recommendation and then a summary of

  17· · the case like I said and usually a paragraph or

  18· · two.

  19· · Q.· · · · ·Okay.· And that's just kept updated on

  20· · a, like, sort of a rolling basis?

  21· · A.· · · · ·Yeah.· The professional standards

  22· · bureau.

  23· · Q.· · · · ·Okay.

  24· · A.· · · · ·Discipline grievance lieutenants are


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  ·1· · responsible for keeping it up to date.

  ·2· · Q.· · · · ·Okay.· How far back does it go?

  ·3· · A.· · · · ·Well, I think at least until 2012, but

  ·4· · I don't know if it goes back further than that.                     I

  ·5· · was interested in making sure that our personnel

  ·6· · were informed of some of those decisions so that

  ·7· · they would have notice of what types of incidents,

  ·8· · about what type of thing to prevent rumors and

  ·9· · just to give notice.

  10· · Q.· · · · ·Because officers might otherwise talk

  11· · without information about what happened in a

  12· · particular disciplinary case, is that the --

  13· · A.· · · · ·That's part of it.

  14· · Q.· · · · ·Okay.· Well, what's the other part?

  15· · A.· · · · ·Just so that they understand that there

  16· · are ramifications to behavior that is in violation

  17· · of our rules.

  18· · Q.· · · · ·Okay.· You want the consequences for

  19· · misconduct to be clear and predictable for the

  20· · officers I guess?

  21· · A.· · · · ·I believe that it's a responsibility to

  22· · give them real information rather than to just

  23· · leave it out there and let word spread verbally

  24· · rather than in written form.· And to let them know


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  ·1· · that if they want to know more, they can, you

  ·2· · know, find out.· But a lot of times things get

  ·3· · discussed and it's not based on the real facts, so

  ·4· · it's --

  ·5· · Q.· · · · ·Okay.· Well, I guess I'll go back to my

  ·6· · question, though.· You do want the consequences

  ·7· · for officers' misconduct to be clear and

  ·8· · predictable for officers so they know the

  ·9· · consequences of actions?

  10· · A.· · · · ·I believe it's important for them to

  11· · understand what the outcomes of certain cases

  12· · were, which might lead them to understand what the

  13· · consequences could be for similar behavior, yes.

  14· · Q.· · · · ·Okay.· And I'm sorry for the pause, but

  15· · I want to get a better understanding of this

  16· · document, the disciplinary summary document that

  17· · we were just talking about.· And I will say I have

  18· · not printed out this document that we've been

  19· · provided in discovery, but I have it on my

  20· · computer here.

  21· · · · · · · ·So for the record, I'm showing you a

  22· · screen from my computer here, and I just want you

  23· · to tell me whether this document that I'm showing

  24· · you is the same as what you're describing or is it


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  ·1· · something different.· And if it's too small, you

  ·2· · can let me know.

  ·3· · A.· · · · ·It goes back to 2007.· Are there other

  ·4· · pages?

  ·5· · Q.· · · · ·There's multiple pages.

  ·6· · A.· · · · ·How do you page?

  ·7· · Q.· · · · ·I can --

  ·8· · A.· · · · ·I mean, that doesn't look like the

  ·9· · exact image of mine.

  10· · Q.· · · · ·Okay.· Is there more information in

  11· · yours about what the cases are about?

  12· · A.· · · · ·I would say so.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·Yeah.· Yes.

  15· · Q.· · · · ·When was it that you reviewed that

  16· · summary?

  17· · A.· · · · ·Yesterday and today.

  18· · Q.· · · · ·Okay.· So you still have access to the

  19· · division intranet?

  20· · A.· · · · ·No.· No.· I had a printed out version

  21· · from the professional standards.

  22· · Q.· · · · ·Okay.· From when?· When was it printed

  23· · out?

  24· · A.· · · · ·Last week.


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  ·1· · Q.· · · · ·Oh, okay.· So the division provided it

  ·2· · to you --

  ·3· · A.· · · · ·After.

  ·4· · Q.· · · · ·-- in preparation for the deposition?

  ·5· · · · · · · ·I'll just say for the record I don't

  ·6· · think that's something we've been provided.

  ·7· · · · · · · ·MR. COGLIANESE:· I thought it was.· But

  ·8· · I can talk to Van and make sure you get a copy.

  ·9· · · · · · · ·MR. VARDARO:· It will be helpful as

  10· · soon as possible.

  11· · · · · · · ·MR. COGLIANESE:· Yeah.· I believe

  12· · you've been provided a copy.

  13· · · · · · · ·MR. VARDARO:· Okay.· I think I would

  14· · have seen that in the file, but if you -- if you

  15· · can point me to it, we'll deal with it after the

  16· · deposition.

  17· · BY MR. VARDARO:

  18· · Q.· · · · ·Other than that summary that we were

  19· · just talking about, did you review any other

  20· · materials related to other cases besides Kevin

  21· · Morgan's to prepare for this deposition?

  22· · A.· · · · ·No.

  23· · Q.· · · · ·Okay.· So you haven't for instance

  24· · reviewed the internal affairs summary for the


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  ·1· · investigation of Sergeant Constable and Sergeant

  ·2· · Jones and some of the other sergeants?

  ·3· · A.· · · · ·I didn't review any materials from IA,

  ·4· · no.

  ·5· · Q.· · · · ·Okay.· So I think we listed the Morgan

  ·6· · internal affairs summary, the Morgan charges, that

  ·7· · disciplinary summary we were just talking about.

  ·8· · I don't think you mentioned, were there any other

  ·9· · documents that you reviewed?

  10· · A.· · · · ·No.

  11· · Q.· · · · ·Okay.· We went through the last time we

  12· · did your deposition -- I won't go through the same

  13· · kinds of things that we did with you as

  14· · background, we'll just rely on what you told us

  15· · previously.

  16· · · · · · · ·But I do have a few more officers to

  17· · ask about in terms of your personal or

  18· · professional relationships.· And just to try to

  19· · keep it relatively quick, I'm really just asking

  20· · for each of these people whether you ever were

  21· · their direct supervisor, whether you have a

  22· · personal relationship with them, positive or

  23· · negative outside of work, or whether they're a

  24· · person you particularly didn't get along with, or


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  ·1· · if they're -- and I guess I'll add if there's any

  ·2· · reason that you have to believe that they're not

  ·3· · honest or trustworthy I guess.

  ·4· · · · · · · ·First one Sergeant Ray Meister?

  ·5· · A.· · · · ·I don't believe I've ever been his

  ·6· · direct supervisor.· I don't have a personal

  ·7· · relationship with him.· I don't have any reason to

  ·8· · believe he's not trustworthy.· What was the other

  ·9· · question?· Whether I --

  10· · Q.· · · · ·Oh, any reason --

  11· · A.· · · · ·-- I don't like him?

  12· · Q.· · · · ·Any conflict or any, you know --

  13· · A.· · · · ·No.

  14· · Q.· · · · ·-- reason that you had to have a

  15· · negative relationship with him?

  16· · A.· · · · ·Not that I'm aware of.

  17· · Q.· · · · ·Okay.· Sergeant I think it's Daniel

  18· · Weaver.

  19· · A.· · · · ·I don't have a personal relationship

  20· · with him.· Don't believe I've ever been a direct

  21· · supervisor of him.· Don't have any reason to not

  22· · trust him at all.

  23· · Q.· · · · ·Okay.· Sergeant Ken Decker?

  24· · A.· · · · ·Same.


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  ·1· · Q.· · · · ·Okay.· Sergeant Babcock?

  ·2· · A.· · · · ·Never been his direct supervisor.

  ·3· · Don't have a personal relationship with him.                    I

  ·4· · don't have any evidence that I can't trust him.

  ·5· · Q.· · · · ·Okay.· You said that in a way that

  ·6· · makes me think -- do you have some?

  ·7· · A.· · · · ·Just a --

  ·8· · Q.· · · · ·Repeat --

  ·9· · A.· · · · ·Just an old, old, old case, you know, I

  10· · wondered whether or not, you know, he got his

  11· · facts right.

  12· · Q.· · · · ·Okay.

  13· · A.· · · · ·But it's --

  14· · Q.· · · · ·What was that about?

  15· · A.· · · · ·About a kick to the head back in --

  16· · well before 2010, I can't remember the date.

  17· · Q.· · · · ·Okay.· Before you were chief?

  18· · A.· · · · ·Yes.

  19· · Q.· · · · ·Okay.· It was him that kicked somebody

  20· · in the head?

  21· · A.· · · · ·No.· It was just his -- his review of

  22· · it and various other things.

  23· · Q.· · · · ·Okay.

  24· · A.· · · · ·Like I said, I don't have any reason to


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  ·1· · say that I can't trust him.

  ·2· · Q.· · · · ·Was it a patrol officer that did the

  ·3· · kick?

  ·4· · A.· · · · ·Yes.

  ·5· · Q.· · · · ·Who was the officer?

  ·6· · A.· · · · ·Well, it was not sustained, so I can't

  ·7· · prove that it was.

  ·8· · Q.· · · · ·Okay.· But who was the officer?

  ·9· · A.· · · · ·I believe it was Norm Baldwin.

  10· · Q.· · · · ·Okay.· And Sergeant Babcock had done

  11· · some kind of review of that?

  12· · A.· · · · ·Yeah.

  13· · Q.· · · · ·And concluded that it either didn't

  14· · happen or --

  15· · A.· · · · ·Yeah.· I think he might have been at

  16· · the scene or something along those lines.

  17· · Q.· · · · ·Okay.

  18· · A.· · · · ·I don't recall.

  19· · Q.· · · · ·And you suspected that he was

  20· · protecting the patrol officer or --

  21· · A.· · · · ·I thought that might be a possibility.

  22· · Q.· · · · ·Okay.· This was when you were in

  23· · internal affairs or --

  24· · A.· · · · ·No.· A deputy chief reviewing --


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  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·-- the investigation.

  ·3· · Q.· · · · ·Okay.· But despite your suspicion in

  ·4· · this case, you went along with the not sustained

  ·5· · recommendation because you didn't have any

  ·6· · evidence?

  ·7· · A.· · · · ·That's not the way that I would

  ·8· · describe it.

  ·9· · Q.· · · · ·Okay.· How would you describe it?

  10· · A.· · · · ·The information that first came to me

  11· · made me believe that the actual incident had

  12· · occurred as alleged.· I wasn't satisfied that

  13· · there was enough information to make my decision.

  14· · I sent it back for more information.· And by the

  15· · time it came back, the stories had been jumbled

  16· · and the witnesses were no longer as certain as

  17· · they were originally.· And so despite my concerns

  18· · that it was in fact true, I could not find the

  19· · evidence to sustain it.

  20· · Q.· · · · ·Okay.· When you say "the witnesses,"

  21· · were those police witnesses or civilian witnesses?

  22· · A.· · · · ·Civilian.

  23· · Q.· · · · ·Okay.· So they went back and reviewed

  24· · -- interviewed the civilian witnesses again


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  ·1· · after --

  ·2· · A.· · · · ·Yes.

  ·3· · Q.· · · · ·-- and then their stories had either

  ·4· · changed or their memories had faded to that

  ·5· · effect?

  ·6· · A.· · · · ·Correct.

  ·7· · Q.· · · · ·Who was the chief at the time?

  ·8· · A.· · · · ·Probably Chief Distelzweig.

  ·9· · Q.· · · · ·Okay.· And the chief -- well, this was

  10· · not sustained, so the chief didn't overrule that

  11· · and sustained discipline against Officer Baldwin?

  12· · A.· · · · ·Correct.

  13· · Q.· · · · ·Okay.· There was no video, I assume?

  14· · A.· · · · ·Not to my recollection.

  15· · Q.· · · · ·Okay.· Sergeant -- I'm going back to

  16· · your relationships.

  17· · A.· · · · ·Yeah.

  18· · Q.· · · · ·Sergeant Richard Brooks?

  19· · A.· · · · ·I don't believe I've ever been a direct

  20· · supervisor.· I -- what was the other one?

  21· · Q.· · · · ·Do you have a friendship outside of

  22· · work?

  23· · A.· · · · ·Oh, no.

  24· · Q.· · · · ·Okay.· Never an enemyship outside of


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  ·1· · work?

  ·2· · A.· · · · ·No, not at all.· I -- I totally respect

  ·3· · Sergeant Brooks.

  ·4· · Q.· · · · ·Okay.· Officer Anthony or Tony Roberts?

  ·5· · A.· · · · ·I don't believe I've ever been a direct

  ·6· · supervisor.· I don't know him personally outside

  ·7· · of work.· And I have no reason to -- to not

  ·8· · believe that he's trustworthy.

  ·9· · Q.· · · · ·Okay.· Have you ever dealt with any

  10· · disciplinary matters dealing with Tony Roberts?

  11· · A.· · · · ·Potentially.· But I don't recall what.

  12· · Q.· · · · ·Okay.· You have a memory that you might

  13· · have dealt with discipline with him, but you don't

  14· · remember what it was about?

  15· · A.· · · · ·Correct.

  16· · Q.· · · · ·Okay.· A county prosecutor named Jeff

  17· · Blake, do you know him?

  18· · A.· · · · ·No.

  19· · Q.· · · · ·Okay.

  20· · A.· · · · ·I mean I might have met him at some

  21· · point in time.

  22· · Q.· · · · ·Okay.

  23· · A.· · · · ·But I don't know him as a, you know,

  24· · personal friend or anything like that.


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  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·I've met a lot of prosecutors, so I

  ·3· · can't say that I haven't met him.

  ·4· · Q.· · · · ·Okay.· No particular recollection or

  ·5· · impression of Jeff Blake then?

  ·6· · A.· · · · ·No.

  ·7· · Q.· · · · ·Okay.· Officer Christopher Bond?

  ·8· · A.· · · · ·I don't believe I've ever directly

  ·9· · supervised him.· I don't have a personal

  10· · relationship with him off duty.· And I trust him

  11· · for --

  12· · Q.· · · · ·Okay.

  13· · A.· · · · ·You know, I don't have any reason not

  14· · to trust him at all.

  15· · Q.· · · · ·Okay.· George Speaks?

  16· · A.· · · · ·He was my boss.· I don't believe that

  17· · we've -- well, of course I've never supervised

  18· · him.

  19· · Q.· · · · ·Sure.

  20· · A.· · · · ·I don't think that we've done anything

  21· · really socially.· We've done things off duty, you

  22· · know, like get together for lunch or dinner or

  23· · something like that maybe once or twice.

  24· · Q.· · · · ·Uh-huh.


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  ·1· · A.· · · · ·But more of a celebratory, you know,

  ·2· · retirement kind of a thing or whatever else.

  ·3· · But --

  ·4· · Q.· · · · ·Okay.

  ·5· · A.· · · · ·-- I don't have any reason to not trust

  ·6· · him at all.

  ·7· · Q.· · · · ·Okay.· You consider him a friend?

  ·8· · A.· · · · ·A colleague.· I don't know.· He kind of

  ·9· · -- you know, what's a friend?· You know, I like

  10· · him.

  11· · Q.· · · · ·Uh-huh.

  12· · A.· · · · ·I've dealt with him for many, many

  13· · years.· So, yeah, I suppose you could call him a

  14· · friend.· But I don't socialize with him.

  15· · Q.· · · · ·All right.· So kind of a work friend?

  16· · A.· · · · ·Correct.

  17· · Q.· · · · ·Okay.· Van Irwin?

  18· · A.· · · · ·I don't believe I've ever directly

  19· · supervised him.· I don't have an off duty personal

  20· · relationship with him.· I totally trust him.

  21· · Q.· · · · ·Okay.· Van Irwin at least during the

  22· · time we're talking about and maybe now was in

  23· · professional standards?

  24· · A.· · · · ·Correct.


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  ·1· · Q.· · · · ·What was his rank, lieutenant?

  ·2· · A.· · · · ·Lieutenant.

  ·3· · Q.· · · · ·Okay.· So is there a commander of

  ·4· · professional standards?

  ·5· · A.· · · · ·Yes.

  ·6· · Q.· · · · ·Okay.· Who was the commander at the

  ·7· · time of this?· You don't remember.· Okay.

  ·8· · A.· · · · ·Potentially Commander Hyland.

  ·9· · Q.· · · · ·Okay.

  10· · A.· · · · ·But I don't know.

  11· · Q.· · · · ·Okay.· I had a misunderstanding of how

  12· · professional standards works, but I think you

  13· · cleared it up.

  14· · · · · · · ·Same question for I think it's Jeff

  15· · Lokai?

  16· · A.· · · · ·Same.· Don't have a personal

  17· · relationship with him.· Don't believe I've ever

  18· · supervised him directly.· And I trust him.

  19· · Q.· · · · ·Okay.· Kevin Morgan?

  20· · A.· · · · ·Kevin Morgan?

  21· · Q.· · · · ·Never his direct supervisor?

  22· · A.· · · · ·Never supervised him.· Don't have a

  23· · personal relationship with him.· And certainly I

  24· · had concerns about being able to trust his word as


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  ·1· · a result of this investigation.

  ·2· · Q.· · · · ·Okay.· But no other reason?

  ·3· · A.· · · · ·No.

  ·4· · Q.· · · · ·Okay.· Had you had any prior dealings

  ·5· · with Kevin Morgan prior to this investigation?

  ·6· · A.· · · · ·Not that I recall.

  ·7· · Q.· · · · ·Okay.· Bronson Constable?

  ·8· · A.· · · · ·Never supervised him.· Don't have a

  ·9· · personal relationship with him.· And I don't

  10· · really trust some of the things that he has said

  11· · or done.

  12· · Q.· · · · ·Okay.· Can you tell me the reason why

  13· · you don't trust some of the things he's said or

  14· · done?

  15· · A.· · · · ·I'm aware of previous disciplinary

  16· · issues that he's been involved in that lead me to

  17· · believe that he's not always truthful.

  18· · Q.· · · · ·Okay.· Multiple incidents?

  19· · A.· · · · ·Uh-huh.

  20· · Q.· · · · ·I'm sorry.· You have to say yes or no.

  21· · A.· · · · ·Yes.

  22· · Q.· · · · ·Okay.· How about Doug Jones?

  23· · A.· · · · ·Same.· I've never direct -- well, I

  24· · don't think I've ever directly supervised him.


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  ·1· · Don't have a personal relationship with him.· And

  ·2· · pretty much the same, but not to the same level as

  ·3· · Bronson Constable.· He hasn't been involved in a

  ·4· · lot of other incidents that I'm aware of regarding

  ·5· · his truthfulness; it certainly came into question

  ·6· · in regards to one investigation.

  ·7· · Q.· · · · ·That's the time reporting, leave

  ·8· · reporting investigation he was involved in?

  ·9· · A.· · · · ·Correct.

  10· · Q.· · · · ·Okay.· And we'll get into that later

  11· · obviously.

  12· · · · · · · ·Zane Kirby?

  13· · A.· · · · ·Same with that.· But I -- I don't have

  14· · any reason not to basically trust him.

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·I think that he admitted what had gone

  17· · on with him and acknowledged his misdeeds.

  18· · Q.· · · · ·Okay.· And again we'll go a little

  19· · deeper into that.

  20· · · · · · · ·Denise Reffitt?

  21· · A.· · · · ·Haven't personally supervised her.

  22· · Don't have a personal relationship with her off

  23· · duty.· Don't have any reason not to trust her.

  24· · Q.· · · · ·Okay.· My understanding she was


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  ·1· · previously an internal affairs at some point?

  ·2· · A.· · · · ·Yes.

  ·3· · Q.· · · · ·But not while you were over internal

  ·4· · affairs?

  ·5· · A.· · · · ·Yes.· Yes, she was.

  ·6· · Q.· · · · ·But not your --

  ·7· · A.· · · · ·I was the commander and she was a

  ·8· · sergeant.

  ·9· · Q.· · · · ·Okay.

  10· · A.· · · · ·There was lieutenant in between.

  11· · Q.· · · · ·Okay.· Doug Williams?

  12· · A.· · · · ·I don't believe I've ever supervised

  13· · him.· Don't have a personal relationship with him.

  14· · And certainly I have concerns sometimes about

  15· · whether I can trust him or not.

  16· · Q.· · · · ·Okay.· What concerns do you have about

  17· · Doug Williams?

  18· · A.· · · · ·There have been a number of incidents

  19· · that he's been involved in or alleged to have been

  20· · involved in where things have come up that I just

  21· · don't know how truthful he's been on some of those

  22· · things, but haven't been able to necessarily prove

  23· · any of those types of things.

  24· · Q.· · · · ·Okay.· He's never been charged with


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  ·1· · untruthfulness?

  ·2· · A.· · · · ·Not to my knowledge.

  ·3· · Q.· · · · ·Okay.· He's never had a sustained

  ·4· · charge of untruthfulness certainly?

  ·5· · A.· · · · ·Not to my knowledge.

  ·6· · Q.· · · · ·Okay.· Can you tell me anything about

  ·7· · any examples of those incidents where you felt

  ·8· · like he may not have been truthful?

  ·9· · A.· · · · ·Yeah.· I think that he's reported his

  10· · gun being stolen two or three times, which is just

  11· · very highly unusual.· And I don't have any more

  12· · specifics.· It's just that he doesn't have the

  13· · best reputation and I've --

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·-- decided that I need to, you know,

  16· · deal with the facts on what I do know and what I

  17· · don't.· But you asked me if I trust him, and I

  18· · said no.

  19· · Q.· · · · ·Okay.· David LaRoche, did you ever

  20· · supervise him directly?

  21· · A.· · · · ·No.· And I don't have a personal

  22· · relationship with him.· And I don't have any

  23· · reason to say I -- I think that he kind of fessed

  24· · up to some of his misdeeds, if you will, rule


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  ·1· · violations.· But certainly there was questions

  ·2· · that were brought forth that made me wonder

  ·3· · whether you can always trust him, but that was

  ·4· · back -- back related to one investigation.

  ·5· · Q.· · · · ·Okay.· Joseph Houseberg?

  ·6· · A.· · · · ·Same thing with the first two.· The

  ·7· · third one there was a question about being able to

  ·8· · trust him, but it got resolved through the

  ·9· · disciplinary process.

  10· · Q.· · · · ·Okay.· Zach Rosen?

  11· · A.· · · · ·Same thing.· I would say that as far as

  12· · trusting him, I think that he has made a lot of

  13· · questionable decisions, and so I wouldn't

  14· · necessarily put a lot of faith in some of his

  15· · decision making.

  16· · Q.· · · · ·You have questions about his judgment?

  17· · A.· · · · ·Yes.

  18· · Q.· · · · ·But questions about his honesty?

  19· · A.· · · · ·I don't have any indication that he's

  20· · lied about stuff.

  21· · Q.· · · · ·Okay.· Eric Moore?

  22· · A.· · · · ·I have a lot of questions about his

  23· · truthfulness.

  24· · Q.· · · · ·Okay.· And I think we talked about your


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  ·1· · relationship in the previous --

  ·2· · A.· · · · ·Yeah.

  ·3· · Q.· · · · ·I don't remember whether we asked you

  ·4· · your relationship with Melissa McFadden.

  ·5· · A.· · · · ·I don't believe I've ever directly

  ·6· · supervised her.· I don't have a personal

  ·7· · relationship with her.· And I would say that I

  ·8· · question, you know, how much I can trust her.

  ·9· · Q.· · · · ·Okay.· Has she ever had a sustained

  10· · untruthful?

  11· · A.· · · · ·Not to my knowledge.

  12· · Q.· · · · ·Okay.· All right.· I want to ask you

  13· · some general questions about the way the

  14· · disciplinary process worked.· And I will say I'm

  15· · really talking about during the period when you

  16· · were chief of police.

  17· · A.· · · · ·Okay.

  18· · Q.· · · · ·Well, first of all, actually, that

  19· · raises an interesting one for me.

  20· · · · · · · ·Do you feel like you made any changes

  21· · in the way the disciplinary process worked when

  22· · you became chief compared to chiefs before you?

  23· · A.· · · · ·Well, I can't say for sure because I

  24· · didn't see them in action all the time when they


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  ·1· · were making their previous decisions.· I tried to

  ·2· · make a point of being fair and informed.· You

  ·3· · know, sharing the information, I put notice out

  ·4· · when I felt it was appropriate to advise people of

  ·5· · changes perhaps in what discipline might be, the

  ·6· · outcome of certain things.· I worked with our

  ·7· · labor attorneys and HR officials to try to make

  ·8· · sure that we were making solid decisions.

  ·9· · Q.· · · · ·Okay.· But you didn't -- when you came

  10· · into office as chief, you didn't sort of set out

  11· · to make particular changes that you're -- that you

  12· · can remember in terms of how disciplinary

  13· · processes are handled or how discipline is meted

  14· · out?

  15· · A.· · · · ·Well, by saying "changes," I'm not sure

  16· · again.

  17· · Q.· · · · ·Uh-huh.

  18· · A.· · · · ·But I can tell you that I was very

  19· · determined to make the disciplinary process

  20· · transparent and one that relied on just cause, one

  21· · that, you know, took things into consideration

  22· · that decision-makers have to have.· I think I

  23· · documented more than previous chiefs.· But I had

  24· · studied, you know, discipline philosophies and


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  ·1· · various other things and was determined to make

  ·2· · this process one that I felt could stand up to

  ·3· · scrutiny.

  ·4· · Q.· · · · ·Okay.· What did you do to study

  ·5· · discipline philosophies?

  ·6· · A.· · · · ·I read articles about discipline and,

  ·7· · you know, whether you post information, whether

  ·8· · you don't post information, how you do it.· We had

  ·9· · looked at what they call education based

  10· · disciplinary systems.· I'd looked at matrixes that

  11· · other agencies have used.· You know, I had done a

  12· · lot of study about that when I was in internal

  13· · affairs.· So going to training courses, reading

  14· · articles, looking up things, like I said,

  15· · consulting with experts, I felt like I had done a

  16· · lot of research about how to manage the

  17· · disciplinary process.

  18· · Q.· · · · ·Okay.· In terms of the articles that

  19· · you read, was there like one or two that stuck out

  20· · as oh, here, this is what I wanted to do with the

  21· · department?

  22· · A.· · · · ·No, huh-uh.

  23· · Q.· · · · ·Okay.· Were they typically articles

  24· · circulated among chiefs of police like through


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  ·1· · organizations like International Association of

  ·2· · Chiefs of Police, or was it academic articles, or

  ·3· · what are we talking about?

  ·4· · A.· · · · ·I would say a combination of all of

  ·5· · that.· And then there's websites, AELE and various

  ·6· · other places that you can, you know, see

  ·7· · information about what's been done in other

  ·8· · government agencies not just police agencies.· So,

  ·9· · no, nothing -- not one thing in particular, but

  10· · there was a compilation of a lot of different

  11· · things.

  12· · Q.· · · · ·Okay.· When you say the -- you

  13· · mentioned that you looked at discipline matrices

  14· · from other departments.· First of all, did the

  15· · Columbus Division of Police have a discipline

  16· · matrix when you were chief?

  17· · A.· · · · ·No.

  18· · Q.· · · · ·Has it ever had one to your knowledge?

  19· · A.· · · · ·As far back as I know, no.

  20· · Q.· · · · ·Okay.· What departments matrix or what

  21· · department -- what different department's

  22· · matrixes?

  23· · A.· · · · ·Phoenix.

  24· · Q.· · · · ·Okay.· Phoenix, Arizona you're talking


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  ·1· · about?

  ·2· · A.· · · · ·Yeah.· LA has done an education based

  ·3· · thing and they have come up with some standards.

  ·4· · But we have an agreement with the union that we

  ·5· · don't create a matrix without negotiating, so it

  ·6· · wasn't something that we were going to even try to

  ·7· · do.· I don't like the philosophy of a matrix

  ·8· · because it doesn't take into account the case by

  ·9· · case details that are different among things.

  10· · Q.· · · · ·Sure.

  11· · · · · · · ·What is education based discipline?

  12· · A.· · · · ·The philosophically -- Lee Baca I

  13· · believe from LA.

  14· · Q.· · · · ·Is it the LA County Sheriff, former?

  15· · A.· · · · ·He's in prison now I think.

  16· · Q.· · · · ·Yeah.· I was going to say.· That's your

  17· · guru?

  18· · A.· · · · ·But he was touted as this, you know,

  19· · great guy that, you know, came up with this

  20· · philosophy about how to correct behavior through

  21· · training.· And after our review of it, it seemed

  22· · like their disciplinary process was even harsher

  23· · than ours and they were backing off some of that

  24· · really harshness.· So once again it didn't seem to


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  ·1· · be very relevant to our situation.

  ·2· · Q.· · · · ·Okay.· So education based discipline is

  ·3· · not necessarily the philosophy you were trying to

  ·4· · use?

  ·5· · A.· · · · ·Correct.

  ·6· · Q.· · · · ·You had mentioned that you were posting

  ·7· · notice about changes in discipline?

  ·8· · A.· · · · ·I would send out announcements.                   I

  ·9· · talked to FOP and said from here on out, you know,

  10· · the disciplinary process for, for instance, a

  11· · drunk driving situation will be 80 hours minimum,

  12· · and that will be minimum based on behavior that

  13· · may or may not accompany any of that.· Prior to my

  14· · announcement, and prior to my being chief, the

  15· · kind of standard for a drunk driving departmental

  16· · charge was 40 hours suspension, and so I went

  17· · along with that, but I grew very concerned that it

  18· · wasn't sending the right message, so I wanted to

  19· · change that.· And so I put out notice to everybody

  20· · saying that if you get charged with drunk driving,

  21· · it's going to be at least 80 hours if not more and

  22· · up to termination.· We did the same thing for

  23· · accidental discharges that could have been

  24· · prevented if you had used the bullet trap at


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  ·1· · substations.

  ·2· · Q.· · · · ·What's a bullet trap?

  ·3· · A.· · · · ·It's basically a tube where you would

  ·4· · point the barrel of your shotgun so that if it

  ·5· · accidentally goes off, the discharge would go into

  ·6· · this barrel which is metal and would contain the

  ·7· · pellets rather than it blowing a hole in the wall

  ·8· · or hurting somebody.

  ·9· · Q.· · · · ·So this is a specifically about

  10· · accidental discharges that happen inside a

  11· · substation?

  12· · A.· · · · ·Yes.

  13· · Q.· · · · ·And it's about -- the discharge would

  14· · happen when somebody is taking the shotgun off a,

  15· · like --

  16· · A.· · · · ·They exchange the shotgun from shift to

  17· · shift to shift to shift, and so they're supposed

  18· · to make the shotgun cruiser ready.· And by that,

  19· · that means that you've unloaded it, reloaded it

  20· · and you know what position it's in, whether the

  21· · safety's on, and all that kind of stuff.· And some

  22· · people got complacent about that, and a number of

  23· · holes appeared in the substations.· And typical

  24· · discipline in the past had been a written


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  ·1· · reprimand for all accidental discharges.

  ·2· · Q.· · · · ·Uh-huh.

  ·3· · A.· · · · ·And I was not convinced that that was

  ·4· · the way to go.· We had bullet traps that we made

  ·5· · available to everyone and I think the notice was

  ·6· · not just about the bullet trap but -- that was the

  ·7· · main focus of that, to try to get officers to use

  ·8· · the bullet trap in the substations but also

  ·9· · whenever you're emptying a weapon to do it in a

  10· · safe manner and use whatever tools are available

  11· · to ensure that it doesn't go off accidentally.

  12· · Q.· · · · ·Okay.· Other than the bullet trap rule

  13· · -- I'm going to call it a rule; I understand that

  14· · there may be issues with the union about whether

  15· · something is really a rule or not I guess.· But

  16· · your rule of thumb or whatever you want to call it

  17· · for accidental discharges and for drunk driving

  18· · incidents, any other changes that you remember

  19· · posting?

  20· · A.· · · · ·Related to the drunk driving one, I

  21· · believe I also included that if you lost your

  22· · driver's privileges for a long period of time,

  23· · that that would be taken into consideration as

  24· · well.· If you've refused to blow and they took


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  ·1· · your driver's license -- in some counties they

  ·2· · took your driver's license for a year and no

  ·3· · occupational privileges, meaning that you cannot

  ·4· · perform the duties of a police officer for a year.

  ·5· · And I consider that to be serious misconduct.

  ·6· · Q.· · · · ·Would you say --

  ·7· · A.· · · · ·I don't remember anything else.

  ·8· · Q.· · · · ·I mean that the DUI or drunk driving

  ·9· · issue was a priority for you for any particular

  10· · reason or --

  11· · A.· · · · ·I had a lot of them --

  12· · Q.· · · · ·And --

  13· · A.· · · · ·-- come before me.

  14· · Q.· · · · ·Okay.· And you felt like officers

  15· · weren't taking it seriously enough or --

  16· · A.· · · · ·I was very concerned that too many

  17· · officers were getting intoxicated and driving.

  18· · Q.· · · · ·Okay.

  19· · A.· · · · ·And it -- you know, potentially has the

  20· · -- you know, you could kill somebody.· But also

  21· · just the damaging effects that it does on, you

  22· · know, our reputation, their reputation, you know,

  23· · it's financially damaging to whoever is involved.

  24· · And then, you know, you've got to worry whether or


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  ·1· · not they're alcoholics and whether or not they're

  ·2· · abusing alcohol.· So I thought by making the

  ·3· · corrective action harsher that that might get

  ·4· · their attention and they might use, you know, a

  ·5· · ride sharing service or call a friend or something

  ·6· · else instead of being out there and driving.

  ·7· · Q.· · · · ·Okay.· You touched on a number of

  ·8· · things, I guess I'll come back to them in just a

  ·9· · minute.

  10· · · · · · · ·But going back sort of to the general

  11· · issues about how discipline was handled while you

  12· · were chief, can you tell me once -- as I

  13· · understand it, a disciplinary process might

  14· · initiate with an internal affairs investigation or

  15· · a chain of command investigation.· At some point

  16· · in the process, there's a determination of whether

  17· · there's going to be departmental charges against

  18· · the officer, and we can talk about that in a

  19· · minute.· But once there's been a departmental

  20· · charge sustained against an officer, can you tell

  21· · me -- can you give me an overview of how is the

  22· · level of discipline for that charge determined?

  23· · Yeah.· And, again, all of these questions I'm

  24· · really asking about while you were chief.


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  ·1· · A.· · · · ·Okay.· There is no matrix as we've

  ·2· · previously discussed.· All of it is taken into

  ·3· · consideration with regard to the evidence before

  ·4· · me.· If there are any previous comparables for

  ·5· · this particular case or for that particular rule

  ·6· · of conduct, that's looked at.· You know, whether

  ·7· · or not somebody has accepted responsibility, their

  ·8· · tenure, you know, if they've had a -- well, we can

  ·9· · only look back four years.· But whether they've

  10· · had a good disciplinary history, a good work

  11· · history, the level of training that they've

  12· · received, if they've had notice, did the

  13· · investigation, you know, prove things, is it

  14· · 51 percent preponderance of the evidence, is it

  15· · clear and convincing, is it, you know, a greater

  16· · standard.· And then just what -- ultimately for my

  17· · recommendation, and understand I didn't always

  18· · make the final decision, my recommendation based

  19· · on what I think is appropriate for not only the

  20· · rule violation but for what I believe is going to

  21· · accomplish the appropriate corrective action, you

  22· · know, for this particular officer, you know, and

  23· · whether or not it may or may not be arbitrated is

  24· · at least sometimes discussed.· And whether or not,


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  ·1· · you know, it can be through that process and stand

  ·2· · up to it is another one.

  ·3· · Q.· · · · ·Okay.· I want to talk about two

  ·4· · particular -- I have questions about I guess two

  ·5· · particular things on that list.· One is you said

  ·6· · their tenure, the officer's tenure?

  ·7· · A.· · · · ·Yeah.

  ·8· · Q.· · · · ·Do you literally just mean how many

  ·9· · years they've been in the department?

  10· · A.· · · · ·It just calls for at least considering

  11· · the officer's work performance and their years of

  12· · service.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·I had a case where I'd recommended

  15· · termination for somebody that I believe was

  16· · stealing.· And the judge basically said they've

  17· · been an outstanding employee for many years and

  18· · you get them back.

  19· · Q.· · · · ·Okay.

  20· · A.· · · · ·The arbitrator.

  21· · Q.· · · · ·Who was that?

  22· · A.· · · · ·The officer?

  23· · Q.· · · · ·Yeah.

  24· · A.· · · · ·Chad Knode.


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  ·1· · Q.· · · · ·Okay.· What did Chad Knode do?

  ·2· · A.· · · · ·He participated with another officer

  ·3· · who went to prison in --

  ·4· · Q.· · · · ·Oh, this was -- I think we've heard

  ·5· · about things this was stealing military surplus or

  ·6· · something like that?

  ·7· · A.· · · · ·Yes.· He took equipment that belonged

  ·8· · to either the City of Columbus or the military --

  ·9· · Q.· · · · ·Uh-huh.

  10· · A.· · · · ·-- to scrap yards, scrapped it and took

  11· · the cash and did not return that money to the City

  12· · of Columbus.

  13· · Q.· · · · ·Do you remember what his tenure was at

  14· · the time?

  15· · A.· · · · ·I think he had 20-something years.

  16· · Q.· · · · ·Okay.· And did he have basically

  17· · 20-something years of no prior discipline?

  18· · A.· · · · ·Well, we're only allowed to look back

  19· · four years.

  20· · Q.· · · · ·Okay.

  21· · A.· · · · ·And the records aren't kept beyond six

  22· · years, so --

  23· · Q.· · · · ·Okay.

  24· · A.· · · · ·-- if there was disciplinary action.


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  ·1· · If there wasn't, then it was three years.

  ·2· · Q.· · · · ·Okay.· You said the level of training

  ·3· · the officer had?

  ·4· · A.· · · · ·Yeah.· Whether or not they've been

  ·5· · trained in this particular, you know, situation.

  ·6· · Q.· · · · ·In the sense that if it's something

  ·7· · that they may have never encountered before and

  ·8· · think just mishandled it, that would be treated

  ·9· · less seriously if they knew very well that what

  10· · they were doing was wrong?

  11· · A.· · · · ·If they weren't trained on it, then it

  12· · would be the responsibility of the City or the

  13· · division for not training them.

  14· · Q.· · · · ·Okay.

  15· · A.· · · · ·Unless it was a violation of law and,

  16· · you know --

  17· · Q.· · · · ·Sure.

  18· · A.· · · · ·They had it right in front of them do

  19· · this do, you know.

  20· · Q.· · · · ·Okay.

  21· · A.· · · · ·Then that's the training, don't do

  22· · this.

  23· · Q.· · · · ·Okay.· And that's my -- that was going

  24· · to be my first additional question here, which is


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  ·1· · whether the conduct is criminal, is that a factor

  ·2· · in terms of how serious it would be --

  ·3· · A.· · · · ·Well --

  ·4· · Q.· · · · ·-- treated for discipline?

  ·5· · A.· · · · ·-- certainly if it's criminal and we've

  ·6· · got a conviction, then we generally do a rule of

  ·7· · conduct violation regarding a conviction of some

  ·8· · sort.· I don't -- I mean, a lot of these cases

  ·9· · that are investigated criminally might not be

  10· · criminal.· Some of them are, some of them aren't.

  11· · Q.· · · · ·Uh-huh.

  12· · A.· · · · ·So I guess that you could say that that

  13· · is part of the consideration.

  14· · Q.· · · · ·Okay.· I guess my question is I've seen

  15· · a lot of investigations as we've reviewed these

  16· · where everything is put on hold in terms of

  17· · internal affairs while there's a criminal

  18· · investigation conducted.· And then once the

  19· · criminal investigation concludes, then the

  20· · internal affairs administrative investigation

  21· · starts.· And my question is why?· Why do you stop

  22· · the process for the criminal investigation and

  23· · then start it up again?

  24· · A.· · · · ·I have legal advisors.


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  ·1· · Q.· · · · ·Okay.· Do you have an understanding of

  ·2· · why?

  ·3· · A.· · · · ·Yeah.· Generally we don't want to give

  ·4· · the appearance that we've treated one of our own

  ·5· · officers differently than we would a citizen by

  ·6· · not investigating things criminally.

  ·7· · Q.· · · · ·Uh-huh.

  ·8· · A.· · · · ·So if we believe a theft occurred, then

  ·9· · should we just say, well, they're an officer, we

  10· · don't have to investigate it criminally.· And so

  11· · there's a lot of concern that the appearance of

  12· · not doing a criminal investigation looks like we

  13· · have a bias towards our officer and are treating

  14· · them differently.

  15· · Q.· · · · ·Uh-huh.

  16· · A.· · · · ·I get that.· And so I have agreed to do

  17· · a number of investigations as a criminal

  18· · investigation first.· My preference is to do

  19· · concurrent investigations if we're going to do a

  20· · criminal investigation as well.

  21· · Q.· · · · ·Uh-huh.

  22· · A.· · · · ·But there are a lot of concerns about

  23· · ordering a participant to speak, you know, a focus

  24· · officer to speak because that could then give the


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  ·1· · appearance that we've ordered them to talk and

  ·2· · maybe criminal charges shouldn't be filed, you

  ·3· · know, whether two investigations got mixed.

  ·4· · Q.· · · · ·Uh-huh.

  ·5· · A.· · · · ·And have violated their constitutional

  ·6· · right for, you know, self-defense, you know.

  ·7· · Q.· · · · ·Okay.

  ·8· · A.· · · · ·And yet there are sometimes when we

  ·9· · have moved forward administratively at the same

  10· · time as a criminal investigation.· We've been

  11· · successful that way, so in general it's listening

  12· · to either the legal advice or the advice of the

  13· · director of public safety or someone else to

  14· · proceed criminally first and then do the

  15· · administrative so there is no mixing.· We've had a

  16· · number of challenges with regard to that.· And

  17· · obviously, you know, the delay in getting the

  18· · administrative thing done means that they've been

  19· · on our payroll longer.· That officer that I

  20· · referenced earlier, that investigation was

  21· · conducted by the federal agencies for about three

  22· · years, and the length of that criminal

  23· · investigation was one of the reasons why I believe

  24· · the arbitrator gave him his job back.


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  ·1· · Q.· · · · ·That's Knode?

  ·2· · A.· · · · ·Yes.

  ·3· · Q.· · · · ·Okay.· Is rank something that would be

  ·4· · taken into account in terms of the seriousness of

  ·5· · -- or not seriousness, but the degree of

  ·6· · discipline issued for an offense?

  ·7· · A.· · · · ·Yes.

  ·8· · Q.· · · · ·How is rank taken into account?

  ·9· · A.· · · · ·I believe the supervisors have more

  10· · training, more responsibility, sometimes more

  11· · opportunity to be autonomous.· Officers in general

  12· · don't get to flex their hours, they don't get to,

  13· · you know, be someplace else without a whole bunch

  14· · of different approvals.· So a supervisor taking

  15· · advantage of that autonomy is certainly something

  16· · that I consider as part of their outcome, the

  17· · outcome of the disciplinary action.

  18· · Q.· · · · ·Okay.· And because of that, it's a more

  19· · -- if an officer and a sergeant or a lieutenant

  20· · commit essentially the same offense, you would

  21· · take it -- it would be more discipline most likely

  22· · for the higher ranking officer?

  23· · A.· · · · ·It depends.

  24· · · · · · · ·MR. COGLIANESE:· Objection.


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  ·1· · Q.· · · · ·I guess what I'm trying to get at is

  ·2· · the answer you just gave when I asked how is rank

  ·3· · taken into account is you're telling me the

  ·4· · supervisors have more training and more

  ·5· · responsibility, more autonomy.· And so it's

  ·6· · something you take into account in the outcome of

  ·7· · the disciplinary action.· I guess I -- if it's not

  ·8· · to make the discipline -- is it to make the

  ·9· · discipline less serious for a higher ranking

  10· · officer?

  11· · · · · · · ·MR. COGLIANESE:· Objection.

  12· · A.· · · · ·It all depends on the facts of the

  13· · cases.· You know, was supervision at all related

  14· · to that?· I mean drunk driving has nothing to do

  15· · with supervision.

  16· · Q.· · · · ·Okay.

  17· · A.· · · · ·So it's all based on the facts, what

  18· · the charges are.

  19· · Q.· · · · ·Okay.

  20· · A.· · · · ·Very rarely I've ever seen a case have

  21· · the same exact fact pattern.

  22· · Q.· · · · ·Of course.

  23· · A.· · · · ·Of a serious nature.· A lot of people

  24· · not wearing their hats, pretty similar.


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  ·1· · Q.· · · · ·Right.· Or shooting a hole in the wall

  ·2· · of a substation?

  ·3· · A.· · · · ·Some of them are.

  ·4· · Q.· · · · ·I guess.· I guess there could be

  ·5· · multiple ways that happens?

  ·6· · A.· · · · ·Uh-huh.

  ·7· · Q.· · · · ·When rank is taken into account in

  ·8· · discipline, it would be taken into account to make

  ·9· · it a more serious offense for the higher ranking

  10· · officer?

  11· · A.· · · · ·Potentially.

  12· · · · · · · ·MR. COGLIANESE:· Objection.

  13· · Q.· · · · ·Okay.· I would not think that there

  14· · would be a situation -- you can correct me if I'm

  15· · wrong -- where a higher ranking officer would

  16· · receive less discipline because of their higher

  17· · rank?

  18· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  19· · A.· · · · ·I mean, you're talking about some

  20· · theoretical that I don't have an example of.· So,

  21· · you know, even with an OVI case, I can see an

  22· · officer that was driving recklessly and all that

  23· · kind of thing getting more discipline than a

  24· · sergeant that was, you know, asleep at a stop


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  ·1· · sign.

  ·2· · Q.· · · · ·And I am asking you a hypothetical.

  ·3· · A.· · · · ·Yeah.

  ·4· · Q.· · · · ·I'm talking about all things being

  ·5· · equal, if the offense has something to do with

  ·6· · supervision let's say and there's a supervisor

  ·7· · being disciplined rather than an officer, you

  ·8· · would expect the supervisor to receive at least

  ·9· · equal to but most likely more discipline than the

  10· · patrol officer?

  11· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  12· · A.· · · · ·If all things are equal, then -- and it

  13· · has to do with supervision, then, yes, I could say

  14· · that that might be the case.· But, again, I'm not

  15· · going to give an absolute because I just don't

  16· · have any facts.

  17· · Q.· · · · ·Okay.· You mentioned burdens of proof,

  18· · I guess in terms of whether you're sort of

  19· · 51 percent sure that the officer did it versus

  20· · 99 percent sure.· How does that play into the

  21· · discipline?

  22· · A.· · · · ·I take it into consideration as to how

  23· · strong the evidence is.

  24· · Q.· · · · ·Okay.· Is that in terms of how strong


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  ·1· · the evidence is in your own mind or in terms of

  ·2· · how you think an arbitrator is going to look at

  ·3· · the strength of the evidence?

  ·4· · A.· · · · ·Mostly mine.· But I certainly do

  ·5· · consider at times whether or not I think that this

  ·6· · is a case that an arbitrator could find.· But, you

  ·7· · know, like our burden of proof for administrative

  ·8· · investigations is preponderance of the evidence.

  ·9· · Q.· · · · ·Uh-huh.

  10· · A.· · · · ·Some arbitrators just decide that they

  11· · want clear and convincing.

  12· · Q.· · · · ·Uh-huh.

  13· · A.· · · · ·So I don't try to go with clear and

  14· · convincing just knowing that some arbitrators do

  15· · that because I don't know which arbitrator is

  16· · going to have the case.· And --

  17· · Q.· · · · ·True.

  18· · A.· · · · ·-- I don't know if that's the standard

  19· · that they're going to use.· So I relied mostly on

  20· · my judgment because that's the one thing that I

  21· · have control over.

  22· · Q.· · · · ·And if you feel convinced that an

  23· · officer committed serious misconduct, would you

  24· · rather recommend the serious discipline even if


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  ·1· · you -- it might be overturned by the arbitrator,

  ·2· · or would you rather issue discipline that you feel

  ·3· · like is definitely going to hold up?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·5· · A.· · · · ·If I believe that the officer needs to

  ·6· · have corrective action, I'm going to recommend

  ·7· · corrective action.

  ·8· · Q.· · · · ·Okay.· Even if there's a chance that an

  ·9· · arbitrator might send it back?

  10· · A.· · · · ·I don't recall ever making a decision

  11· · not to discipline somebody because an arbitrator

  12· · might negate that.

  13· · Q.· · · · ·Okay.· How about what's the rule of the

  14· · union?· And I know this is a general question, so

  15· · let me explain it.

  16· · · · · · · ·But what's the role of the union in

  17· · terms of that?· In terms of are there cases where

  18· · the union is sort of more and less, you know,

  19· · strenuously objecting to discipline for an

  20· · officer, and if so does that get taken into

  21· · account?

  22· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  23· · A.· · · · ·I think that I could say that, yes,

  24· · there are times when I feel like they are


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  ·1· · absolutely convinced that an officer is either

  ·2· · innocent or shouldn't be disciplined at a certain

  ·3· · level and they make their feelings known to me

  ·4· · and/or others.· And then there are other cases

  ·5· · where I think that they understand that

  ·6· · disciplinary action needs to take place, they're

  ·7· · not fighting it so strenuously.

  ·8· · Q.· · · · ·Okay.· And does that influence -- did

  ·9· · that influence your disciplinary recommendations

  10· · or is it just a background fact?

  11· · A.· · · · ·Well, I would say I certainly

  12· · considered it.· You know, in particular, you know,

  13· · some of our police involved shooting situations,

  14· · they were very, very, you know, strenuous about

  15· · some of their recommendations or fighting for a

  16· · particular officer.· And I think they have been

  17· · with some other officers as well.· But it's just I

  18· · consider everything.

  19· · Q.· · · · ·Uh-huh.· Okay.· So you're saying there

  20· · are situations where you may have given lesser

  21· · disciplinary recommendations because you felt the

  22· · union was going to make a bigger issue of it?

  23· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  24· · A.· · · · ·Well, the union objecting to it or not


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  ·1· · is sometimes coinciding with what I thought was

  ·2· · the appropriate level of discipline.· So I can't

  ·3· · say that -- go ahead and repeat the question

  ·4· · again.

  ·5· · Q.· · · · ·Are you saying there are situations

  ·6· · where you may have given lesser disciplinary

  ·7· · recommendations because you felt the union was

  ·8· · going to make a bigger issue of it than other

  ·9· · similar cases?

  10· · A.· · · · ·I would say I probably did take that

  11· · into consideration, yes.

  12· · Q.· · · · ·Can you give me an example?

  13· · A.· · · · ·Well, like you brought up Doug Williams

  14· · before.· You know, I thought that his accidental

  15· · discharge when he was wrestling around with a

  16· · person and his gun was in his hand and he -- I

  17· · mean, he came close to shooting this person.· And

  18· · an 8-hour suspension seemed to me that that's not

  19· · nearly enough, but it was beyond a written

  20· · reprimand which was the standard, and I thought,

  21· · well, at least I get my foot in the door with an

  22· · 8-hour suspension.· And so I thought, yes, indeed

  23· · they were going to object to that, and so I didn't

  24· · go higher than an 8-hour suspension but I did go


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  ·1· · with the 8-hour suspension.

  ·2· · Q.· · · · ·Okay.

  ·3· · A.· · · · ·So I would say that's probably an

  ·4· · example of where I knew that the union was going

  ·5· · to object, I still did what I thought was at least

  ·6· · somewhat appropriate if -- you know, it might have

  ·7· · been harsher, but I thought that that at least

  ·8· · made a statement.

  ·9· · Q.· · · · ·So the Doug Williams case was an

  10· · example where you gave lesser discipline than you

  11· · really wanted to because you felt the union would

  12· · make an issue of it if you did more?

  13· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  14· · A.· · · · ·I just can't say, you know, what else I

  15· · would have done.

  16· · Q.· · · · ·Okay.

  17· · A.· · · · ·I --

  18· · Q.· · · · ·I mean, just my understanding of the

  19· · Doug Williams case is that was by far the most

  20· · discipline that had ever been given to an officer

  21· · for an accidental discharge?

  22· · A.· · · · ·I think at that time.

  23· · Q.· · · · ·Okay.· And in fact there had been many

  24· · prior cases involving accidental discharges in


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  ·1· · which the officers got a written reprimand?

  ·2· · A.· · · · ·Correct.

  ·3· · Q.· · · · ·Including some cases where the

  ·4· · discharge was near a civilian or during a scuffle

  ·5· · with a civilian?

  ·6· · A.· · · · ·I don't know those cases.· This was one

  ·7· · that came up while I was chief.· So I don't know

  ·8· · all of the different accidental discharges

  ·9· · circumstances, but I do know that this one

  10· · concerned me.

  11· · Q.· · · · ·Okay.· Did you take into account what

  12· · you described earlier in terms of your sort of

  13· · assessment of Sergeant Williams' reputation or

  14· · trustworthiness?

  15· · A.· · · · ·That wasn't about trustworthiness.

  16· · That was about the circumstances that he -- even

  17· · as a supervisor -- I mean, in the videotape that

  18· · we had, we saw an officer that actually took

  19· · control of the situation and handled his own

  20· · weapon properly and Sergeant Williams did not.· So

  21· · I took into consideration his status as a

  22· · supervisor, his tenure.· But I didn't -- it wasn't

  23· · a matter of trustworthiness at that point in time.

  24· · Q.· · · · ·Okay.· Going back to the status of the


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  ·1· · supervisor thing, in addition to supervisors sort

  ·2· · of greater degree of autonomy and training and

  ·3· · that sort of thing, is it fair to say that it's

  ·4· · important for supervisors to set an example for

  ·5· · lower ranking officers than be held to a higher

  ·6· · standard of conduct in general?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·8· · A.· · · · ·I believe it's extremely important for

  ·9· · supervisors to lead by example.

  10· · Q.· · · · ·Okay.

  11· · A.· · · · ·The higher standard is not something

  12· · that is codified.· You know, I think all police

  13· · officers should be held to a higher standard.

  14· · And, you know, there are situations that apply

  15· · just to supervisors for their behavior, so if

  16· · that's a higher standard, then I guess that

  17· · certainly applies.· But it doesn't say the same

  18· · circumstances that they'll be treated differently

  19· · for everything, you know.

  20· · Q.· · · · ·Okay.· But just taking the example you

  21· · gave about wearing your hat.

  22· · A.· · · · ·Uh-huh.

  23· · Q.· · · · ·Assuming the supervisor is in a

  24· · position where they're required to wear their hat.


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  ·1· · If a supervisor's sort of flouting the rules about

  ·2· · hat wearing, that may be taken more seriously than

  ·3· · for a patrol officer because the supervisor is

  ·4· · sort of demonstrating to the lower ranking

  ·5· · officers that they don't have to follow the rules

  ·6· · since my supervisor is not following the rules?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·8· · A.· · · · ·Are you asking if it's taken more

  ·9· · seriously by me?

  10· · Q.· · · · ·Yeah.

  11· · A.· · · · ·I don't consider hat violations to be

  12· · extremely important.

  13· · Q.· · · · ·Okay.

  14· · A.· · · · ·Chief Jackson did.

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·And I don't believe that he insisted

  17· · that different levels of disciplinary action were

  18· · taken for supervisors as opposed to officers on a

  19· · regular basis.· It might have been on an

  20· · intermittent or, you know, indeterminant basis.

  21· · But I'm not aware of what his policy was on

  22· · wearing the hat.

  23· · · · · · · ·Certainly I think that if a supervisor

  24· · is not wearing a hat, that it would be hard for


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  ·1· · them to expect their officers to always wear their

  ·2· · hat and that leading by example thing.· But I

  ·3· · don't think that it would necessarily result in

  ·4· · different discipline.· It's a DCC generally, and I

  ·5· · don't get involved in those decisions.

  ·6· · Q.· · · · ·Sure.

  ·7· · A.· · · · ·I didn't get involved.· I keep talking

  ·8· · as if this is the present, and I am not the chief

  ·9· · anymore.

  10· · Q.· · · · ·Uh-huh.· You mentioned -- actually I

  11· · think it was when you were talking about drunk

  12· · driving, you mentioned the role of the division's

  13· · public image?

  14· · A.· · · · ·Uh-huh.

  15· · Q.· · · · ·Is the division's public image

  16· · something that would be taken into account in

  17· · terms of handing out discipline?

  18· · A.· · · · ·Yes, indeed.

  19· · Q.· · · · ·Okay.· So things that officers do that

  20· · are more likely to cause the division public

  21· · humiliation or embarrassment would be taken more

  22· · seriously?

  23· · A.· · · · ·I don't know about more seriously.· You

  24· · know, it --


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  ·1· · Q.· · · · ·It might?

  ·2· · A.· · · · ·It's a factor in whether or not that

  ·3· · rule is used and, you know, there are other things

  ·4· · that never come to anybody's attention that are

  ·5· · extremely serious.

  ·6· · Q.· · · · ·Uh-huh.

  ·7· · A.· · · · ·So I don't know about the more

  ·8· · seriously.

  ·9· · Q.· · · · ·And again for each of these factors I'm

  10· · really talking about all other things being equal,

  11· · if it's something that's embarrassing to the

  12· · division, it might result in more discipline?

  13· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  14· · A.· · · · ·Because there's a rule of conduct that

  15· · says that you should not bring disrepute, then,

  16· · yes, they're taught the potential is there.

  17· · Q.· · · · ·Okay.· How about the degree of harm to

  18· · the public, is that taken into account in

  19· · discipline, harm or potential harm to the public?

  20· · A.· · · · ·I'm not sure what you mean by "harm."

  21· · Q.· · · · ·Things that are dangerous to members of

  22· · the public or cause the public financial harm, are

  23· · those taken more seriously than things that don't?

  24· · A.· · · · ·Sure.


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  ·1· · Q.· · · · ·Are things that are physically

  ·2· · dangerous to officers and civilians taken more

  ·3· · seriously than things that aren't?

  ·4· · A.· · · · ·Can you give me an example?

  ·5· · Q.· · · · ·I think the example you used was that

  ·6· · the accidental discharge near a civilian might be

  ·7· · taken more seriously than one that happens in the

  ·8· · wall at the -- against the wall of a substation

  ·9· · for instance?

  10· · A.· · · · ·Absolutely.

  11· · Q.· · · · ·Okay.· Things that might cause somebody

  12· · physical harm would generally be taken more

  13· · seriously than things that are, you know, strictly

  14· · an internal financial issue?

  15· · A.· · · · ·No.· It depends.

  16· · Q.· · · · ·No.· Can you explain?

  17· · A.· · · · ·The best example that I could give is a

  18· · use of force --

  19· · Q.· · · · ·Okay.

  20· · A.· · · · ·-- that is outside of policy.· A use of

  21· · force that's outside of the policy is often done

  22· · in the heat of the moment, split second decision

  23· · making is going on, you know, the officer is in a

  24· · volatile situation, might sense that there's some


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  ·1· · danger and act inappropriately.· I take all that

  ·2· · into consideration.· But somebody that

  ·3· · purposefully, you know, violates --

  ·4· · Q.· · · · ·Steals property?

  ·5· · A.· · · · ·-- our rules, steals property, violates

  ·6· · our rules, not necessarily harm to the public and

  ·7· · maybe it doesn't come to the attention of the

  ·8· · public.· But I consider it to be deceitful,

  ·9· · purposeful, and -- you know, whereas the officer's

  10· · behavior is -- oftentimes may be negligent or

  11· · reckless, not purposeful.· So their own

  12· · culpability is extremely important.· And I can't

  13· · say that the use of force is more serious than the

  14· · other.

  15· · Q.· · · · ·Okay.· What about a purposeful use of

  16· · force against a civilian, intentionally doing

  17· · something without cause versus intentionally

  18· · stealing a piece of property from the division?

  19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  20· · A.· · · · ·It all depends on the facts and what

  21· · the situation is.

  22· · Q.· · · · ·Okay.· There's no division rule that a

  23· · use of force against a civilian is a less serious

  24· · offense than a theft of property for instance?


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  ·1· · There's no blanket rule like that?

  ·2· · A.· · · · ·No.

  ·3· · Q.· · · · ·Okay.· Exposing the division to

  ·4· · potential legal liability, does that make an

  ·5· · offense more serious in terms of discipline

  ·6· · potentially?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  ·8· · A.· · · · ·I mean, I can't say that it doesn't.

  ·9· · But, you know, an officer does an illegal search,

  10· · you expose the city to, you know, legal liability,

  11· · you know, financially.· But you go back to, you

  12· · know, what was their mental state, you know, what

  13· · was their purpose, all that kind of stuff.· And so

  14· · there are -- certainly the potential is there if

  15· · they expose the city to something.· But, you know,

  16· · officers fail to control at a stop sign and get in

  17· · a car accident and cost the city tens of thousands

  18· · of dollars and they still get a DCC for, you know,

  19· · perhaps their driving.· So it -- it's not one

  20· · thing.

  21· · Q.· · · · ·Okay.· And that applies even violations

  22· · of peoples' constitutional or civil rights may be

  23· · dealt with less seriously than things that don't?

  24· · A.· · · · ·Depending --


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  ·1· · · · · · · ·MR. COGLIANESE:· Objection.

  ·2· · A.· · · · ·-- on the circumstances.

  ·3· · Q.· · · · ·Okay.

  ·4· · · · · · · ·MR. GITTES:· Can we take a break?

  ·5· · · · · · · ·MR. VARDARO:· Can we wait a minute?

  ·6· · · · · · · ·MR. GITTES:· Sure.· Yeah.· Okay.

  ·7· · BY MR. VARDARO:

  ·8· · Q.· · · · ·I think you were getting at this

  ·9· · before.· But certainly if the offense involves the

  10· · honesty and integrity of the officer, that would

  11· · be dealt with more seriously than something that

  12· · doesn't?

  13· · · · · · · ·MR. COGLIANESE:· Objection.

  14· · Q.· · · · ·All other things being equal?

  15· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  16· · A.· · · · ·It depends on what that's all about.                     I

  17· · mean --

  18· · Q.· · · · ·Okay.· Well, we'll get back into that

  19· · in a second.· Let's take 5 minutes?

  20· · · · · · · ·(A short recess is taken.)

  21· · BY MR. VARDARO:

  22· · Q.· · · · ·Chief Jacobs, before we went on break,

  23· · I was asking you about disciplinary infractions or

  24· · misconduct that implicates the honesty and


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  ·1· · integrity of the officer involved.

  ·2· · A.· · · · ·Yes.

  ·3· · Q.· · · · ·And I guess you gave me -- you said

  ·4· · that -- whether that factors into the level of

  ·5· · discipline depends on what it's all about.                   I

  ·6· · guess what I'm asking is if misconduct that an

  ·7· · officer comits is dishonest or intentionally

  ·8· · untruthful, that's more serious than conduct that

  ·9· · isn't dishonest or untruthful, right?

  10· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  11· · A.· · · · ·I would say in general, yes.

  12· · Q.· · · · ·Well, I'm asking all these questions

  13· · I'm asking you in general.· I mean, obviously

  14· · we're going to talk about some specific things.

  15· · A.· · · · ·Okay.

  16· · Q.· · · · ·So the factors that I've heard you say

  17· · in terms of what you took into account at the time

  18· · you were chief for the level of discipline were

  19· · the level of evidence in the case, how much

  20· · evidence there was?

  21· · A.· · · · ·Yes.

  22· · Q.· · · · ·Whether there were comparable prior

  23· · cases?

  24· · A.· · · · ·Yes.


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  ·1· · Q.· · · · ·Whether the officer accepted

  ·2· · responsibility for their actions?

  ·3· · A.· · · · ·Yes.

  ·4· · Q.· · · · ·And just in terms of that one, that's

  ·5· · sort of related to what we were just talking about

  ·6· · in terms of honesty and integrity, if the officer

  ·7· · has basically admitted that they did the thing

  ·8· · wrong versus continuing to claim that they didn't,

  ·9· · you take that into account?

  10· · A.· · · · ·I would say yes in general.

  11· · Q.· · · · ·Okay.· If the officer when they were

  12· · asked, the officer said I didn't do it and then it

  13· · turned out that they actually -- you could prove

  14· · 100 percent they did do it, they would be charged

  15· · with untruthfulness on top of the other charges,

  16· · right?

  17· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  18· · A.· · · · ·That depends.

  19· · Q.· · · · ·I mean, if it's proven that the officer

  20· · was untruthful?

  21· · A.· · · · ·If it was proven --

  22· · · · · · · ·MR. COGLIANESE:· Objection.

  23· · A.· · · · ·-- that the officer was untruthful,

  24· · yes.· That would certainly be a consideration.


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  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·But sometimes they can deny something

  ·3· · and still not be in their mind's eye lying because

  ·4· · they believe it to be otherwise.

  ·5· · Q.· · · · ·Okay.· If the officer had a good -- the

  ·6· · other factors you've listed, the officer's prior

  ·7· · history in the department, their history of

  ·8· · service?

  ·9· · A.· · · · ·What's the question?

  10· · Q.· · · · ·Whether that was a factor in the

  11· · discipline?

  12· · A.· · · · ·Yes.

  13· · Q.· · · · ·Their past disciplinary acts or

  14· · disciplinary history?

  15· · A.· · · · ·Correct.

  16· · Q.· · · · ·The burden of proof for that particular

  17· · type of discipline, whether it preponderance or

  18· · clear and convincing?

  19· · · · · · · ·MR. COGLIANESE:· Objection.

  20· · A.· · · · ·Well, I don't --

  21· · Q.· · · · ·Well, you said that was something you

  22· · didn't really take into account, your standard was

  23· · preponderance, some arbitrators applied higher

  24· · standards?


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  ·1· · A.· · · · ·The city's level of proof needed to

  ·2· · sustain the charges is a preponderance of the

  ·3· · evidence.· In the cases that I saw, it ranged from

  ·4· · 51 percent to 100 percent.

  ·5· · Q.· · · · ·Okay.· So if you're absolutely certain

  ·6· · that the officer conducted the misconduct, they're

  ·7· · likely to get a higher level of discipline than if

  ·8· · you were just pretty sure that they did it?

  ·9· · · · · · · ·MR. COGLIANESE:· Objection.

  10· · A.· · · · ·Not necessarily.

  11· · Q.· · · · ·Okay.· So what did you mean when you --

  12· · when you were talking about how sure you were that

  13· · they did the misconduct being a factor in

  14· · discipline?

  15· · A.· · · · ·Well, it depends on what the charges

  16· · are.· I mean, you know, I could be -- I could be

  17· · preponderance of the evidence and 100 percent sure

  18· · and still give the same level of discipline,

  19· · depending on what the comparables were and what --

  20· · everything else was involved.

  21· · Q.· · · · ·I'm going by the list that you gave us

  22· · in terms that you said the level of evidence, the

  23· · level of proof was a factor in terms of how

  24· · serious the disciplinary --


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  ·1· · A.· · · · ·I said it was one of the considerations

  ·2· · that I take into --

  ·3· · Q.· · · · ·Well, how would it be a consideration?

  ·4· · A.· · · · ·If I felt that -- I have to decide.                     I

  ·5· · think if it's 51 percent preponderance of the

  ·6· · evidence and then if I am very convinced then I'm

  ·7· · very convinced.

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·It's a consideration that I --

  10· · Q.· · · · ·And how does that play into the level

  11· · of discipline that's handed out?

  12· · · · · · · ·MR. COGLIANESE:· Objection.

  13· · A.· · · · ·I can't give you a hypothetical answer

  14· · without knowing what the facts are.

  15· · Q.· · · · ·I guess I want to make sure you

  16· · understand what I'm asking you.· What I'm asking

  17· · you is once you've decided you're going to sustain

  18· · a departmental charge against an officer, my

  19· · question was about the factors that would be taken

  20· · into account in terms of what level of discipline

  21· · is given, whether they're terminated, whether

  22· · they're suspended, how long a suspension, whether

  23· · it's a reprimand or suspension, those kind of

  24· · things.· You mentioned in response to that whether


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  ·1· · it's 51 percent or 100 percent being a factor in

  ·2· · those things.· And I guess I'm trying to figure

  ·3· · out in what direction?· I mean, I think it's a

  ·4· · pretty basic question.· If you're more sure,

  ·5· · you're more likely to give a higher level of

  ·6· · discipline; is that accurate?

  ·7· · · · · · · ·MR. COGLIANESE:· Objection.

  ·8· · A.· · · · ·I would say that that can happen, yes.

  ·9· · Q.· · · · ·Okay.· You mentioned the level of

  10· · discipline needed to achieve the corrective

  11· · action?

  12· · A.· · · · ·I did.

  13· · Q.· · · · ·What does that mean?

  14· · A.· · · · ·Do I think that this is an appropriate

  15· · level to prevent future similar conduct from

  16· · occurring.

  17· · Q.· · · · ·Okay.· You mentioned the risk of

  18· · arbitration, and I think we talked about that,

  19· · that's another factor, but maybe not one that you

  20· · took particularly strongly into account?

  21· · · · · · · ·MR. COGLIANESE:· Objection.

  22· · A.· · · · ·I considered it always.· Well, not

  23· · always, I guess.· But I certainly considered it at

  24· · times and took it into consideration.· I mean, I


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  ·1· · typically would discuss the outcome of a hearing

  ·2· · with the people that were present outside of the

  ·3· · FOP and then the focus officer and say what do you

  ·4· · think, and sometimes that would come up and

  ·5· · sometimes it wouldn't.

  ·6· · Q.· · · · ·Okay.· You mentioned a tenure of the

  ·7· · officer, that's one of the -- that was another

  ·8· · factor?

  ·9· · A.· · · · ·Yes.

  10· · Q.· · · · ·The level of training the officer

  11· · received was a factor?

  12· · A.· · · · ·Yes.

  13· · Q.· · · · ·Whether the conduct was criminal or not

  14· · with a conviction?

  15· · A.· · · · ·I don't know that I distinguished it

  16· · being a conviction.· Certainly that goes into the

  17· · charges that might come in and then that could add

  18· · on.· But it could be a totally administrative

  19· · case, not criminal and still be very serious.

  20· · Q.· · · · ·Okay.· But if the officer committed a

  21· · crime, that would be factored into the discipline?

  22· · A.· · · · ·Yes.

  23· · · · · · · ·MR. COGLIANESE:· Objection.

  24· · Q.· · · · ·The officer's rank is a factor?


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  ·1· · A.· · · · ·Yes.

  ·2· · Q.· · · · ·The level of public embarrassment is a

  ·3· · factor?

  ·4· · A.· · · · ·Yes.

  ·5· · Q.· · · · ·And whether there's harm to the public

  ·6· · or the division is a factor?

  ·7· · A.· · · · ·Yes.

  ·8· · Q.· · · · ·And whether the conduct was intentional

  ·9· · or just reckless or negligent is a factor?

  10· · A.· · · · ·Their culpability was a consideration.

  11· · Q.· · · · ·Okay.

  12· · A.· · · · ·Their known culpability.

  13· · Q.· · · · ·Okay.· Other than those I think

  14· · probably 14 or 15 different things that I just

  15· · mentioned, any other factors generally that you

  16· · can think of in terms of how serious the

  17· · discipline handed out would be?

  18· · A.· · · · ·I don't think we talked about

  19· · aggravating circumstances, you know.

  20· · Q.· · · · ·Yeah.· Let's talk about them.

  21· · A.· · · · ·There's mitigating and aggravating

  22· · circumstances.

  23· · Q.· · · · ·Are there other things that aren't on

  24· · that list that would be aggravated or mitigating


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  ·1· · circumstances?

  ·2· · A.· · · · ·I described earlier the mitigating for

  ·3· · an officer using unnecessary force, you know, a

  ·4· · volatile situation, you know, thinking that this

  ·5· · was necessary but it really wasn't or whatever,

  ·6· · that's a mitigating circumstance.· Aggravating is

  ·7· · where you've plotted, where you've, you know,

  ·8· · purposefully done something that you actually knew

  ·9· · what you were doing and continued to do it, so

  10· · that's an aggravating circumstance.· Aggravating

  11· · on an OVI.· You know, one thing is to, you know,

  12· · fall asleep at the wheel with the car running,

  13· · stopped at a stop sign.· Another one would be to

  14· · maybe flee and not pull over right away and to,

  15· · you know, fight with the arresting officer or to

  16· · give them a hard time or try to get out of the

  17· · situation by saying you're a cop.· Those would be

  18· · aggravating circumstances.

  19· · Q.· · · · ·Okay.· But a lot of that seems like

  20· · it's bound up in the last factor that we talked

  21· · about which is about whether the misconduct is

  22· · purposeful or intentional or premedicated versus

  23· · whether it's reckless or negligent.

  24· · A.· · · · ·It's related to it.


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  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·But not exclusively.

  ·3· · Q.· · · · ·Okay.· Are there other mitigating

  ·4· · factors that you haven't already mentioned?

  ·5· · · · · · · ·MR. COGLIANESE:· Objection.

  ·6· · A.· · · · ·I can't think of any other examples

  ·7· · right now.

  ·8· · Q.· · · · ·Okay.· How about other aggravating

  ·9· · factors?

  10· · · · · · · ·MR. COGLIANESE:· Objection.

  11· · A.· · · · ·I can't think of anything specific.

  12· · Q.· · · · ·Okay.· How about just sort of how you

  13· · value the officer in terms of their value to the

  14· · department, is that something you take into

  15· · account?

  16· · A.· · · · ·Yeah.· I suppose if that's a judgment

  17· · that I feel comfortable making, you know.· I don't

  18· · always know, and I certainly can't predict, but

  19· · you know if I believe that the corrective action

  20· · is one in which is probably going to change

  21· · behavior and that person can continue to be a

  22· · productive police officer, whereas the corrective

  23· · action isn't going to change anything and they

  24· · might consider or might continue to be a problem,


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  ·1· · then that might be a factor that I can take into

  ·2· · consideration.· It might not be anything that I

  ·3· · can do anything about, though.

  ·4· · Q.· · · · ·Okay.

  ·5· · A.· · · · ·Yeah.· Or accurately assess.

  ·6· · Q.· · · · ·Okay.· Any other factors that we

  ·7· · haven't talked about that you can think of in

  ·8· · general that you would have taken into account?

  ·9· · A.· · · · ·Not right offhand.

  10· · Q.· · · · ·Okay.· I want to talk obviously about

  11· · the Kevin Morgan investigation that resulted in

  12· · his termination.· Fair to say the general time

  13· · frame we're talking about is 2013 to 2015; does

  14· · that sound right to you?

  15· · A.· · · · ·Yes.

  16· · Q.· · · · ·Okay.· In particular the misconduct he

  17· · was alleged to have committed happened in 2013, he

  18· · was terminated in 2015, and the investigation in

  19· · various forms went on in between those times?

  20· · A.· · · · ·Correct.

  21· · Q.· · · · ·Okay.· What was the first thing that

  22· · you heard about it when -- like when in the

  23· · process would you have heard about it?

  24· · A.· · · · ·I don't recall specifically.                  I


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  ·1· · sometimes was informed of the initiation of

  ·2· · investigations and sometimes I wasn't.· I would

  ·3· · assume this one was shortly after it initiated

  ·4· · because he was relieved of duty.· And in general I

  ·5· · was advised of those kinds of circumstances and/or

  ·6· · why.

  ·7· · Q.· · · · ·Okay.· Typically there would be a

  ·8· · routing sheet at least that would go up to you, to

  ·9· · your level when somebody was relieved of duty?

  10· · A.· · · · ·Not necessarily, no.

  11· · Q.· · · · ·Okay.

  12· · A.· · · · ·But, you know, whether it was a routing

  13· · sheet or somebody verbally told me, in general I

  14· · was advised of serious allegations and relief of

  15· · duties.

  16· · Q.· · · · ·Okay.· Do you have any independent

  17· · recollection of what the first thing you would

  18· · have heard about Kevin Morgan's case was?

  19· · A.· · · · ·Along the lines of working special duty

  20· · employment and I think it referred to his double

  21· · dipping.· But, you know, basically getting paid

  22· · for being two places at the same time, which

  23· · obviously shouldn't happen.

  24· · Q.· · · · ·What was your involvement in the


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  ·1· · investigation as it was going on?

  ·2· · A.· · · · ·I don't recall any specific --

  ·3· · Q.· · · · ·Okay.· Commander --

  ·4· · A.· · · · ·-- involvement.

  ·5· · Q.· · · · ·Commander Jennifer Knight was in charge

  ·6· · of internal affairs during this time period.· Does

  ·7· · that sound right?

  ·8· · A.· · · · ·I don't know the dates of her tenure

  ·9· · there.

  10· · Q.· · · · ·Okay.

  11· · A.· · · · ·I had at least four different internal

  12· · affairs commanders in seven years, so I don't know

  13· · what the tenure of hers was.

  14· · Q.· · · · ·Commander Knight, do you remember

  15· · Commander Knight keeping you generally informed

  16· · and updated about this investigation?

  17· · A.· · · · ·She may have.

  18· · Q.· · · · ·Okay.· Do you remember having any

  19· · discussions with Ray Meister the sergeant

  20· · investigating Kevin Morgan?

  21· · A.· · · · ·I don't remember any specific

  22· · conversation that I had with him.· He might have

  23· · been at the hearing --

  24· · Q.· · · · ·Okay.


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  ·1· · A.· · · · ·-- ultimately and we might have talked

  ·2· · then.· But I don't remember during the pendency of

  ·3· · the case.

  ·4· · Q.· · · · ·Okay.· Having reviewed the

  ·5· · investigative summary in the last -- you said you

  ·6· · reviewed it in the last week or so?

  ·7· · A.· · · · ·Uh-huh.

  ·8· · Q.· · · · ·Sorry.· You have to say yes.

  ·9· · A.· · · · ·Yes.

  10· · Q.· · · · ·You also remember Ken Decker was

  11· · involved in the investigation?

  12· · A.· · · · ·I believe he was one of the IA

  13· · sergeants that helped with some interviews.

  14· · Q.· · · · ·Okay.· Did you have any involvement in

  15· · assigning Sergeant Decker to assist Sergeant

  16· · Meister or was that completely within internal

  17· · affairs?

  18· · A.· · · · ·Not to my knowledge.

  19· · Q.· · · · ·Okay.· Do you have any understanding of

  20· · why Sergeant Decker was assisting Sergeant Meister

  21· · with the investigation?

  22· · A.· · · · ·No.

  23· · Q.· · · · ·Okay.· Did you have discussions at

  24· · executive staff meetings about the progress of


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  ·1· · this case as it was going on?

  ·2· · A.· · · · ·I would assume we did.· I generally

  ·3· · tried to be kept apprised of relief of duty

  ·4· · status.· And if we're doing a criminal

  ·5· · investigation, then I would have asked to be kept

  ·6· · advised of what was the status of the criminal

  ·7· · investigation.

  ·8· · Q.· · · · ·Okay.· What would be the general nature

  ·9· · of those status reports or --

  10· · A.· · · · ·Where does it stand, you know, what's

  11· · going on, do we have anything new, do we have any,

  12· · you know, reason to put him back to work or not.

  13· · You know, general questioning about where the

  14· · investigation stood.

  15· · Q.· · · · ·Okay.· I want to talk -- I want to jump

  16· · back for a second and talk in general about what

  17· · is -- when Officer Morgan was relieved of duty,

  18· · which was shortly after this investigation

  19· · started --

  20· · A.· · · · ·Uh-huh.

  21· · Q.· · · · ·-- he was assigned to something called

  22· · 580.· What does that mean when an officer is

  23· · relieved of duty and assigned to 580?

  24· · A.· · · · ·They're relieved of their badge and gun


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  ·1· · and told not to perform any police duties,

  ·2· · activities.· And then 580 is the patrol

  ·3· · administrative office, and they find work for our

  ·4· · personnel there to answer the phones, to help

  ·5· · people coming into the office find things, do

  ·6· · things, they organize and distribute subpoenas,

  ·7· · basically whatever work the patrol administrative

  ·8· · sergeant feels needs to be done during that shift.

  ·9· · Q.· · · · ·Okay.· How many officers are typically

  10· · on relieved of duty status at one time and

  11· · assigned a 580?

  12· · A.· · · · ·It fluctuates.

  13· · Q.· · · · ·Okay.· What's the range?

  14· · A.· · · · ·As far as being relieved of duty,

  15· · probably one or two because everybody knew during

  16· · my tenure that I tried to minimize the number of

  17· · people that were, you know, relief of duty status.

  18· · It was something that I purposefully tried to

  19· · shorten the time in a relief of duty status if

  20· · possible.

  21· · Q.· · · · ·Why?

  22· · A.· · · · ·Because if the officer could still do

  23· · some work that we trusted could be done in the

  24· · right way and it wasn't a termination case, then


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  ·1· · they could go back to work and wait out the

  ·2· · pendency.· But if you are facing a termination

  ·3· · case, if it's about untruthfulness, if it's about

  ·4· · I don't trust you to do the job in the way that

  ·5· · needs to be done, then you would generally stay

  ·6· · off.· I didn't always get involved in all of those

  ·7· · decisions.· But the ones that came to my

  ·8· · attention, I tried to monitor the status of.

  ·9· · Certainly something the union had complained about

  10· · and I told them and did make some changes to

  11· · monitor how long people were in a relief of duty

  12· · status so that we weren't neglecting to pay

  13· · attention to that status.

  14· · Q.· · · · ·Okay.· For officers relieved of duty,

  15· · the sergeant had a fair amount of discretion in

  16· · terms of what they were actually doing?

  17· · A.· · · · ·The patrol administrative sergeant?

  18· · Q.· · · · ·Yes.

  19· · A.· · · · ·As far as I know, yes.

  20· · Q.· · · · ·Okay.· I mean they could be located in

  21· · various different places within the 580 office?

  22· · They could be doing various different kinds of

  23· · what I would call make work duties?

  24· · A.· · · · ·Well, there was always work to be done.


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  ·1· · I worked there for four years as a sergeant and

  ·2· · there was always work to be done.· But if you had

  ·3· · 10 people, then I suppose you might have to find

  ·4· · something for them to do.

  ·5· · Q.· · · · ·Okay.

  ·6· · A.· · · · ·But, yeah, I -- I mean I didn't tell

  ·7· · the sergeant to tell them what to make them do if

  ·8· · that's what you mean.

  ·9· · Q.· · · · ·I mean during this time period that

  10· · we're talking about, I mean Officer Morgan was in

  11· · 580 from roughly November 2013 until September

  12· · 1st, 2015 when he was terminated.· So almost two

  13· · years, right?· That sounds right?

  14· · A.· · · · ·That sounds like an almost two-year

  15· · period of time.

  16· · Q.· · · · ·Okay.· And during the same period of

  17· · time Bronson Constable was in 580 for almost that

  18· · whole period of time if not longer?

  19· · A.· · · · ·I don't know what the dates for

  20· · sergeant was.

  21· · Q.· · · · ·Okay.· But it was the same general time

  22· · frame that the Constable Jones investigation was

  23· · going on?

  24· · A.· · · · ·You have that information.· I don't


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  ·1· · have it in front of me.

  ·2· · Q.· · · · ·Okay.· My understanding was you just

  ·3· · reviewed this?

  ·4· · · · · · · ·MR. COGLIANESE:· Objection.

  ·5· · Q.· · · · ·A whole list of these cases?

  ·6· · A.· · · · ·Didn't have that kind of information in

  ·7· · it.

  ·8· · Q.· · · · ·Okay.· No time frames?

  ·9· · A.· · · · ·I don't have one for him.

  10· · Q.· · · · ·Okay.· The Constable and Jones were in

  11· · 580 during the pendency of their investigation

  12· · though, right?

  13· · A.· · · · ·I don't recall.

  14· · Q.· · · · ·Okay.· You don't remember whether they

  15· · were or not?

  16· · A.· · · · ·I don't know where they were assigned.

  17· · I don't know how long they may have been relieved

  18· · of duty.

  19· · Q.· · · · ·Okay.· How about officer -- we

  20· · mentioned Officer Kirby before when he was under

  21· · investigation.· Was he relieved of duty?

  22· · A.· · · · ·Potentially.

  23· · Q.· · · · ·Okay.· There was an officer -- was

  24· · officer -- along with -- well, you don't know that


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  ·1· · one, okay.

  ·2· · · · · · · ·There's an Officer Randall Lyons who

  ·3· · was relieved of duty during this time frame.· Does

  ·4· · that ring a bell?

  ·5· · A.· · · · ·Yes.

  ·6· · Q.· · · · ·Okay.

  ·7· · A.· · · · ·I don't know what time frame it was.

  ·8· · But I know that he was relieved of duty because he

  ·9· · was disciplined for time problems while he was

  10· · relieved of duty.

  11· · Q.· · · · ·Right.· So we're talking -- I mean,

  12· · assuming that I'm correct that all of those

  13· · officers were investigated during this time frame

  14· · and all of those officers were relieved of duty

  15· · during the investigation we're talking about, at

  16· · least five or six officers assigned in 580 during

  17· · that time frame?

  18· · A.· · · · ·What's the question?

  19· · Q.· · · · ·I'm just asking you whether you agree

  20· · that that's -- that would be an unusually large

  21· · number of officers to be assigned to 580 at the

  22· · same time --

  23· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

  24· · Q.· · · · ·-- based on what you told me.


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  ·1· · A.· · · · ·I can't say unusual or not because I

  ·2· · don't keep track of the numbers or --

  ·3· · Q.· · · · ·You said it would usually be one or

  ·4· · two?

  ·5· · A.· · · · ·That's my guess.

  ·6· · Q.· · · · ·Okay.· And this was probably three

  ·7· · times that many during this --

  ·8· · · · · · · ·MR. COGLIANESE:· Objection.

  ·9· · A.· · · · ·Okay.

  10· · Q.· · · · ·-- during this two-year time frame.

  11· · · · · · · ·MR. COGLIANESE:· Objection.

  12· · A.· · · · ·Okay.

  13· · Q.· · · · ·So that's more?

  14· · A.· · · · ·Okay.

  15· · · · · · · ·MR. COGLIANESE:· Objection.

  16· · Q.· · · · ·All right.· Aside from -- well, who do

  17· · you consider -- who did you consider at the time

  18· · to be your executive staff, was it just the deputy

  19· · chiefs or were there other people?

  20· · A.· · · · ·General -- executive staff is the six

  21· · deputy chiefs and the public standards bureau

  22· · commander.

  23· · Q.· · · · ·Okay.

  24· · A.· · · · ·That's how we describe executive staff.


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  ·1· · Q.· · · · ·Okay.· So aside from talking about the

  ·2· · status of Officer Morgan's case with your

  ·3· · executive staff, did you have discussions -- and

  ·4· · potentially with whoever the commander of internal

  ·5· · affairs was, did you have conversations with

  ·6· · anybody else about Officer Morgan's case as it was

  ·7· · going on?

  ·8· · A.· · · · ·I would assume that I had conversations

  ·9· · with the internal affairs commander.· My immediate

  10· · staff sat in on executive staff meetings, so they

  11· · might have been present when that was discussed.

  12· · Q.· · · · ·Okay.· Who was that?

  13· · A.· · · · ·My secretary, Tina Hundley.· I don't

  14· · know which sergeant I had back then.· It might

  15· · have been Sergeant Wellday.

  16· · Q.· · · · ·When you say which sergeant you had,

  17· · what do you mean?· What role did that person play?

  18· · A.· · · · ·My aide.

  19· · Q.· · · · ·Oh, you had an aide, a sergeant who was

  20· · just your aide?

  21· · A.· · · · ·Yes.· And he was in my office when I

  22· · became chief, but he left I can't remember what

  23· · year it was.

  24· · Q.· · · · ·Okay.· How about Lieutenant Irwin or


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  ·1· · Lieutenant Lokai, did you have discussions with

  ·2· · either of them as the Morgan investigation was

  ·3· · proceeding?

  ·4· · A.· · · · ·I don't recall.

  ·5· · Q.· · · · ·Okay.· Would that have been typical?

  ·6· · A.· · · · ·Not generally.

  ·7· · Q.· · · · ·Okay.

  ·8· · A.· · · · ·Not during the investigation.

  ·9· · Q.· · · · ·Because you would usually go through

  10· · the commander of ESB rather than the lieutenants?

  11· · · · · · · ·MR. COGLIANESE:· Objection.

  12· · A.· · · · ·Well, the PSB commander sat in

  13· · executive staff.

  14· · Q.· · · · ·But the lieutenant did not?

  15· · A.· · · · ·Correct.

  16· · Q.· · · · ·Okay.

  17· · A.· · · · ·And they would -- they would get

  18· · involved in the case as it was wrapping up.

  19· · Q.· · · · ·Okay.· Basically at the point when it

  20· · was time to determine whether there would be

  21· · departmental charges and then during the hearing

  22· · process?

  23· · A.· · · · ·I asked the PSB lieutenants to review

  24· · investigations for just cause and to -- and for


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  ·1· · the deputy chiefs.· And then if they believe there

  ·2· · was just cause, then they would talk to the deputy

  ·3· · chief about a recommendation that they could make

  ·4· · to me about whether it's critical -- of a critical

  ·5· · nature and whether or not it should be a written

  ·6· · reprimand or departmental charges.

  ·7· · Q.· · · · ·Okay.· But that would usually be the

  ·8· · first involvement of professional standards is

  ·9· · after the internal affairs summary is complete?

  10· · A.· · · · ·From my point of view, I don't know

  11· · what other people reach out to them for.

  12· · Q.· · · · ·Okay.

  13· · A.· · · · ·And they may.

  14· · Q.· · · · ·There's a person named Jeff Furbee?

  15· · A.· · · · ·He's the city attorney's office legal

  16· · advisor to the division police.

  17· · Q.· · · · ·Okay.· What was the role of Mr. Furbee

  18· · in termination of an investigation process?

  19· · · · · · · ·MR. COGLIANESE:· And I am going to

  20· · instruct you not to answer as to any questions you

  21· · had with Mr. Furbee.

  22· · Q.· · · · ·Okay.· And I am not asking you the --

  23· · necessarily the content of conversations, but just

  24· · whether or not you would have had conversations


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  ·1· · with him during this investigation?

  ·2· · A.· · · · ·Because this was a criminal

  ·3· · investigation, I would say that that might very

  ·4· · well have occurred.

  ·5· · Q.· · · · ·Okay.· How about once the criminal

  ·6· · investigation was over?

  ·7· · A.· · · · ·Not that I recall.

  ·8· · Q.· · · · ·Okay.· Once the internal affairs

  ·9· · investigation had concluded, what was your role at

  10· · that point?· Did you -- well, first of all, let me

  11· · ask, did you read the internal affairs summary

  12· · once it was completed at the time?

  13· · A.· · · · ·To the best of my recollection.

  14· · Q.· · · · ·Okay.· That would have been typical of

  15· · your --

  16· · A.· · · · ·Correct.

  17· · Q.· · · · ·Sorry.· You answered before I could

  18· · even think of the word I was going to use.

  19· · A.· · · · ·My method.

  20· · Q.· · · · ·Your methods.· You would particularly

  21· · in a case where termination was a possibility, you

  22· · would certainly read the internal affairs summary?

  23· · A.· · · · ·Correct.

  24· · Q.· · · · ·And the interviews, the interview


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  ·1· · transcripts?

  ·2· · A.· · · · ·Are you asking if I read them?

  ·3· · Q.· · · · ·Yeah.

  ·4· · A.· · · · ·I don't recall.

  ·5· · Q.· · · · ·You don't remember whether you read

  ·6· · Kevin Morgan's interviews in this case?

  ·7· · A.· · · · ·I don't recall.

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·I'm not saying I didn't.· I just don't

  10· · recall specifically reading them.

  11· · Q.· · · · ·Okay.· It's possible that you

  12· · recommended his termination as an officer without

  13· · reading his internal affairs interview?

  14· · A.· · · · ·I mean it's certainly possible.

  15· · Q.· · · · ·Okay.

  16· · A.· · · · ·I don't know that it's probable, but --

  17· · Q.· · · · ·Okay.· You just don't remember one way

  18· · or the other though?

  19· · A.· · · · ·Correct.

  20· · Q.· · · · ·Okay.· Do you remember whether you

  21· · listened to any recordings of interviews?

  22· · A.· · · · ·I don't recall.

  23· · Q.· · · · ·Okay.· Was it typical of your process

  24· · to listen to recordings of internal affairs


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  ·1· · reviews?

  ·2· · A.· · · · ·I would say it's not typical.

  ·3· · Q.· · · · ·Okay.· Did you have any questions once

  ·4· · you read the summary where you asked for any

  ·5· · follow-up investigation or further work by the

  ·6· · investigators?

  ·7· · A.· · · · ·Not that I recall.

  ·8· · Q.· · · · ·Okay.· Did you review a draft of the

  ·9· · internal affairs summary before it was submitted

  10· · or just the final version?

  11· · A.· · · · ·I don't recall reviewing a draft.

  12· · Q.· · · · ·Okay.· Was it typical to see a draft or

  13· · not?

  14· · A.· · · · ·No.

  15· · Q.· · · · ·Okay.· Once you got the internal

  16· · affairs investigative summary, who did you discuss

  17· · it with?

  18· · A.· · · · ·I don't recall specifically.· I can

  19· · only say what I would typically do, and that's to

  20· · talk to the discipline grievance lieutenants, the

  21· · deputy chief that made the ruling.

  22· · Q.· · · · ·In this case that was Deputy Chief

  23· · Kuebler, does that sound right?

  24· · A.· · · · ·You know more than I do on that.


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  ·1· · Q.· · · · ·Okay.· So you don't remember

  ·2· · discussions with Deputy Chief Kuebler about this

  ·3· · particular --

  ·4· · A.· · · · ·Nothing specific.· Not at this time,

  ·5· · no.

  ·6· · Q.· · · · ·Okay.· Who else?· Besides the -- when

  ·7· · you say the disciplinary and grievance

  ·8· · lieutenants, you're talking about the lieutenants

  ·9· · in professional standards --

  10· · A.· · · · ·I don't remember --

  11· · Q.· · · · ·You don't remember?

  12· · A.· · · · ·-- if they were the ones that dealt

  13· · with this case or not.

  14· · Q.· · · · ·Do you remember any discussions with

  15· · Irwin or Jeff Lokai about this case?

  16· · A.· · · · ·I don't remember any specific

  17· · conversations, no.

  18· · Q.· · · · ·Okay.· Besides the disciplinary

  19· · grievance lieutenants and the deputy chief, who

  20· · would you typically discuss an internal affairs

  21· · investigation with once it was complete?

  22· · A.· · · · ·Once it was complete, typically not

  23· · very many other people.· Once I had made the

  24· · decision, had a departmental charges hearing then


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  ·1· · as I said before, often whoever came to the

  ·2· · hearing I would talk to after the hearing itself.

  ·3· · Q.· · · · ·Okay.· Prior to the hearing, did you

  ·4· · have any discussions with anyone from the FOP

  ·5· · about this case?

  ·6· · A.· · · · ·I don't recall.

  ·7· · Q.· · · · ·Would you typically?

  ·8· · A.· · · · ·I don't know that "typical" is the

  ·9· · right way to describe it.

  10· · Q.· · · · ·Okay.

  11· · A.· · · · ·But certainly there were some

  12· · incidental conversations that we had at times

  13· · bumping into each other in the hallway or there

  14· · for a grievance hearing and they say, hey, can I

  15· · talk to you afterwards.· But I don't recall any

  16· · specific conversation about this particular case,

  17· · but it could have happened.

  18· · Q.· · · · ·Okay.· Who would you typically talk to

  19· · from the FOP along those lines?

  20· · A.· · · · ·Generally would have been either the

  21· · grievance chairman or one of the assistant

  22· · grievance representatives.

  23· · Q.· · · · ·Okay.· Who would those have been at the

  24· · time?


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  ·1· · A.· · · · ·Or the president of the union,

  ·2· · depending on, you know, who's there.

  ·3· · Q.· · · · ·Who was the president at that point?

  ·4· · A.· · · · ·In 2000 what?

  ·5· · Q.· · · · ·2015 roughly, early 2015?

  ·6· · A.· · · · ·I'm not sure if Jason was in there then

  ·7· · or not.

  ·8· · Q.· · · · ·Jason Pappus?

  ·9· · A.· · · · ·Yeah.· Jim Gilbert was the union

  10· · president when I became chief in 2012.· I don't

  11· · remember when he left.

  12· · Q.· · · · ·Okay.· But you don't remember any

  13· · particular conversations with the union about this

  14· · case?

  15· · A.· · · · ·Nothing specific, no.

  16· · Q.· · · · ·Okay.· How about with the safety

  17· · director's office, did you give them a heads up

  18· · that a case might be coming to them or anything

  19· · like that?

  20· · A.· · · · ·I wouldn't generally do that.· I did

  21· · occasionally, but that happened more so after

  22· · Mayor Ginther came into office, which was 2016,

  23· · because he wanted to be advised, and I had monthly

  24· · meetings with him.


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  ·1· · Q.· · · · ·Okay.

  ·2· · A.· · · · ·I had some occasional meetings with

  ·3· · Mayor Coleman, but not maybe as regularly.

  ·4· · Q.· · · · ·So you had monthly meetings with the

  ·5· · Mayor, not necessarily the safety director would

  ·6· · be in the meetings or what?

  ·7· · A.· · · · ·Most of the time, yes.

  ·8· · Q.· · · · ·Okay.

  ·9· · A.· · · · ·And they were called monthly meetings,

  10· · but they didn't happen every month.

  11· · Q.· · · · ·Okay.· There's a notation -- well, I'll

  12· · just show it to you.

  13· · · · · · · ·MR. VARDARO:· Do you have the exhibits,

  14· · previous exhibits?

  15· · · · · · · ·THE REPORTER:· Give me one second.

  16· · · · · · · ·(A short recess is taken.)

  17· · BY MR. VARDARO:

  18· · Q.· · · · ·I'm handing you what's been previously

  19· · marked as Plaintiff's Exhibit 1, which is the

  20· · internal affairs summary for Kevin Morgan,

  21· · including a cover sheet at the top.· This is what

  22· · you reviewed last week?

  23· · A.· · · · ·Yep.

  24· · Q.· · · · ·Okay.


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  ·1· · A.· · · · ·Well, I don't -- I don't recall that I

  ·2· · saw --

  ·3· · Q.· · · · ·The cover sheet?

  ·4· · A.· · · · ·Yeah.

  ·5· · Q.· · · · ·It would have started with just the

  ·6· · report?

  ·7· · A.· · · · ·I think I -- I don't remember seeing

  ·8· · this, but --

  ·9· · Q.· · · · ·Okay.· You've seen it at some point,

  10· · though?

  11· · A.· · · · ·Yeah.

  12· · Q.· · · · ·Okay.· If you look at the first page,

  13· · the cover sheet --

  14· · A.· · · · ·Uh-huh.

  15· · Q.· · · · ·-- there's a notation right above the

  16· · exhibit sticker --

  17· · A.· · · · ·Yep.

  18· · Q.· · · · ·-- about "Allegation II:· Officer

  19· · Morgan accepted payment for special duty shifts he

  20· · did not work."

  21· · A.· · · · ·Correct.

  22· · Q.· · · · ·There's a list of charges that are

  23· · typed in from internal affairs.

  24· · A.· · · · ·Yes.


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  ·1· · Q.· · · · ·And then there's the deputy chief's

  ·2· · determination which is sustained.· And the

  ·3· · corrective action says, "Departmental charge."

  ·4· · And then there's a notation under there that's

  ·5· · handwritten that says, "plus ROC 1.04 per chief."

  ·6· · And is that your initials?

  ·7· · A.· · · · ·Yes.

  ·8· · Q.· · · · ·Did you write that?

  ·9· · A.· · · · ·It looks like my handwriting.

  10· · Q.· · · · ·Okay.· What's ROC 1.04?

  11· · A.· · · · ·Rule of conduct 104.

  12· · Q.· · · · ·Yeah.· What is that rule of conduct?

  13· · A.· · · · ·Cause for dismissal, I believe.

  14· · Q.· · · · ·Okay.· Do you recall why you wrote in

  15· · cause for dismissal?

  16· · A.· · · · ·Because I wanted to add that charge.

  17· · Q.· · · · ·Okay.· Why?

  18· · A.· · · · ·Because I thought it was appropriate.

  19· · Q.· · · · ·Why?

  20· · A.· · · · ·Because I thought that the behavior was

  21· · something that couldn't be tolerated.· That meant

  22· · that it was strong enough behavior done with

  23· · enough culpability to warrant termination.

  24· · Q.· · · · ·Okay.· And the second page, the back of


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  ·1· · that same sheet you wrote the same thing in for

  ·2· · Allegation III?

  ·3· · A.· · · · ·Correct.

  ·4· · Q.· · · · ·Which was, "accepted full payment for

  ·5· · special duty jobs when he failed to work the full

  ·6· · shift, due to arriving late...or leaving...early."

  ·7· · So same answer, that's why you wrote that in?

  ·8· · A.· · · · ·Yes.

  ·9· · Q.· · · · ·Okay.· In order to reach a decision to

  10· · terminate Kevin Morgan, he didn't need to be

  11· · charged with Rule of Conduct 1.04, right?

  12· · A.· · · · ·Correct.

  13· · Q.· · · · ·And officers have been terminated

  14· · certainly in the past without being charged with

  15· · Rule of Conduct 1.04?

  16· · A.· · · · ·Is that a question?

  17· · Q.· · · · ·Yeah.· I'm asking you.

  18· · A.· · · · ·Yes.

  19· · Q.· · · · ·Okay.· Do you recall other cases where

  20· · you handwrote in 1.04 on a charging sheet like

  21· · this?

  22· · A.· · · · ·Not specifically, no.

  23· · Q.· · · · ·Okay.· Do you think you did it in any

  24· · other cases while you were chief?


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  ·1· · A.· · · · ·I believe that I did it in the Randy

  ·2· · Mayhew case.

  ·3· · Q.· · · · ·What's the Randy Mayhew case?

  ·4· · A.· · · · ·He was charged with violating our rules

  ·5· · with regard to -- I believe that he solicited

  ·6· · prostitutes for sex for money while he was on

  ·7· · duty, and I believe that I added that charge.                    I

  ·8· · don't know if I wrote it on this particular sheet.

  ·9· · But this particular rule of conduct is not

  10· · something that is, like, listed as an allegation

  11· · by internal affairs typically.· They investigate

  12· · the allegation and then they try to determine what

  13· · rule violations occurred, but they don't generally

  14· · look at is this cause for dismissal.· That's

  15· · something that comes from my perspective.

  16· · Q.· · · · ·Okay.· Other than the Randy Mayhew

  17· · case, can you think of any other ones where you

  18· · added it?

  19· · A.· · · · ·I believe that there are probably

  20· · others, I just don't recall what they are.

  21· · Q.· · · · ·Okay.

  22· · A.· · · · ·I just was testifying last week about

  23· · Randy Mayhew, that's why I remember it.

  24· · Q.· · · · ·Okay.· I'll come back to that.


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   ·1· · · · · · · ·You recall that in this case there was

   ·2· · a criminal investigation prior to the

   ·3· · administrative investigation?

   ·4· · A.· · · · ·In the Kevin Morgan case, yes.

   ·5· · Q.· · · · ·Yes.

   ·6· · · · · · · ·And the determination of the criminal

   ·7· · investigation was that criminal charges would not

   ·8· · be filed?

   ·9· · A.· · · · ·Correct.

   10· · Q.· · · · ·Okay.· And in particular the prosecutor

   11· · was Jeff Blake.· I don't know if you -- if that's

   12· · listed.

   13· · A.· · · · ·I remember seeing that name in the

   14· · investigation summary.

   15· · Q.· · · · ·Yes.· You knew that the prosecutor told

   16· · internal affairs there were several reasons why

   17· · prosecution would not be pursued in the case?

   18· · A.· · · · ·I believe there were more than one,

   19· · yeah.

   20· · Q.· · · · ·Okay.· And the reasons included the

   21· · property manager, the company that was involved in

   22· · the apartment complex didn't want to pursue

   23· · criminal charges?

   24· · A.· · · · ·Because she didn't want to have to go


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   ·1· · to court and testify, yeah.

   ·2· · Q.· · · · ·The property manager said in the

   ·3· · criminal investigation that she actually wanted

   ·4· · the officers who were working security at the

   ·5· · apartment complex to vary their hours so that the

   ·6· · people who were around the apartment complex would

   ·7· · sort of be on their toes?

   ·8· · A.· · · · ·I believe that was one of the listed

   ·9· · reasons.

   10· · Q.· · · · ·Okay.· And that because of that and

   11· · because of Officer Morgan's likely explanation

   12· · that he was working alternative hours to the ones

   13· · that he was assigned, that it would be difficult

   14· · to prove the case?

   15· · · · · · · ·MR. COGLIANESE:· Objection.

   16· · A.· · · · ·I don't know the specific words used,

   17· · but --

   18· · Q.· · · · ·That was the gist of it, though?

   19· · A.· · · · ·Yeah.· I'll take your gist.

   20· · Q.· · · · ·Okay.· In the internal affairs summary,

   21· · do you remember that Sergeant Meister who wrote

   22· · the summary indicated that the only reasons that

   23· · Officer Morgan was not criminally prosecuted for

   24· · the charge of theft in office was because the


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   ·1· · property manager didn't want to prosecute and

   ·2· · because he himself had not given an interview?

   ·3· · A.· · · · ·I think that what Meister listed was

   ·4· · different than what Jeff Blake was quoted as.

   ·5· · Q.· · · · ·Okay.

   ·6· · A.· · · · ·But it was in the investigative

   ·7· · summary.

   ·8· · Q.· · · · ·Okay.· But the investigative summary --

   ·9· · I mean, the fact that what he listed was different

   10· · than what the prosecutor himself had listed in

   11· · terms of why he wasn't prosecuted, was that a

   12· · concern for you?

   13· · A.· · · · ·Well, the information from Jeff Blake

   14· · was in there, so it wasn't like an omission there.

   15· · I -- it wasn't a concern of mine with regard to my

   16· · decision on the outcome of the disciplinary case.

   17· · If it was a concern of mine with regard to how

   18· · well he did an investigative summary and justified

   19· · his own thing, that's usually not something that I

   20· · dwelled on because that -- or the sergeant has a

   21· · lieutenant, a commander to address deficiencies if

   22· · there are any in the way that they summarize a

   23· · case.

   24· · Q.· · · · ·Did it suggest to you any problems with


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   ·1· · the objectivity of the investigation?

   ·2· · A.· · · · ·It did not give me any concerns that

   ·3· · affected the evidence.· I didn't -- you know, it

   ·4· · didn't strike me, no, as, oh, I can't trust what

   ·5· · Sergeant Meister has said because he left out a

   ·6· · couple of things here in his own.

   ·7· · Q.· · · · ·Uh-huh.

   ·8· · A.· · · · ·Because I have said for many, many,

   ·9· · many years that, you know, you don't have to

   10· · repeat information to justify your own stance.· If

   11· · it's already spelled out, then it's all there.

   12· · Q.· · · · ·Uh-huh.

   13· · A.· · · · ·If it had been an omission, then that

   14· · would be, you know, more concerning.· But I don't

   15· · always go down the path of, well, they left that

   16· · out, therefore they're not objective.· Because if

   17· · it's already stated someplace else, I don't always

   18· · expect them to repeat that.

   19· · Q.· · · · ·Okay.· Did you follow up with anybody

   20· · when you realized in reviewing this that he had

   21· · overstated the criminal case against Officer

   22· · Morgan that he needed to be -- you know, that

   23· · Sergeant Meister needed to understand that this

   24· · was not something that should be done?


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   ·1· · A.· · · · ·I don't recall that.

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.

   ·3· · Q.· · · · ·Okay.· Because you don't recall it, do

   ·4· · you think it didn't happen or do you just -- you

   ·5· · don't remember one way or another whether you gave

   ·6· · any feedback on the investigative summary?

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.

   ·8· · A.· · · · ·I don't recall.· I don't recall giving

   ·9· · any feedback.

   10· · Q.· · · · ·Okay.· But does that mean that you

   11· · think that you didn't give any feedback?

   12· · A.· · · · ·I don't -- I can't speculate as to

   13· · that.

   14· · Q.· · · · ·Okay.· You just don't remember?

   15· · A.· · · · ·Correct.

   16· · Q.· · · · ·Okay.· Do you have any recollection of

   17· · why Officer Morgan remained relieved of duty after

   18· · the prosecution was refused?

   19· · A.· · · · ·Because I still viewed it as a

   20· · potential termination case.

   21· · Q.· · · · ·Okay.· Do you recall about this

   22· · investigation that Officer Morgan's basic

   23· · explanation was that he had worked his -- the

   24· · hours that he was -- the number of hours he was


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   ·1· · supposed to work on the job but he didn't do it on

   ·2· · the days that he was expected to do them?

   ·3· · A.· · · · ·I recall that that was part of his

   ·4· · explanation, yes.

   ·5· · Q.· · · · ·Okay.· If you had believed that that's

   ·6· · what he was actually doing, would you still have

   ·7· · viewed it as a termination case?

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·9· · A.· · · · ·That wasn't the facts.

   10· · Q.· · · · ·Okay.· I mean you didn't believe that,

   11· · that was your -- your termination decision was

   12· · based on the premise that Officer Morgan was not

   13· · actually working the number of hours he was

   14· · supposed to work?

   15· · A.· · · · ·Correct.

   16· · Q.· · · · ·Not just that he was not working the

   17· · days he was supposed to work?

   18· · A.· · · · ·Correct.

   19· · Q.· · · · ·If it was just a matter of he was

   20· · switching days without proper authorization, that

   21· · would not have risen to the level of termination?

   22· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   23· · A.· · · · ·That's a possibility.

   24· · Q.· · · · ·Okay.· There's some possibility that he


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   ·1· · would have been terminated just for working on

   ·2· · Tuesdays instead of Wednesdays or Thursdays

   ·3· · instead of Tuesdays or something like that?

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·5· · A.· · · · ·It depends on the responses that he

   ·6· · would have given and various other factors that

   ·7· · might have played out differently had he had some

   ·8· · proof of that or other evidence.· He had some

   ·9· · evidence, but then he had no evidence of some of

   10· · the other stuff that seemed like there's, you

   11· · know, a reason why there's no evidence because he

   12· · didn't have the evidence.· So it's still

   13· · theoretical.

   14· · Q.· · · · ·I guess I don't really understand what

   15· · you're telling me.· So you're saying that there's

   16· · some scenario, some hypothetical scenario where

   17· · Officer Morgan could have been terminated even if

   18· · he had worked all the hours he was supposed to

   19· · work just because he worked them on different

   20· · days?

   21· · A.· · · · ·Are you saying if there's evidence of

   22· · that?

   23· · Q.· · · · ·Yeah.· Well, let's say that he

   24· · convinced you that he actually was -- you know, he


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   ·1· · was supposed to work Wednesdays, but he worked

   ·2· · Sundays instead, same number of hours.· Didn't get

   ·3· · any money that he didn't earn, just shifted days

   ·4· · without authorization.· Is there a scenario where

   ·5· · that still would have resulted in his termination?

   ·6· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·7· · A.· · · · ·Based on just -- just that, and that he

   ·8· · wasn't actually getting paid for not working and I

   ·9· · had proof of that and was convinced that that was

   10· · the case, then that -- yeah, that's a possibility

   11· · that he might have been, you know, given

   12· · corrective action that wouldn't have resulted in

   13· · termination.

   14· · Q.· · · · ·The bottom line conclusion of Sergeant

   15· · Meister's internal affairs summary was that he

   16· · couldn't confirm or disprove that Officer Morgan

   17· · was working other days than the ones that he was

   18· · assigned; isn't that right?

   19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   20· · A.· · · · ·I don't recall that I read all of his

   21· · -- his explanation.· But I don't believe that

   22· · there was any evidence to confirm or to deny that

   23· · he hadn't switched his days because there wasn't

   24· · any evidence.


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   ·1· · Q.· · · · ·Okay.· I'm just asking in terms of

   ·2· · Sergeant Meister's report, his basic conclusion

   ·3· · was Morgan says that he was working other days

   ·4· · than the ones that he was assigned and he worked

   ·5· · all of his hours.· I can't -- I can't prove that,

   ·6· · I can't disprove that.

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.

   ·8· · Q.· · · · ·That's basically the gist of his

   ·9· · report.

   10· · · · · · · ·MR. COGLIANESE:· Objection.

   11· · A.· · · · ·I -- I don't recall what he --

   12· · Q.· · · · ·Okay.

   13· · A.· · · · ·How he described it.

   14· · Q.· · · · ·Can you take a look?

   15· · A.· · · · ·I can read it.

   16· · Q.· · · · ·In Exhibit 1 there's the investigative

   17· · summary is paginated at the top of every page.

   18· · Can you take a look at page 62 of his report.· And

   19· · on the -- I think it's about -- well, I'll find

   20· · it.

   21· · A.· · · · ·The last paragraph.

   22· · Q.· · · · ·The last paragraph says, "Most of

   23· · Officer Morgan's claims regarding dates and times

   24· · he allegedly worked could not be confirmed or


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   ·1· · proven false."· Do you see that?

   ·2· · A.· · · · ·Yes, I do.

   ·3· · Q.· · · · ·That's consistent -- I mean, that's

   ·4· · what's in Sergeant Meister's report is most of

   ·5· · these situations he just didn't have proof one way

   ·6· · or the other?

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.

   ·8· · A.· · · · ·The sentence says, "Most of Officer

   ·9· · Morgan's claims regarding dates and times he

   10· · allegedly worked could not be confirmed or proven

   11· · false."

   12· · Q.· · · · ·Okay.· That's consistent with your

   13· · understanding at the time?

   14· · A.· · · · ·Yeah.

   15· · Q.· · · · ·Okay.· I mean, you didn't read that

   16· · last week and you were like, oh, I didn't remember

   17· · that?

   18· · A.· · · · ·Correct.

   19· · Q.· · · · ·And the basic problem in the

   20· · investigation was there were documents that

   21· · basically confirmed that he wasn't there on

   22· · Wednesdays from 9:00 p.m. until 1:00 a.m., which

   23· · was the expectation?

   24· · A.· · · · ·Documents?


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   ·1· · Q.· · · · ·There were -- you know, like, there was

   ·2· · certain times when he was working at a Giant Eagle

   ·3· · supermarket during some portion of that particular

   ·4· · shift?

   ·5· · A.· · · · ·Yes.

   ·6· · Q.· · · · ·So there was -- you know, you could

   ·7· · essentially prove he wasn't there on Wednesdays

   ·8· · from 9:00 until 1:00 a.m.?

   ·9· · A.· · · · ·The proof was strong --

   10· · Q.· · · · ·Yeah.

   11· · A.· · · · ·-- that there were definitely

   12· · Wednesday --

   13· · Q.· · · · ·And he -- and Officer Morgan was

   14· · admitting --

   15· · · · · · · ·MR. COGLIANESE:· Go ahead.

   16· · Q.· · · · ·I'm sorry.· Go ahead.

   17· · · · · · · ·MR. COGLIANESE:· If you would like to

   18· · finish your answer, go ahead.· Don't let Jeff cut

   19· · you off.

   20· · A.· · · · ·There was definitely proof that he was

   21· · not working from 9:00 p.m. until 1:00 a.m. on

   22· · Wednesday nights on a number of occasions.

   23· · Q.· · · · ·Okay.· And it wasn't even really

   24· · disputed.· I mean Officer Morgan was not saying,


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   ·1· · yes, I was there every Wednesday from 9:00 p.m.

   ·2· · until 1:00 a.m.?

   ·3· · A.· · · · ·His explanation was that, yes, he had

   ·4· · changed his shifts.

   ·5· · Q.· · · · ·Right.· But you didn't have

   ·6· · documentation confirming every time he did that?

   ·7· · A.· · · · ·Correct.

   ·8· · Q.· · · · ·Okay.

   ·9· · A.· · · · ·He did not submit any.

   10· · Q.· · · · ·Right.· And there was -- Officer

   11· · Roberts, Tony Roberts was the coordinator, the

   12· · special duty coordinator for this assignment, the

   13· · Stratford Lakes assignment?

   14· · A.· · · · ·That is correct.

   15· · Q.· · · · ·And he had some calendars showing when

   16· · the officers were supposed to be there and

   17· · sometimes when they had switched their shift, but

   18· · even he did not keep those calendars during the

   19· · entire period of this investigation?

   20· · A.· · · · ·That's what I recall.

   21· · Q.· · · · ·And even the ones that he did -- and

   22· · that was because in fact the property manager had

   23· · actually asked him to stop submitting calendars at

   24· · a certain point because it was just paperwork she


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   ·1· · didn't need?

   ·2· · A.· · · · ·I recall reading that.

   ·3· · Q.· · · · ·And then even for the period of time

   ·4· · when Officer Roberts did keep and submit the

   ·5· · calendar, some of them were not accurate to his

   ·6· · own records because Officer Morgan was informing

   ·7· · him I'm switching to a different day because of

   ·8· · some conflict and Officer Roberts acknowledged

   ·9· · that he got those communications but he didn't

   10· · actually change it on the calendar?

   11· · A.· · · · ·Yes.

   12· · Q.· · · · ·Do you remember that?

   13· · A.· · · · ·Because they are postdated basically

   14· · and he didn't go back and correct dates that had

   15· · previously occurred.

   16· · Q.· · · · ·Okay.· But he acknowledged, Officer

   17· · Roberts acknowledged that he had some calendars

   18· · that weren't even accurate to the times that

   19· · Officer Morgan told him?

   20· · A.· · · · ·I believe so.

   21· · Q.· · · · ·Okay.· Do you remember whether there

   22· · was any effort to review for comparison sake

   23· · Officer Roberts' time and marking in service logs

   24· · for this assignment?


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   ·1· · A.· · · · ·I do not.

   ·2· · Q.· · · · ·Or anybody else's?

   ·3· · A.· · · · ·I don't recall.

   ·4· · Q.· · · · ·Okay.· Did you ask for them to do that?

   ·5· · A.· · · · ·Not that I recall.

   ·6· · Q.· · · · ·Okay.· I mean it was clear from your

   ·7· · review of this investigation that the timekeeping

   ·8· · for this job was pretty haphazard?

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   10· · A.· · · · ·The timekeeping --

   11· · Q.· · · · ·By this --

   12· · A.· · · · ·-- by whom?

   13· · Q.· · · · ·By Officer Roberts, by Officer Morgan,

   14· · by the property manager?

   15· · A.· · · · ·I don't know whose responsibility

   16· · you're referring to as far as timekeeping.                   I

   17· · mean, obviously there was some notation going in

   18· · as an invoice that said pay him for Wednesday from

   19· · 9:00 to 1:00.

   20· · Q.· · · · ·And even sometimes the invoices were

   21· · submitted by a different officer than the person

   22· · who actually submitted -- who actually --

   23· · A.· · · · ·I don't recall.

   24· · Q.· · · · ·-- did the work?


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   ·1· · A.· · · · ·I don't recall that fact.

   ·2· · Q.· · · · ·Okay.· Would you dispute it?

   ·3· · A.· · · · ·No.

   ·4· · Q.· · · · ·Okay.· Do you disagree with the

   ·5· · assertion that basically the timekeeping in

   ·6· · general for this job was pretty haphazard?

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·8· · A.· · · · ·Maybe some aspects of it.· But I mean I

   ·9· · -- I mean, that's a generalization for every --

   10· · every particular person.· And he was getting paid,

   11· · so that part of it wasn't haphazard.

   12· · Q.· · · · ·Okay.· Do you remember that there was

   13· · actually an issue in terms of getting paid for

   14· · this job, that sometimes it would be delayed

   15· · significantly?· The apartment complex was not

   16· · doing a particularly great job of paying the --

   17· · paying timely?

   18· · A.· · · · ·I don't recall that fact.

   19· · Q.· · · · ·Okay.· But you wouldn't dispute it?

   20· · A.· · · · ·No.

   21· · Q.· · · · ·Okay.· As a general matter when an

   22· · allegation against an officer can't be proven or

   23· · disproven based on documents and the officer

   24· · denies the misconduct, isn't it the division's


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   ·1· · practice to mark those -- to conclude those

   ·2· · allegations as not sustained?

   ·3· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·4· · A.· · · · ·The definition for not sustained is

   ·5· · when it can't be proven or disproven.

   ·6· · Q.· · · · ·So that's a yes?

   ·7· · A.· · · · ·Well, you asked about the division.

   ·8· · And many, many people have different opinions

   ·9· · about the same evidence.· So the division has a

   10· · guidance on what would amount to a not sustained

   11· · and that is the guidance.

   12· · Q.· · · · ·Okay.· So when an allegation can't be

   13· · proven or disproven based on documents and the

   14· · officer denies a charge, that would fit within the

   15· · guidance of not sustained?

   16· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   17· · A.· · · · ·Yes.· With that being that it's a

   18· · person's opinion not the division.· You know, the

   19· · division has guidance to give to people who read

   20· · an investigation and decide whether they believe

   21· · that that's the case.

   22· · Q.· · · · ·Okay.· Besides the guidance, it's the

   23· · practice of the -- when you were the chief it was

   24· · the practice of the chain of command that when


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   ·1· · their opinion was that the documents didn't prove

   ·2· · or disprove the allegation and the officer was

   ·3· · denying the charge, they would conclude that as

   ·4· · not sustained?

   ·5· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·6· · A.· · · · ·If their opinion was that it couldn't

   ·7· · be proven or disproven, then that was what they

   ·8· · should write down.

   ·9· · Q.· · · · ·Okay.· That included you?

   10· · A.· · · · ·Yeah.

   11· · Q.· · · · ·Okay.· Given that there were no

   12· · documents proving or disproving Officer Morgan's

   13· · claim that he was switching days, another way to

   14· · confirm whether or not he was telling the truth

   15· · about that would be to talk to eyewitnesss, right?

   16· · A.· · · · ·Yes.

   17· · Q.· · · · ·Okay.· Do you remember that in this

   18· · investigation Officer Morgan actually presented

   19· · several potential witnesses, some of them by name,

   20· · some of them by just sort of identifying

   21· · information who might be able to prove that he was

   22· · working this job on days other than the ones he

   23· · was assigned?

   24· · A.· · · · ·I only recall one.· But I --


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   ·1· · Q.· · · · ·Okay.

   ·2· · A.· · · · ·I know that he gave reference to, hey,

   ·3· · I talked to people, I, you know -- I checked them

   ·4· · out.· But I don't remember anything other than one

   ·5· · specific name, and that was a person that he had a

   ·6· · relationship with.

   ·7· · Q.· · · · ·Okay.· But that's the security officer

   ·8· · from the Kroger?

   ·9· · A.· · · · ·I believe that's where he worked.

   10· · Q.· · · · ·Do you remember what the relationship

   11· · was?

   12· · A.· · · · ·I think he served as a mentor or friend

   13· · or something along those lines to this particular

   14· · security guard.

   15· · Q.· · · · ·What was the significance to you of the

   16· · fact that he had a relationship with him?

   17· · A.· · · · ·That they might have talked about, you

   18· · know, do you ever remember seeing me.· And

   19· · sometimes when you have these kinds of

   20· · conversations, it leads people to believe that

   21· · that might be what they actually experienced.· The

   22· · research that I've done on memory and recollection

   23· · says that, you know, people can be easily

   24· · influenced by having a conversation about


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   ·1· · particulars and prompting people to remember

   ·2· · something and might not actually have occurred,

   ·3· · but it's a consideration.

   ·4· · Q.· · · · ·So it's something that would lessen the

   ·5· · weight of that witness's recollection?

   ·6· · A.· · · · ·It has the potential to lessen that

   ·7· · weight.

   ·8· · Q.· · · · ·Okay.· Do you recall that in that --

   ·9· · first of all, do you remember what the -- what

   10· · that was all about, the security guard's --

   11· · A.· · · · ·I just recall that the security guard

   12· · saw him working in October of 2013 on a particular

   13· · date that I don't -- I don't believe was a

   14· · scheduled work date for Officer Morgan.

   15· · Q.· · · · ·Right.· And that would corroborate

   16· · Officer Morgan's recollection or claim that he was

   17· · working other days than the ones that he was

   18· · assigned?

   19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   20· · A.· · · · ·One day.

   21· · Q.· · · · ·Okay.· Do you remember that in Officer

   22· · Morgan's interview he indicated that the security

   23· · officer had records confirming the incident that

   24· · he was talking about?


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·2· · A.· · · · ·Not specifically, but --

   ·3· · Q.· · · · ·Okay.

   ·4· · A.· · · · ·-- I mean, it could very well be in

   ·5· · there.

   ·6· · Q.· · · · ·Okay.· Do you remember that he

   ·7· · described the incident in terms of basically that

   ·8· · the Kroger officer had called him for help with a

   ·9· · potential theft at the Kroger and that he was able

   10· · to help because he was at the Stratford Lakes

   11· · complex?

   12· · A.· · · · ·That sounds familiar.

   13· · Q.· · · · ·Okay.· And do you remember reading in

   14· · the summary that Sergeant Meister had actually

   15· · followed up with the security officer and the

   16· · security officer had confirmed what Officer Morgan

   17· · was --

   18· · A.· · · · ·I believe so.

   19· · Q.· · · · ·-- reporting?· And he confirmed the

   20· · particular day?

   21· · A.· · · · ·Could be.

   22· · Q.· · · · ·Okay.· Nothing in the internal affairs

   23· · summary as I've reviewed it indicates any effort

   24· · to get the records that Officer Morgan described.


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   ·1· · Does that -- do you remember that?

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·3· · A.· · · · ·No, not particularly.

   ·4· · Q.· · · · ·Okay.· Would you have expected internal

   ·5· · affairs to try to find the records if there were

   ·6· · any?

   ·7· · A.· · · · ·If it was something that -- yeah, if

   ·8· · the sergeant felt like it got confirmed and there

   ·9· · wasn't any reason not to, then he could have just

   10· · put it in there and says sounds -- sounds good,

   11· · you know.

   12· · Q.· · · · ·Okay.

   13· · A.· · · · ·If he had enough information to say

   14· · that, yeah, that particular day, you know, I

   15· · agree.· You know, there's one of those things

   16· · where we've already talked about the pendency of

   17· · this case taking a long time and does that delay

   18· · it another week, another month, you know, two

   19· · months?· So choices have to be made.· So I can't

   20· · give you a blanket answer that, yeah, you know,

   21· · you should get those records, but if it's going to

   22· · take another six months, then no, you shouldn't

   23· · get those records.

   24· · Q.· · · · ·Okay.· I'm handing you what's


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   ·1· · previously been marked as Plaintiff's 15, which

   ·2· · I'll represent to you is the second part of Kevin

   ·3· · Morgan's investigative interviews with internal

   ·4· · affairs.· He was interviewed on two different

   ·5· · dates.· This contains interview material from the

   ·6· · second date.

   ·7· · A.· · · · ·Okay.

   ·8· · Q.· · · · ·And I'm going to direct you -- there's

   ·9· · actually -- there's numbers at the bottom of each

   10· · page and there's numbers at the top of each page.

   11· · A.· · · · ·Okay.

   12· · Q.· · · · ·And the pagination at the top is a

   13· · little bit hard to follow only because there were

   14· · two parts of his investigation that -- of his

   15· · interview that day.· They interviewed him for such

   16· · a long period of time that they ran out of tape

   17· · and then they had to start another interview.

   18· · A.· · · · ·Okay.

   19· · Q.· · · · ·So the first 100 pages of that are

   20· · paginated and then there's a second set of pages.

   21· · So if you could turn to page 100 of the first

   22· · part.

   23· · A.· · · · ·At the top?

   24· · Q.· · · · ·And then find the start of the second


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   ·1· · part, basically.· At the top, yes.

   ·2· · A.· · · · ·Okay.· Is this it?

   ·3· · Q.· · · · ·So then you're -- if you can find the

   ·4· · first page of the next part and then flip from

   ·5· · there to page 5 at the top, which I believe is 153

   ·6· · at the bottom.

   ·7· · A.· · · · ·Yes.

   ·8· · Q.· · · · ·Okay.· I'll flip with you.· Can you

   ·9· · take a look at -- the very bottom of the page

   10· · Officer Morgan says, "I know I worked on the

   11· · 13th."· Do you see that part?

   12· · A.· · · · ·Yes.

   13· · Q.· · · · ·Okay.· Can you read from there and then

   14· · through the next couple pages to the bottom of

   15· · 155, which is page 7 at the top.· And just tell me

   16· · when you are ready to answer questions about that.

   17· · A.· · · · ·How far did you want me to read?

   18· · Q.· · · · ·I think you're past it.

   19· · A.· · · · ·Okay.

   20· · Q.· · · · ·This confirms that Officer Morgan

   21· · stated to the investigating officers that he

   22· · believed Kyle DeGoey, the security officer, had

   23· · records if his company that showed that this

   24· · incident occurred as described?


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·2· · Q.· · · · ·The bottom of 154.· Says he's got

   ·3· · records from the security company or the security

   ·4· · company has records.

   ·5· · A.· · · · ·Officer Morgan said that the company

   ·6· · would have documentation for the security guard's

   ·7· · records I guess.

   ·8· · Q.· · · · ·Okay.

   ·9· · A.· · · · ·He didn't say that he -- that the

   10· · security company would have documentation of his

   11· · behavior, I don't --

   12· · Q.· · · · ·Okay.

   13· · A.· · · · ·I don't believe.· But --

   14· · Q.· · · · ·At least highlighted that there might

   15· · be some documentation that they could look at?

   16· · A.· · · · ·Correct.· Correct.

   17· · Q.· · · · ·Okay.· And you knew that Sergeant

   18· · Meister followed up with Corporal DeGoey?

   19· · A.· · · · ·That was in the investigative summary.

   20· · Q.· · · · ·Yeah.· I mean, he conducted an

   21· · interview with DeGoey and had an audio file for

   22· · that interview.· Do you recall whether you

   23· · listened to the audio?

   24· · A.· · · · ·I do not recall.


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   ·1· · Q.· · · · ·Okay.· It was clear from the

   ·2· · investigative summary -- well, first of all,

   ·3· · there's nothing in the investigative summary, I

   ·4· · think we covered, that has any documentation from

   ·5· · the security company or from DeGoey?

   ·6· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·7· · A.· · · · ·Is that a question?

   ·8· · Q.· · · · ·Yeah.· I'm asking you.· Did you mean --

   ·9· · well, let me put it this way:· When you reviewed

   10· · the investigative summary last week and probably

   11· · at the time, did you -- what was your impression

   12· · of the interview of DeGoey?

   13· · A.· · · · ·I believe that there was an example

   14· · that Officer Morgan had probably worked on a

   15· · different date than the date that he was

   16· · scheduled.

   17· · Q.· · · · ·Okay.· And that date occurred prior to

   18· · any suspicion being raised about him not working

   19· · his assigned hours?

   20· · · · · · · ·MR. COGLIANESE:· Objection.

   21· · Q.· · · · ·And it occurred a couple weeks before

   22· · any report --

   23· · A.· · · · ·I can't say when anybody else had

   24· · suspicions but before it was brought to our


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   ·1· · attention.

   ·2· · Q.· · · · ·Okay.· And to your knowledge before it

   ·3· · was brought to Officer Morgan's attention that

   ·4· · anybody suspected this?

   ·5· · A.· · · · ·I don't know.

   ·6· · Q.· · · · ·Okay.· I mean, at the very beginning of

   ·7· · the investigative summary, if you look at

   ·8· · Exhibit 1, page -- well, I don't -- we can go back

   ·9· · and confirm the dates.· But taking my word for a

   10· · moment that October 13th was prior to any report

   11· · being made to the department, that Officer Morgan

   12· · wasn't there when he was supposed to be?

   13· · A.· · · · ·I don't recall when the property

   14· · manager let Officer Roberts know.· But I believe

   15· · that there had been some conversation as early as

   16· · September that Officer Roberts had with Officer

   17· · Morgan, but I can't recall specifically what that

   18· · was about.· But I could be wrong.

   19· · Q.· · · · ·Okay.

   20· · A.· · · · ·I think it's in there.

   21· · Q.· · · · ·But assuming for the moment that

   22· · Officer Morgan had not been confronted about not

   23· · being where he was supposed to be when he was --

   24· · A.· · · · ·By whom?


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   ·1· · Q.· · · · ·By anybody.

   ·2· · A.· · · · ·I don't know when he was confronted.

   ·3· · Q.· · · · ·Okay.· I'm asking you to make an

   ·4· · assumption with me for a second just for the

   ·5· · purpose of the question.

   ·6· · A.· · · · ·What kind of an assumption do you want

   ·7· · me to make?

   ·8· · Q.· · · · ·Do you know what an assumption is?

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.· Come on,

   10· · Jeff.

   11· · · · · · · ·MR. VARDARO:· Well, Rich, I'm sorry.

   12· · You're here sighing deeply, and Chief Jacobs is

   13· · sitting here saying, well, what do you want me to

   14· · assume, what do you want me to assume?

   15· · Q.· · · · ·I'm asking you to assume for the moment

   16· · for the purpose of the question that October 13th

   17· · was prior to Officer Morgan being accused of or

   18· · suspected or confronted about the idea that he was

   19· · not working the hours that he was supposed to

   20· · work.· Can you assume that for the moment?

   21· · A.· · · · ·Well, it certainly could be an

   22· · assumption, but I don't have any proof that it --

   23· · he wasn't --

   24· · Q.· · · · ·That's not my question.


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   ·1· · A.· · · · ·-- notified by --

   ·2· · Q.· · · · ·I'm just asking you to make the

   ·3· · assumption.

   ·4· · A.· · · · ·-- anybody before that.

   ·5· · Q.· · · · ·Can you make the assumption for me?

   ·6· · A.· · · · ·I thought I mentioned earlier that I

   ·7· · thought he had had a conversation with Officer

   ·8· · Roberts in September or something like that.· I'm

   ·9· · not sure what I'm recollecting, but I -- I just

   10· · don't know.· So, yeah, I mean, I can make an

   11· · assumption, but I'm not going to say that it's

   12· · foolproof.

   13· · Q.· · · · ·Okay.· I'm just asking you to make the

   14· · assumption.

   15· · A.· · · · ·Okay.

   16· · Q.· · · · ·And that's the premise for the

   17· · question.

   18· · A.· · · · ·Okay.

   19· · Q.· · · · ·Okay.· Assuming that was the case and

   20· · there was an example confirming that Officer

   21· · Morgan was working a different day than the one he

   22· · was assigned, wouldn't that make it more likely

   23· · that he was telling the truth about his practice

   24· · of working different days to make up the hours


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   ·1· · that he wasn't working on Wednesdays?

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.

   ·3· · A.· · · · ·It corroborates one example.

   ·4· · Q.· · · · ·Okay.· Doesn't corroborating that one

   ·5· · example prior to the suspicion being raised to

   ·6· · Officer Morgan make it more likely that he was

   ·7· · telling the truth in general?

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · A.· · · · ·Not necessarily.· It corroborates one

   10· · example.· He could have made it up about every

   11· · other time but knew that he had one corroborating

   12· · example.· I don't know.· I mean, I certainly

   13· · considered that that was corroborated.

   14· · Q.· · · · ·Okay.· Did you know that Corporal

   15· · DeGoey also indicated that he had seen Officer

   16· · Morgan on other dates, he couldn't name the dates,

   17· · but he had seen him at other times that were not

   18· · Wednesdays during this time frame?

   19· · A.· · · · ·If it was in the investigation, I would

   20· · have --

   21· · Q.· · · · ·Well, I'll say it's not in the

   22· · investigative summary.· I'm asking you whether you

   23· · knew that other than from reading the

   24· · investigative summary?


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   ·1· · A.· · · · ·Not that I recall.

   ·2· · Q.· · · · ·Okay.· Assuming that DeGoey had told

   ·3· · that to Sergeant Meister, would you have expected

   ·4· · it to appear in the summary?

   ·5· · · · · · · ·MR. COGLIANESE:· Objection.

   ·6· · A.· · · · ·Potentially if -- if there were other

   ·7· · dates, yes.

   ·8· · Q.· · · · ·If DeGoey had offered or indicated to

   ·9· · Sergeant Meister that he had his own documentation

   10· · confirming that this incident occurred, would you

   11· · have expected that to appear in the summary?

   12· · A.· · · · ·On the 13th?

   13· · · · · · · ·MR. COGLIANESE:· Objection.

   14· · Q.· · · · ·Yes.

   15· · A.· · · · ·It could have been added, yeah,

   16· · certainly.

   17· · Q.· · · · ·Okay.· I mean, the -- if he said it and

   18· · it wasn't added, would that raise a concern in

   19· · your mind about the nature of the summary?

   20· · A.· · · · ·Well, I already told you that, you

   21· · know, if it was a readily available document,

   22· · then, yeah.· But I'm not going to wait another

   23· · month or so just to get a document if there's no

   24· · reason to believe that it's not accurate.


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   ·1· · Q.· · · · ·Okay.· But in this case there was a

   ·2· · reason to believe that it might not be accurate,

   ·3· · right?· You told me the reason which was the prior

   ·4· · relationship and the conversation?

   ·5· · · · · · · ·MR. COGLIANESE:· Objection.

   ·6· · A.· · · · ·I don't think that there was much

   ·7· · dispute about whether or not that particular

   ·8· · incident was true.

   ·9· · Q.· · · · ·Okay.· So you took it as a given that

   10· · this one happened as described?

   11· · A.· · · · ·Well, at least on that date, yeah.

   12· · Q.· · · · ·Okay.· Can you take a look at page 15

   13· · of Exhibit 1, the investigative summary?· Page 15

   14· · of the investigative summary?

   15· · A.· · · · ·Number 15 at the top?

   16· · Q.· · · · ·Yeah.

   17· · A.· · · · ·Okay.

   18· · Q.· · · · ·If you could just read the

   19· · investigative summary of DeGoey's interview.· It

   20· · starts in the middle of page 15 and goes onto the

   21· · next page.

   22· · A.· · · · ·Okay.

   23· · Q.· · · · ·If you could assume for a moment that

   24· · in Sergeant Meister's conversation with Corporal


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   ·1· · DeGoey, Corporal DeGoey actually volunteered to

   ·2· · Sergeant Meister that he had a prior relationship

   ·3· · with Officer Morgan, and they had had a recent

   ·4· · conversation about this incident, and that it

   ·5· · wasn't in response to Sergeant Meister asking him

   ·6· · how he remembered things with such vivid detail.

   ·7· · Would you agree with me that this investigative

   ·8· · summary is not accurate?

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.

   10· · A.· · · · ·I'm not sure I understand the question.

   11· · Q.· · · · ·In his actual interview with Corporal

   12· · DeGoey, it was Corporal DeGoey that mentioned

   13· · first that he had talked to Kevin Morgan about

   14· · this incident recently and that they had a prior

   15· · relationship through their church.· But in the

   16· · investigative summary, Sergeant Meister describes

   17· · it as if he -- the investigator was puzzled as to

   18· · how Corporal DeGoey remembered this with such

   19· · vivid detail, and it was only then that he

   20· · mentioned this conversation with Officer Morgan

   21· · and their prior relationship.· And I am asking

   22· · you:· Assuming the version that I just told you is

   23· · true, that makes this investigative summary

   24· · inaccurate?


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.

   ·2· · A.· · · · ·I don't know that it makes it

   ·3· · inaccurate.· He could have followed up with a

   ·4· · question and still accurately wrote down that he

   ·5· · asked him how he remembered.

   ·6· · Q.· · · · ·Okay.· But if he didn't do that, that

   ·7· · would make this inaccurate?

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · A.· · · · ·He didn't do what?

   10· · Q.· · · · ·Ask him how he remembered this with

   11· · such vivid detail?

   12· · A.· · · · ·Well, yeah, if he didn't ask him a

   13· · question about it, then that would be inaccurate.

   14· · Q.· · · · ·Okay.· Assuming that Corporal DeGoey

   15· · told -- well, first of all, assuming Corporal

   16· · DeGoey told Sergeant Meister that the reason he

   17· · could remember this so vividly was because he was

   18· · sending text messages about the incident as it was

   19· · happening and he had them on his phone, would you

   20· · have expected that to go into this summary?

   21· · A.· · · · ·That would have been beneficial.

   22· · Q.· · · · ·And it would have made the summary

   23· · pretty different in terms of its tone?

   24· · · · · · · ·MR. COGLIANESE:· Objection.


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   ·1· · A.· · · · ·Tone?· I didn't get the impression that

   ·2· · the sergeant disbelieved this date.

   ·3· · Q.· · · · ·Okay.

   ·4· · A.· · · · ·So --

   ·5· · Q.· · · · ·Okay.

   ·6· · A.· · · · ·It could have been phrased differently,

   ·7· · certainly, yes.

   ·8· · Q.· · · · ·Okay.

   ·9· · A.· · · · ·But I didn't read from this that he was

   10· · disbelieving the corporal about that particular

   11· · one because he said that was the date that he

   12· · could testify to and it didn't sound as if he was

   13· · disputing that.

   14· · Q.· · · · ·Okay.· In response to the question

   15· · about whether he had testified about any other

   16· · specific dates if Corporal DeGoey told Sergeant

   17· · Meister that his hours at Kroger were Fridays and

   18· · Sundays during this time period and that he

   19· · remembered Officer Morgan coming in on multiple

   20· · occasions to the Kroger and using the bathroom or

   21· · getting coffee or something like that, considering

   22· · that Officer Morgan was only assigned to Stratford

   23· · Lakes on Wednesdays, would you have expected that

   24· · information to go into this summary?


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.

   ·2· · A.· · · · ·Certainly it could have been explored

   ·3· · more.· I also know that Officer Morgan was working

   ·4· · at another special duty location and/or two.

   ·5· · Q.· · · · ·Uh-huh.

   ·6· · A.· · · · ·So I don't know that Corporal DeGoey

   ·7· · would have clarified with him, hey, are you

   ·8· · working at Stratford tonight or Briar Hill tonight

   ·9· · or Giant Eagle tonight?· So I don't know that him

   10· · saying that I saw him on a Friday or what did you

   11· · say, Sunday?

   12· · Q.· · · · ·Sunday.

   13· · A.· · · · ·Necessarily proved that he was working

   14· · at a place that he said he was --

   15· · Q.· · · · ·Uh-huh.

   16· · A.· · · · ·-- in his own testimony, so --

   17· · Q.· · · · ·I mean you remember the Kroger was

   18· · across the street from Stratford Lakes?

   19· · A.· · · · ·Okay.

   20· · Q.· · · · ·I'll represent to you that Kroger was

   21· · across the street from Stratford Lakes.· If

   22· · Corporal DeGoey said the reason why he called

   23· · Officer Morgan on this particular occasion was

   24· · that he had seen him on prior nights at the Kroger


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   ·1· · and that Officer Morgan had recognized them from

   ·2· · their past acquaintance at the church and told

   ·3· · him, hey, I'm working across the street on this

   ·4· · special duty assignment, would you have expected

   ·5· · that to go into the summary?

   ·6· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·7· · A.· · · · ·I think that you have to decide what

   ·8· · should be in a summary or not.· And I go back to I

   ·9· · don't take from here that he was disputing that

   10· · particular date and time.· If he felt that it was

   11· · relevant, he should have put it in.

   12· · Q.· · · · ·I mean, it would have been relevant,

   13· · right?· It would be further corroboration --

   14· · A.· · · · ·Potentially, yes.

   15· · Q.· · · · ·-- of Officer Morgan's basic exact

   16· · defense to these charges, which was he was

   17· · regularly working different hours than the ones he

   18· · was assigned on a repeated basis?

   19· · A.· · · · ·It could have, yes.

   20· · Q.· · · · ·And considering that there was no

   21· · documentation one way or the other about the vast

   22· · majority of the instances involved, having an

   23· · eyewitness who saw him on multiple occasions at a

   24· · location right by the special duty assignment


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   ·1· · would have been pretty important corroboration of

   ·2· · Officer Morgan's account?

   ·3· · A.· · · · ·It would have been --

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.

   ·5· · A.· · · · ·-- more information.

   ·6· · Q.· · · · ·Okay.

   ·7· · A.· · · · ·Yeah.

   ·8· · Q.· · · · ·And it would be important because

   ·9· · that's basically the only information that Officer

   10· · Morgan would have had to offer?

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · A.· · · · ·Well, he could have had other

   13· · information.

   14· · Q.· · · · ·Yeah.· He could have done a better job

   15· · of documenting --

   16· · A.· · · · ·Correct.

   17· · Q.· · · · ·-- his time for sure?

   18· · A.· · · · ·Correct.

   19· · Q.· · · · ·There's no -- I don't think anybody

   20· · disputes that.· I think even Officer Morgan said

   21· · it to you in his chief's hearing.

   22· · A.· · · · ·Correct.

   23· · Q.· · · · ·But if there was an eyewitness who

   24· · said, oh, yeah, I saw him on a pretty regular


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   ·1· · basis at a location that made it pretty likely

   ·2· · that he was working the special duty assignment

   ·3· · and it wasn't on Wednesdays, that would be

   ·4· · important to include in the investigative report?

   ·5· · A.· · · · ·I would say --

   ·6· · · · · · · ·MR. COGLIANESE:· Objection.

   ·7· · A.· · · · ·-- that I consider important to include

   ·8· · all relevant information that we have.

   ·9· · Q.· · · · ·And that would be relevant information?

   10· · A.· · · · ·It sounds like it could be.

   11· · Q.· · · · ·Yeah.

   12· · · · · · · ·I mean, is there some question in your

   13· · mind about whether it would be relevant?

   14· · A.· · · · ·I would just go back to specific dates

   15· · and times are always more important than I think I

   16· · remembered him on --

   17· · Q.· · · · ·Uh-huh.

   18· · A.· · · · ·-- some of these days.

   19· · Q.· · · · ·But in the absence of a specific date,

   20· · a general, yeah, I saw him on a regular basis

   21· · would be valuable information in the

   22· · investigation?

   23· · · · · · · ·MR. COGLIANESE:· Objection.

   24· · A.· · · · ·It would be something to consider, yes.


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   ·1· · Q.· · · · ·Besides just Corporal DeGoey, Officer

   ·2· · Morgan gave to the investigators and to you

   ·3· · information about other people who could similarly

   ·4· · corroborate his claim that he was doing this job,

   ·5· · just on different days.

   ·6· · A.· · · · ·I didn't hear a question.

   ·7· · Q.· · · · ·Do you remember that?

   ·8· · A.· · · · ·Go ahead and ask it again then.

   ·9· · Q.· · · · ·Do you remember that Officer Morgan

   10· · offered other potential people who might be able

   11· · to corroborate his account that he was working

   12· · this assignment on a regular basis?

   13· · A.· · · · ·Not specifically.· I don't remember

   14· · names and specific persons.

   15· · Q.· · · · ·I'm not saying he gave names.· I'm just

   16· · saying do you remember that he offered that there

   17· · were other people who he would come into contact

   18· · that the investigators might be able to follow-up

   19· · with?

   20· · A.· · · · ·I believe that he said that he had had

   21· · other contacts with people while he was working at

   22· · Stratford.· But I don't remember him giving us any

   23· · information that -- who that was, where it was and

   24· · all of that.


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   ·1· · Q.· · · · ·I mean it wasn't just that he said I

   ·2· · saw people.· He said I saw this one guy who lived

   ·3· · in this particular type of location and you can

   ·4· · try and find him?

   ·5· · A.· · · · ·He potentially could have said that and

   ·6· · I just don't recall it.

   ·7· · Q.· · · · ·Okay.· So you don't remember one way or

   ·8· · another whether he said that?

   ·9· · A.· · · · ·I don't recall right now, no.

   10· · Q.· · · · ·Okay.· Do you -- if he had said that to

   11· · the investigators, would you have expected them to

   12· · make an effort to try to figure out who those

   13· · people were?

   14· · A.· · · · ·If there was enough information that

   15· · they could have followed up on to get that, again,

   16· · it goes back to specific dates and times.· So I

   17· · don't know if they could have corroborated that

   18· · information or not.

   19· · Q.· · · · ·Okay.

   20· · A.· · · · ·And it just depends on the amount of

   21· · information that was available to try to --

   22· · accomplish that.

   23· · Q.· · · · ·I mean -- I'm sorry.· I'll let you --

   24· · A.· · · · ·Yeah.


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   ·1· · Q.· · · · ·I mean, it's not your position that if

   ·2· · Officer Morgan -- given that Officer Morgan didn't

   ·3· · have, you know, organized documentation showing I

   ·4· · was there on this date, I was there on this date,

   ·5· · I was there on this date, it's not your position

   ·6· · that the only way he could corroborate his account

   ·7· · was by having people say, yes, I saw him at 9:30

   ·8· · p.m. on Friday, October whatever?· He could -- he

   ·9· · could at least make his account more likely by

   10· · presenting witnesses who said, well, I worked late

   11· · on Fridays and I would come back to my apartment

   12· · and I would see him stationed at the Stratford

   13· · Lakes apartment where he would have no other

   14· · reason to be.· That would make it more likely that

   15· · he was telling the truth?

   16· · · · · · · ·MR. COGLIANESE:· Objection.

   17· · A.· · · · ·More likely telling the truth that he

   18· · -- that he worked different days than Wednesdays?

   19· · Q.· · · · ·Yes.

   20· · A.· · · · ·Yes.

   21· · Q.· · · · ·And more likely that he was working

   22· · times at Stratford Lakes when he wasn't marking in

   23· · service on the radio?

   24· · · · · · · ·MR. COGLIANESE:· Objection.


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   ·1· · Q.· · · · ·Since they didn't have a lot of -- they

   ·2· · didn't have marked in service information showing

   ·3· · that he had marked in.

   ·4· · A.· · · · ·What was the question?

   ·5· · Q.· · · · ·Well, for example, I'll go back to the

   ·6· · DeGoey example.· On October 13th, it's pretty

   ·7· · clear that Officer Morgan was working the

   ·8· · Stratford Lakes assignment but he hadn't marked in

   ·9· · service.

   10· · A.· · · · ·Okay.

   11· · Q.· · · · ·And his failure to mark in service was

   12· · one of the main sources of evidence that he wasn't

   13· · working the assignment.

   14· · A.· · · · ·It was one of the factors, yes.

   15· · Q.· · · · ·Okay.· So Corporal DeGoey's testimony

   16· · didn't just show that there was a date that

   17· · Officer Morgan worked other than the one he was

   18· · assigned, it also showed that on at least one

   19· · occasion he worked the assignment but he didn't

   20· · mark in service?

   21· · A.· · · · ·Correct.

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · Q.· · · · ·Okay.· So if there were other witnesses

   24· · who also said I saw him on a Friday or I saw him


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   ·1· · on a Sunday or I saw him on a Tuesday, it would

   ·2· · corroborate two aspects of Officer Morgan's

   ·3· · account.· One would be that he worked other days

   ·4· · than the ones he was assigned and that he worked

   ·5· · -- he was working at Stratford Lakes during time

   ·6· · periods when he had not marked in service.

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.

   ·8· · Q.· · · · ·Right?

   ·9· · A.· · · · ·It could, yes.

   10· · Q.· · · · ·Okay.· And that would not just depend

   11· · on the concept of a witness somehow remembering,

   12· · you know, a year or more after the fact I saw him

   13· · on such and such a date at such and such a time,

   14· · it could also be at least somewhat corroborated by

   15· · a witness saying I saw him regularly at this

   16· · apartment complex or I was accustom to seeing him

   17· · on Fridays when I came home from work or something

   18· · along those lines.

   19· · · · · · · ·MR. COGLIANESE:· Objection.

   20· · A.· · · · ·I already answered that.· What --

   21· · Q.· · · · ·I'm just saying --

   22· · A.· · · · ·What's the difference?

   23· · Q.· · · · ·-- not just that he was working other

   24· · days but that he was working days that he had not


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   ·1· · marked in service.

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.

   ·3· · Q.· · · · ·Do you remember having a chief's

   ·4· · hearing for Officer Morgan's discipline?

   ·5· · A.· · · · ·Yes.

   ·6· · Q.· · · · ·Do you remember Officer Morgan telling

   ·7· · you that there were specific people that he saw at

   ·8· · the apartment complex who might be able to

   ·9· · corroborate his account in response to your

   10· · questions?

   11· · A.· · · · ·I don't recall any names being given.

   12· · But I'm not saying --

   13· · Q.· · · · ·I'm not asking you about names.· I'm

   14· · saying there were, like, individual people that he

   15· · remembered seeing.

   16· · A.· · · · ·He might very well have said that.

   17· · Q.· · · · ·Okay.· Having reviewed the

   18· · investigative summary, there were no other

   19· · interviews that the officers conducted or no other

   20· · indication that the internal affairs sergeants had

   21· · tried to find any people like that, right?

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·There's -- I don't recall any other

   24· · names of people that they interviewed, yes.· And I


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   ·1· · don't know what lengths they went to to track down

   ·2· · people that were unnamed by Officer Morgan.

   ·3· · Q.· · · · ·Okay.

   ·4· · · · · · · ·MR. VARDARO:· I'm going to need 19.

   ·5· · BY MR. VARDARO:

   ·6· · Q.· · · · ·I'm handing you what's been marked as

   ·7· · Plaintiff's Exhibit 19.· This is -- well, first of

   ·8· · all, can you tell me, does this appear to be your

   ·9· · chief's hearing for Officer Morgan?

   10· · · · · · · · · · · · ·- - - - -

   11· · · · · · ·Thereupon, Plaintiff's Exhibit 19 is

   12· · marked for purposes of identification.

   13· · · · · · · · · · · · - - - - -

   14· · A.· · · · ·It appears to be a transcript of it,

   15· · yes.

   16· · Q.· · · · ·Okay.· Can you take -- there's pages at

   17· · the bottom.· I'm actually not sure what the

   18· · pagination is based on.· But it starts at page 55.

   19· · A.· · · · ·Yes.

   20· · Q.· · · · ·P55.

   21· · A.· · · · ·Yeah.

   22· · Q.· · · · ·Can you take a look at P65?· Do you see

   23· · toward the end of the hearing -- well, actually, I

   24· · will say this does look like it's towards the end


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   ·1· · of the hearing because there are only a couple

   ·2· · more pages after that, right?

   ·3· · A.· · · · ·Yep.

   ·4· · Q.· · · · ·So toward the end of the hearing at the

   ·5· · bottom of that page you say, "Did you talk to

   ·6· · people?"· And he says, "Yes ma'am."· And you say,

   ·7· · "You know, did you do anything to make it clear

   ·8· · that" --

   ·9· · A.· · · · ·Wait.· Wait.· Where are you?

   10· · Q.· · · · ·I'm at the bottom of page P65.

   11· · A.· · · · ·Okay.

   12· · Q.· · · · ·Do you see those questions, where that

   13· · starts?

   14· · A.· · · · ·Okay.

   15· · Q.· · · · ·And then if you flip over to the next

   16· · page, do you see in the first long paragraph of

   17· · his response you've asked him, "Was there somebody

   18· · that you checked in with; who did you talk to?"

   19· · A.· · · · ·Uh-huh.

   20· · Q.· · · · ·And he lists a person who is not

   21· · employed by Stratford but did extra work in the

   22· · office and who would know that he was around and

   23· · was doing the work.· And then there's another

   24· · person who -- a male black truck driver who lived


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   ·1· · where he parked at and would comment come home at

   ·2· · 1:00 or 2:00 in the morning and would come over

   ·3· · and talk to him while he was in his truck -- I'm

   ·4· · sorry.· His mom would come down the steps and come

   ·5· · over and talk to him?· Do you remember Officer

   ·6· · Morgan telling you these things during the chief's

   ·7· · hearing?

   ·8· · A.· · · · ·Well, I see it there, so.

   ·9· · Q.· · · · ·Okay.· Did you do anything after this

   10· · to ask the sergeants to try to find these people

   11· · and see whether Officer Morgan was telling the

   12· · truth about them?

   13· · A.· · · · ·No.

   14· · Q.· · · · ·Okay.· Why not?

   15· · A.· · · · ·I believe that the evidence that we had

   16· · at that time was sufficient, that he'd had an

   17· · opportunity prior to this to give that

   18· · information.· If it wasn't followed up when he

   19· · gave it, if he gave it prior to that.· Your

   20· · opportunity to give us information is -- is, you

   21· · know, long before you get to the chief's hearing.

   22· · Q.· · · · ·Uh-huh.

   23· · A.· · · · ·And unless -- unless I feel like there

   24· · is not enough evidence or that this is totally


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   ·1· · brand-new evidence that actually could persuade me

   ·2· · in a different direction.· But just based on this,

   ·3· · you know, that it doesn't -- you know, I never --

   ·4· · I never came to the conclusion that he was never

   ·5· · at Stratford Lake.· You know, there were

   ·6· · definitely times when he was at Stratford Lake.

   ·7· · So trying to match up dates with people that had

   ·8· · seen him after the fact more than a year, two

   ·9· · years later wasn't going to change my opinion that

   10· · we had evidence that these rule violations had

   11· · occurred.· That did not sound to me that it was

   12· · going to be the kind of information that would

   13· · change the facts that I had in front of me.

   14· · Q.· · · · ·Can you take a look at Exhibit 15, it's

   15· · the -- I think it's this one.· Yeah.· I'll just

   16· · flip to the page for you if you don't mind, save a

   17· · little bit of time.· And for the record, I'm

   18· · flipping to the twelfth page of the second part of

   19· · this exhibit, which has number 160 at the bottom.

   20· · · · · · · ·Just the first thing you said was, you

   21· · know, the chief's hearing is obviously not the

   22· · time when you come up with for the first time new,

   23· · you know, potentially exculpatory information.

   24· · Looking at the top of this page, this confirms the


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   ·1· · chief's hearing wasn't the first time he mentioned

   ·2· · the truck driver guy, right?

   ·3· · A.· · · · ·Correct.

   ·4· · Q.· · · · ·He told that to the sergeants, so if

   ·5· · you had followed up with the sergeants after the

   ·6· · chief's hearing and said, hey, did he mention this

   ·7· · at the time, that would have confirmed at least

   ·8· · that, oh, yeah, he mentioned it, we just didn't

   ·9· · ever try to find this guy.· Would that have raised

   10· · a concern with you?

   11· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   12· · Q.· · · · ·For you I should say?

   13· · A.· · · · ·So what was the question?

   14· · Q.· · · · ·If you had gone to Sergeant Meister --

   15· · is that the -- Sergeant Meister is at the chief's

   16· · hearing, right?· The IA sergeant would typically

   17· · be at the chief's hearing?

   18· · A.· · · · ·He was.· Yeah, they usually are but not

   19· · always.

   20· · Q.· · · · ·So if you had pulled Sergeant Meister

   21· · aside after the chief's hearing and said, hey,

   22· · he's talking about a potential witness here, did

   23· · you try to -- did he ever mention that to you or

   24· · is this just brand new information, presumably


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   ·1· · Sergeant Meister would have said, oh, yeah, he

   ·2· · mentioned it at some point.· And then would you

   ·3· · have -- you know, do you remember any conversation

   ·4· · like that for instance?

   ·5· · A.· · · · ·Could have occurred.

   ·6· · Q.· · · · ·Okay.· I mean if Sergeant Meister

   ·7· · had --

   ·8· · A.· · · · ·Those --

   ·9· · · · · · · ·MR. COGLIANESE:· Hold on.

   10· · A.· · · · ·-- conversations aren't recorded.· So I

   11· · cannot remember something that happened that long

   12· · ago specifically about this particular thing.

   13· · Q.· · · · ·I understand.· I'm just saying assuming

   14· · that you would have had a conversation like

   15· · that --

   16· · A.· · · · ·Uh-huh.

   17· · Q.· · · · ·-- and Sergeant Meister said, oh, yeah,

   18· · he mentioned it, and you said, you know, well, did

   19· · you talk to this person.· And he said no, we never

   20· · even bothered to try to find this person who he

   21· · said could potentially corroborate his account.

   22· · Would that raise a concern for you about the

   23· · investigation?

   24· · · · · · · ·MR. COGLIANESE:· Objection.


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   ·1· · A.· · · · ·It would depend on the type of answer

   ·2· · that I got, yes.

   ·3· · Q.· · · · ·Okay.· I will represent -- you know, I

   ·4· · don't want to go find all the portions of the

   ·5· · interview again on your time, because it's -- I

   ·6· · don't think it's reasonably in dispute.

   ·7· · · · · · · ·But Officer Morgan mentioned at least a

   ·8· · couple of other people who he says he told Officer

   ·9· · Tony Roberts to talk to to confirm that he was

   10· · actually working this assignment, including this

   11· · sort of part-time volunteer property manager

   12· · person and someone who he calls the African guy

   13· · who he doesn't really specify, but he makes it

   14· · clear that Tony Roberts knew who the African guy

   15· · was.· And the officers -- the sergeants first of

   16· · all don't ask any follow-up questions about who

   17· · Officer Morgan might be talking about.· And second

   18· · don't indicate at all that they went to try to

   19· · find or identify or talk to Tony Roberts about.

   20· · Does that raise a concern for you about the

   21· · investigation?

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·If they believed that they could get

   24· · information that would follow-up on some of his


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   ·1· · statements, then certainly I think that that would

   ·2· · be information worth knowing.· I don't know what

   ·3· · their considerations were.· I don't know what

   ·4· · direction they may or may not have been given by

   ·5· · the internal affairs chain of command with regard

   ·6· · to following up, getting more information, whether

   ·7· · they felt like let's focus on this instead of

   ·8· · that.

   ·9· · Q.· · · · ·Yeah.

   10· · A.· · · · ·So looking at it, you know, without

   11· · knowing all of that in the context in which it was

   12· · done, yeah, you could say it looks like, you know,

   13· · it could have been better.· But I don't know all

   14· · the considerations that were in play at the time.

   15· · Q.· · · · ·I mean just looking at the

   16· · investigation, it seems as if these sergeants,

   17· · particularly Sergeant Meister, did a ton of

   18· · legwork to find information about Officer Morgan's

   19· · potential misconduct?

   20· · A.· · · · ·But we're not just the sergeant --

   21· · Q.· · · · ·Within the department -- not just?· I'm

   22· · sorry.

   23· · A.· · · · ·Not just the sergeant.· Chris Bond did

   24· · a great investigation.


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   ·1· · Q.· · · · ·Yeah.

   ·2· · A.· · · · ·You know.

   ·3· · Q.· · · · ·The criminal investigation, which took

   ·4· · place before Officer Morgan provided any --

   ·5· · A.· · · · ·Correct.

   ·6· · Q.· · · · ·-- information because he was advised

   ·7· · to not give a voluntary criminal interview?

   ·8· · A.· · · · ·Correct.

   ·9· · Q.· · · · ·Which is typical of officers, right?                     I

   10· · mean, the FOP attorneys usually tell them don't

   11· · give an interview in a criminal investigation

   12· · because you're -- you don't have your guaranteed

   13· · protections?

   14· · A.· · · · ·I would say that's more often than not.

   15· · Q.· · · · ·You certainly don't hold it against an

   16· · officer in a disciplinary investigation that they

   17· · didn't participate in the criminal investigation?

   18· · A.· · · · ·That would be true.

   19· · Q.· · · · ·Illegal?· It would be illegal if you

   20· · did that, correct?

   21· · A.· · · · ·Correct.

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · Q.· · · · ·So you don't do it?

   24· · A.· · · · ·Correct.


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   ·1· · Q.· · · · ·So Officer Bond certainly didn't have

   ·2· · an opportunity to follow-up on witnesses on behalf

   ·3· · of Officer Morgan because Officer Morgan wasn't

   ·4· · participating in it?

   ·5· · A.· · · · ·Those that he brought up, yes.

   ·6· · Q.· · · · ·And he didn't have, for instance, the

   ·7· · information about Corporal DeGoey and the incident

   ·8· · at the Kroger?

   ·9· · A.· · · · ·To my knowledge.

   10· · Q.· · · · ·Okay.· But all of these, Officer Bond,

   11· · Sergeant Meister, Sergeant Decker, they did a lot

   12· · of digging to find documents that showed Officer

   13· · Morgan was not working on the Wednesday nights

   14· · when he was assigned.· But I haven't identified

   15· · virtually anything that they did to follow-up on

   16· · information that might corroborate Officer

   17· · Morgan's account other than calling Corporal

   18· · DeGoey.· And so my -- I mean, I guess you

   19· · mentioned well, it depends on how long it would

   20· · have taken to do this or it depends on how long it

   21· · would have taken to do that.· The investigation

   22· · all told took almost two years.· Would it really

   23· · have been a consideration of, oh, it's going to

   24· · take an extra day to go over to Stratford Lakes


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   ·1· · and try to find this person?

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.

   ·3· · A.· · · · ·That's not my -- that's not my call

   ·4· · back when the investigation is underway.

   ·5· · That's --

   ·6· · Q.· · · · ·You were the chief of police.

   ·7· · A.· · · · ·I don't have the day-to-day chronology

   ·8· · of what a case is doing.· So that's the call of

   ·9· · the lieutenant and the commander in internal

   10· · affairs to say go follow-up on that.· They read

   11· · this back and forth, back and forth, they -- they

   12· · prepare a draft, they send it back, they go say go

   13· · do this, go do that.· So it's not something that

   14· · is brought to my attention should we follow-up on

   15· · that, should we follow-up on that.· That's --

   16· · Q.· · · · ·During --

   17· · · · · · · ·MR. COGLIANESE:· Hold on.· She's not

   18· · done.

   19· · Q.· · · · ·I'm sorry.· I'm not doing it on

   20· · purpose, Rich.· Go ahead.

   21· · A.· · · · ·It's just the way that the structure of

   22· · internal affairs is set up to provide guidance

   23· · with regard to how the investigation should be

   24· · conducted.· And then if they feel like there's a


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   ·1· · gap or anything else, then they would direct them

   ·2· · to close that gap.· If they felt that there was a

   ·3· · bias, they -- you know, they should, you know,

   ·4· · point that out and try to make sure that there is

   ·5· · no bias.· That's all part of the internal affairs

   ·6· · chain of command review process.

   ·7· · Q.· · · · ·During your term as chief, who did the

   ·8· · commander of internal affairs report to?

   ·9· · A.· · · · ·I think for the entire time that was

   10· · me.

   11· · Q.· · · · ·And that was a change that came in?

   12· · A.· · · · ·Correct.

   13· · Q.· · · · ·Prior to that there had been a layer of

   14· · command in between you and --

   15· · A.· · · · ·Deputy chief, yeah.

   16· · Q.· · · · ·Okay.· And at the end of the internal

   17· · affairs process once the conclusions came in and

   18· · once things came from a chain of command, you

   19· · certainly had the authority as chief to say I'm

   20· · not satisfied with this investigation, and in this

   21· · particular respect, please go do some follow-up?

   22· · A.· · · · ·That depended.· If it was a citizen

   23· · complaint, then I couldn't oftentimes ask for more

   24· · investigation because of time limits.· And if it


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   ·1· · was an internal investigation such as this, then

   ·2· · that depended on whether or not I felt that there

   ·3· · was something that was, you know, important to the

   ·4· · outcome.· But I don't -- I don't recall too many

   ·5· · instances where by the time it got to me, that I

   ·6· · would have sent it back and said, you know, this

   ·7· · is lacking something that I need to have.

   ·8· · Q.· · · · ·The only thing that you saw that was

   ·9· · lacking at the end of this investigation was there

   10· · wasn't a charge of 1.04 for cause for dismissal?

   11· · A.· · · · ·I would --

   12· · · · · · · ·MR. COGLIANESE:· Objection.

   13· · A.· · · · ·I would not say that.

   14· · Q.· · · · ·Okay.· Was there something else

   15· · lacking?

   16· · · · · · · ·MR. COGLIANESE:· Objection.

   17· · A.· · · · ·I don't recall specifically having some

   18· · of the concerns that you've raised about not

   19· · following up with some of these particular persons

   20· · or not, I could have very well brought that up in

   21· · the chief's hearing afterwards to get it

   22· · addressed.· But, you know, I always -- not always.

   23· · There are a number of times when I think an

   24· · investigation could have gone in a different


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   ·1· · method, manner, asked better questions, followed

   ·2· · up with more people.· I've very -- I don't

   ·3· · remember ever seeing a perfect investigation.

   ·4· · Q.· · · · ·Okay.· In your time when you were

   ·5· · commander for IAB, if you had been confronted with

   ·6· · this investigative summary and the interview of

   ·7· · Kevin Morgan raising these potential corroborating

   ·8· · witnesses, would you have instructed the

   ·9· · investigators to do some additional work to try to

   10· · find the witness?

   11· · A.· · · · ·I would have asked --

   12· · · · · · · ·MR. COGLIANESE:· Objection.

   13· · A.· · · · ·-- what the -- I mean, if it got to me

   14· · and it came to my attention, I would have asked

   15· · what their thought process was on more follow-up.

   16· · Q.· · · · ·Okay.· And if their thought process was

   17· · we just didn't do anything to try to identify

   18· · these witnesses, including even asking Officer

   19· · Morgan for more information, would you have

   20· · directed them to do something more?

   21· · · · · · · ·MR. COGLIANESE:· Objection.

   22· · A.· · · · ·I -- it's hypothetical.· I don't -- I

   23· · don't know what I would have done.

   24· · Q.· · · · ·You don't know what you would have done


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   ·1· · if the officers had been presented with potential

   ·2· · corroborating witnesses and had done nothing in

   ·3· · response to follow-up on that?

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.

   ·5· · A.· · · · ·If there was reason to believe that

   ·6· · they actually had corroborating material then,

   ·7· · yes, I believe that I would have said try to find

   ·8· · them.

   ·9· · Q.· · · · ·And in this case there was reason to

   10· · believe that they might have had corroborating

   11· · material because literally the officers were

   12· · asking Officer Morgan if there was anybody who

   13· · might have corroborating material and these were

   14· · the people that he listed?

   15· · · · · · · ·MR. COGLIANESE:· Objection.

   16· · A.· · · · ·He listed without names and dates and

   17· · times and place, yes.

   18· · Q.· · · · ·But with some locations and even some

   19· · roles within the apartment complex?

   20· · A.· · · · ·It could have been done, yes.

   21· · Q.· · · · ·Okay.· And it should have been done?

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·I don't know that I can say that

   24· · because I don't know what the context of that


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   ·1· · information was.· I don't know if they were told

   ·2· · not to by a lieutenant or a commander for some

   ·3· · specific reason.· So without knowing more about

   ·4· · that thought process, if it was even a thought

   ·5· · process, I can't say.· If they were told not to do

   ·6· · something, if they were said, you know, we did

   ·7· · look and try but we couldn't find anything, I --

   ·8· · you know.· It would have been nice to have some

   ·9· · reference to it, but I don't know that it wasn't

   10· · documented somewhere or discussed somewhere.

   11· · Q.· · · · ·Well, part of the context was this was

   12· · an officer who everybody knew his job was

   13· · potentially on the line or at the very least

   14· · serious discipline was on the line, right?

   15· · A.· · · · ·Correct.

   16· · Q.· · · · ·And you certainly believed that this

   17· · was an important question since you asked it at

   18· · the chief's hearing?

   19· · A.· · · · ·Yes.

   20· · Q.· · · · ·Okay.· And now at least you know that

   21· · the sergeants asked it in their investigation and

   22· · got an answer from Officer Morgan, and then

   23· · apparently did nothing at all to follow-up on it,

   24· · including asking Officer Morgan for more


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   ·1· · information, asking Officer Roberts who apparently

   ·2· · also knew these people for more information or

   ·3· · going to the apartment complex and just trying to

   ·4· · find them.· Does that -- I mean, doesn't that tell

   ·5· · you that this is work, investigative work that

   ·6· · should have been done as part of this

   ·7· · investigation?

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · A.· · · · ·It would have been beneficial.

   10· · Q.· · · · ·And it should have been done?

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · A.· · · · ·As I said before, I don't know what the

   13· · circumstances were whether it was discussed,

   14· · reviewed and decided upon.

   15· · Q.· · · · ·Okay.· Assuming that Commander Knight

   16· · didn't tell these sergeants not to do it and there

   17· · were no other circumstances that would have

   18· · prevented them from doing it, it should have been

   19· · done?

   20· · · · · · · ·MR. COGLIANESE:· Objection.

   21· · A.· · · · ·An attempt could have been made, yes.

   22· · Q.· · · · ·And it should have been made?

   23· · · · · · · ·MR. COGLIANESE:· Objection.· Asked and

   24· · answered.


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   ·1· · · · · · · ·MR. VARDARO:· No.· She hasn't answered

   ·2· · it.· I keep saying should they have done it and

   ·3· · she keeps saying they could have done it.· I'm

   ·4· · just asking for a simple yes or no.

   ·5· · · · · · · ·MR. COGLIANESE:· On a hypothetical

   ·6· · question.

   ·7· · · · · · · ·MR. VARDARO:· Should they have done

   ·8· · this investigative work?

   ·9· · · · · · · ·MR. COGLIANESE:· Jeff, move on.

   10· · Q.· · · · ·Should they have done this

   11· · investigative work given the circumstances that

   12· · you're aware of?

   13· · · · · · · ·MR. COGLIANESE:· Move on.· Objection,

   14· · asked and answered.

   15· · Q.· · · · ·You can go ahead and answer the

   16· · question.

   17· · · · · · · ·MR. COGLIANESE:· If you want to answer

   18· · it for the twelfth time, you're free to.· If you

   19· · don't feel like answering it for a twelfth time,

   20· · you don't have to.

   21· · A.· · · · ·I want to get to the facts of the case

   22· · that's relevant to statements.· There were other

   23· · factors involved in this particular case that

   24· · certainly I considered to be very relevant with


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   ·1· · regard to the rule violations.· Having that

   ·2· · information and it not being a question, yes, now

   ·3· · I can say we could have had that and then we would

   ·4· · have known instead of not knowing.

   ·5· · Q.· · · · ·But you can't say, yes, it should have

   ·6· · been done?

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.· That's the

   ·8· · thirteenth time that's been asked.

   ·9· · A.· · · · ·I don't know the circumstances under

   10· · which that decision was made.

   11· · Q.· · · · ·Based on the circumstances that you do

   12· · know, should they have followed up and tried to

   13· · find these potential corroborating witnesses?

   14· · · · · · · ·MR. COGLIANESE:· That's it.· That is

   15· · the last time that question is going to be asked.

   16· · · · · · · ·MR. VARDARO:· Do you want to call the

   17· · judge?· Let's call the judge.

   18· · · · · · · ·MR. COGLIANESE:· You've asked him how

   19· · many times.

   20· · · · · · · ·MR. VARDARO:· She hasn't answered it,

   21· · yet, Rich.

   22· · · · · · · ·MR. COGLIANESE:· She has, you just

   23· · don't like the answer.

   24· · · · · · · ·MR. VARDARO:· Please stop making


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   ·1· · speaking objections.· If you don't want her to

   ·2· · answer the questions, let's try to get on the

   ·3· · phone with the judge.

   ·4· · · · · · · ·MR. COGLIANESE:· She has answered the

   ·5· · question.· Chief, if you want to answer it again,

   ·6· · go ahead.· Jeff, move on.

   ·7· · A.· · · · ·Not knowing anything else but knowing

   ·8· · that this is an issue right now, then, yes, I can

   ·9· · say it should have been done so that we don't have

   10· · this issue.

   11· · Q.· · · · ·Okay.· Do you want to take a break for

   12· · -- do you need lunch or --

   13· · · · · · · ·MR. COGLIANESE:· Let's go off the

   14· · record.

   15· · · · · · · ·(A short recess is taken.)

   16· · BY MR. VARDARO:

   17· · Q.· · · · ·Okay.· You mentioned an officer named

   18· · Mayhew who had been terminated or recommended for

   19· · termination at some point?

   20· · A.· · · · ·I did.

   21· · Q.· · · · ·I think you said that you had testified

   22· · about his case sometime in the last few weeks?

   23· · A.· · · · ·Arbitration hearing last week.

   24· · Q.· · · · ·Oh, okay.· So his case is still in


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   ·1· · arbitration?

   ·2· · A.· · · · ·Yeah.

   ·3· · Q.· · · · ·Okay.· I didn't know.· When was he

   ·4· · terminated?· Do you know what, I'll withdraw it.

   ·5· · A.· · · · ·I think it was 2016, but I'm not sure.

   ·6· · Q.· · · · ·Okay.· During the Morgan investigation,

   ·7· · Officer Morgan's union attorney Ron Snyder was

   ·8· · sitting in on his interviews.· Do you remember

   ·9· · that at all?

   10· · A.· · · · ·I saw reference to it.

   11· · Q.· · · · ·Okay.· At some point Mr. Snyder had

   12· · recommended checking the walkie log to see whether

   13· · Officer Morgan had any walkie-talkie activity

   14· · during the times when he was supposed to be at

   15· · Stratford Lakes or during other times that could

   16· · confirm that he was on duty.· Do you remember

   17· · that?

   18· · A.· · · · ·Not specifically, no.

   19· · Q.· · · · ·Okay.· I'll represent to you that both

   20· · Mr. Snyder and Sergeant Decker during the

   21· · interview acknowledged that that could show some

   22· · evidence of Officer Morgan being on duty during

   23· · the time -- during this time period, but nothing

   24· · -- there's no indication that anybody actually


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   ·1· · followed up and pulled that data from the

   ·2· · division.· Do you have any knowledge of why that

   ·3· · would be?

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·5· · A.· · · · ·Not that I recall, no.

   ·6· · Q.· · · · ·Okay.· There is a statement in the

   ·7· · internal affairs summary that Officer Morgan

   ·8· · consistently marked in service for his other

   ·9· · special duty assignments but not for the Stratford

   10· · Lakes assignment.· Do you remember that from

   11· · reading it?

   12· · A.· · · · ·I remember that there were notations

   13· · that -- I don't know about the word

   14· · "consistently."· But if you -- if that's what's

   15· · there, then it is.· But I remember that there were

   16· · instances where he did mark with the radio room

   17· · and that there were other instances in some of

   18· · them at least, not more of them, when there

   19· · weren't any radio transmissions or marking in I

   20· · should say were related to his work at Stratford

   21· · Lakes.

   22· · Q.· · · · ·Okay.· Was that something you relied on

   23· · in terms of your determination that Officer Morgan

   24· · was being un -- or being not actually making up


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   ·1· · his hours at Stratford Lakes?

   ·2· · A.· · · · ·I consider it to be a violation of our

   ·3· · rules when you don't mark in service, so, yes.

   ·4· · Q.· · · · ·Well, you -- I'll break it into two

   ·5· · separate things.· First, he was disciplined with a

   ·6· · DCC for not marking in service on a number of

   ·7· · occasions --

   ·8· · A.· · · · ·I believe that's true.

   ·9· · Q.· · · · ·-- related to this investigation.

   10· · That's not what he was terminated for though?

   11· · A.· · · · ·Correct.

   12· · Q.· · · · ·My question is did you rely on Sergeant

   13· · Meister's assertion that Officer Morgan was

   14· · marking in service for all of his other

   15· · assignments but not for the Stratford Lakes

   16· · assignment in determining whether or not Officer

   17· · Morgan was actually working the Stratford Lake

   18· · assignment?

   19· · A.· · · · ·I considered it.· I wouldn't say that I

   20· · relied on it, but I considered it.

   21· · Q.· · · · ·Okay.

   22· · · · · · · ·(A short recess is taken.)

   23· · BY MR. VARDARO:

   24· · Q.· · · · ·I'm going to move onto a different


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   ·1· · subject.

   ·2· · · · · · · ·At the chief's hearing -- well, my

   ·3· · understanding is during chief's hearings for

   ·4· · discipline during your time as chief, there would

   ·5· · be some form of presentation from professional

   ·6· · standards lieutenant, whoever was the lieutenant

   ·7· · attending that hearing about comparable cases?

   ·8· · A.· · · · ·Not during the hearing.

   ·9· · Q.· · · · ·Not during the hearing.· When would

   10· · that be?

   11· · A.· · · · ·After we had the hearing, went off the

   12· · record, excused the focus officer and the

   13· · representatives, then we would talk about what was

   14· · presented.· And if it was something that I wasn't

   15· · already aware of, then we would talk about

   16· · comparables.

   17· · Q.· · · · ·Okay.· When you say it was something

   18· · you weren't already aware of, do you mean if it

   19· · was comparables you weren't already aware of?

   20· · A.· · · · ·Sometimes going into a hearing, I would

   21· · have already asked for the comparables.

   22· · Q.· · · · ·Okay.

   23· · A.· · · · ·And the lieutenants might have already

   24· · provided that to me.


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   ·1· · Q.· · · · ·Okay.· Do you remember which it was in

   ·2· · Officer Morgan's case, whether you got the

   ·3· · comparables before or after the hearing?

   ·4· · A.· · · · ·I don't recall.

   ·5· · Q.· · · · ·Okay.· When you would get a list of

   ·6· · comparables before or after the hearing, was it

   ·7· · provided to you in writing or was it just a verbal

   ·8· · summary from the lieutenant?

   ·9· · A.· · · · ·It varied.· Sometimes it was in writing

   10· · and sometimes it was verbal.

   11· · Q.· · · · ·Okay.· Do you remember what form,

   12· · whether you got a verbal or a written summary of

   13· · comparables from the PSB lieutenant in Officer

   14· · Morgan's case?

   15· · A.· · · · ·No.

   16· · Q.· · · · ·Okay.· Do you remember which PSB

   17· · lieutenant gave you the list?

   18· · A.· · · · ·No.

   19· · Q.· · · · ·Okay.· Can you describe to me what the

   20· · discussion was after the -- after you went off the

   21· · record in Officer Morgan's chief's hearing?

   22· · A.· · · · ·I don't have any specific recollections

   23· · of the discussion.

   24· · Q.· · · · ·How about generally?


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   ·1· · A.· · · · ·I would have to -- to guess, because I

   ·2· · don't have a specific memory of it.· But, you

   ·3· · know, typically we would say what do you think of

   ·4· · the presentation of the information?· Are there --

   ·5· · is there enough evidence here.· I would generally

   ·6· · ask the deputy chief present to say what they

   ·7· · think before I do so that, you know, I don't give

   ·8· · them an idea of where I might be going.· I would

   ·9· · sometimes ask the people that aren't the deputy

   10· · chief what they thought.· If I had any questions

   11· · of the IA investigator, I would ask.· I just don't

   12· · remember any specific conversation in this

   13· · particular case.

   14· · Q.· · · · ·Okay.· Is there anything you could look

   15· · at that could remind you of the conversation?

   16· · A.· · · · ·Not that I am aware of.

   17· · Q.· · · · ·Okay.· No notes, no minutes, nothing

   18· · like that?

   19· · A.· · · · ·No.

   20· · Q.· · · · ·Okay.· Do you remember which deputy

   21· · chief was in attendance?

   22· · A.· · · · ·Well, based on this, I would assume

   23· · that it was Chief Kuebler.

   24· · Q.· · · · ·Okay.· What gives you that --


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   ·1· · A.· · · · ·Well, he was the deputy chief that

   ·2· · signed off on this.

   ·3· · Q.· · · · ·Okay.· Do you remember in particular

   ·4· · whether Chief Kuebler presented a point of view in

   ·5· · terms of this case and the strength of the

   ·6· · evidence or anything like that?

   ·7· · A.· · · · ·I don't recall that it was different

   ·8· · than mine --

   ·9· · Q.· · · · ·Okay.

   10· · A.· · · · ·-- of it being sustained and --

   11· · Q.· · · · ·Okay.· Do you remember --

   12· · A.· · · · ·-- that the evidence was there.

   13· · Q.· · · · ·Okay.· Do you remember any difference

   14· · of opinion among anybody involved?

   15· · A.· · · · ·Not that I recall.

   16· · Q.· · · · ·Okay.· Do you remember what any of the

   17· · comparable cases were?

   18· · A.· · · · ·I don't know that we had too many that

   19· · were comparable about, you know, being accused of

   20· · taking pay for that.· There's one old case that

   21· · ended up getting criminally charged, went into

   22· · diversion program and got expunged from the

   23· · record, so it's sealed records and there's no

   24· · information that's available.


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   ·1· · Q.· · · · ·Okay.· Was that officer terminated?

   ·2· · A.· · · · ·No.· No.

   ·3· · Q.· · · · ·Do you remember who the officer was?

   ·4· · A.· · · · ·Yeah.· I know who it was.

   ·5· · Q.· · · · ·Are you not able to tell me because of

   ·6· · the --

   ·7· · A.· · · · ·I don't believe I'm allowed to.

   ·8· · Q.· · · · ·So you're not going to tell me?

   ·9· · A.· · · · ·It's a sealed record.

   10· · Q.· · · · ·It's a sealed record?

   11· · A.· · · · ·It's not even -- the -- without naming

   12· · the officer, you know, it was about a case where

   13· · an officer was working special duty for a bank and

   14· · hadn't worked there for -- or was accused of not

   15· · having worked there for quite sometime, and the

   16· · records indicated that that was true, he

   17· · acknowledged it at some point in time.· He was

   18· · charged criminally with a felony and the bank kind

   19· · of backed out on the prosecution's side of, you

   20· · know, going after it very hard so they agreed to

   21· · the diversion program.· Somebody in CPD agreed to

   22· · diversion program unbeknownst to the chief of

   23· · police and so he was allowed to go through that

   24· · program.· After a year, he was allowed to have the


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   ·1· · record sealed.

   ·2· · Q.· · · · ·Okay.· That was before you were chief?

   ·3· · A.· · · · ·It was when I was in internal affairs

   ·4· · and/or part of internal affairs and maybe another

   ·5· · assignment after that.

   ·6· · Q.· · · · ·Okay.

   ·7· · A.· · · · ·So --

   ·8· · Q.· · · · ·Was the officer disciplined?

   ·9· · A.· · · · ·I don't recall.

   10· · Q.· · · · ·Was there some aspect of the criminal

   11· · diversion program that was binding on the division

   12· · of police?

   13· · A.· · · · ·Well, the conviction went away, so I --

   14· · I believe there was also contractual issue, I

   15· · think that they said that there was -- a violation

   16· · of 814, I believe, which was something to do with

   17· · it extending beyond 180 days and no discipline or

   18· · something like that.· Citizen complaint kind of a

   19· · thing whether it was or wasn't.

   20· · Q.· · · · ·Uh-huh.

   21· · A.· · · · ·So I think contract -- and there might

   22· · have been a disciplinary process.· It's just that

   23· · I was a commander at the time and I don't recall

   24· · all the details of what happened after it was


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   ·1· · outside of my bailiwick.

   ·2· · Q.· · · · ·Okay.

   ·3· · A.· · · · ·I just remembered that that was an

   ·4· · accusation of being paid for special duty and not

   ·5· · being there.

   ·6· · Q.· · · · ·Okay.· Were there any comparables

   ·7· · presented where the officer was terminated?

   ·8· · A.· · · · ·I can't remember anything that was that

   ·9· · close.

   10· · Q.· · · · ·Okay.· Were there any other comparables

   11· · presented that -- where the officer wasn't

   12· · terminated?

   13· · A.· · · · ·Not that I recall.· I mean like I said,

   14· · I don't recall the specific conversation.· And I

   15· · don't recall another instance where the allegation

   16· · was that you're getting paid and you weren't

   17· · there.

   18· · Q.· · · · ·Okay.· Is it your recollection in

   19· · general that there was only one comparable

   20· · presented, or do you think there were more

   21· · comparables and you just can't remember what they

   22· · were?

   23· · A.· · · · ·I don't even know if that other one was

   24· · presented as much as I remember it.


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   ·1· · Q.· · · · ·Okay.· So is it possible there were no

   ·2· · comparables presented?

   ·3· · A.· · · · ·Well, we always try to, you know, see

   ·4· · if anything else will be called a comparable.· And

   ·5· · so we might have discussed other instances where

   ·6· · people have been paid for work not performed.

   ·7· · Q.· · · · ·Uh-huh.

   ·8· · A.· · · · ·I know that we've had a lieutenant that

   ·9· · -- a lieutenant that was suspected of abusing

   10· · overtime.· And he I believe resigned before he got

   11· · to the -- I think I made a recommendation of

   12· · termination, but I think he might have resigned

   13· · before he was fired.

   14· · Q.· · · · ·Was that Troy --

   15· · A.· · · · ·Troy Casner.

   16· · Q.· · · · ·-- Casner, yeah.

   17· · A.· · · · ·Yeah.

   18· · Q.· · · · ·Okay.· In that case, the lieutenant was

   19· · also alleged to have tampered with the

   20· · investigation, right?

   21· · A.· · · · ·Oh, by talking to people.· I think that

   22· · was -- yes.

   23· · Q.· · · · ·He was talking to his subordinate about

   24· · the investigation --


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   ·1· · A.· · · · ·I believe that that's --

   ·2· · Q.· · · · ·-- and trying to compare stories with

   ·3· · them?

   ·4· · A.· · · · ·I think that's it, yes.

   ·5· · Q.· · · · ·I'm sorry.· We're talking over each

   ·6· · other.

   ·7· · A.· · · · ·Or tell them what he wanted them to

   ·8· · remember.

   ·9· · Q.· · · · ·Right.

   10· · A.· · · · ·Correct.

   11· · Q.· · · · ·And that was a -- that was sustained

   12· · against him --

   13· · A.· · · · ·Yes.

   14· · Q.· · · · ·-- in addition to the time issue?

   15· · A.· · · · ·I don't recall what the allegations

   16· · were.· But I remember that it was about time and

   17· · that, yes, he was accused of talking to people.

   18· · Q.· · · · ·Okay.· Do you remember whether or not

   19· · that was brought up as a comparable in the Kevin

   20· · Morgan discussion or are you just sort of trying

   21· · to remember other similar cases?

   22· · A.· · · · ·Yeah.· The latter.

   23· · Q.· · · · ·The second.· Okay.

   24· · · · · · · ·Is there anything that you could look


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   ·1· · at to remind you of what the comparable cases

   ·2· · would have been that you discussed?

   ·3· · A.· · · · ·Like I said, I just don't remember that

   ·4· · there was anything that I would describe as a

   ·5· · close comparable.

   ·6· · Q.· · · · ·Okay.· Well, can you remember what the

   ·7· · reasoning was discussed whether it was your

   ·8· · reasoning or the reasoning presented by others as

   ·9· · to why Officer Morgan was terminated in this case?

   10· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   11· · A.· · · · ·I could only tell you that I was

   12· · convinced that there was some critical misconduct

   13· · that had occurred that was of a criminal nature,

   14· · theft.· I considered it to be that he was asked to

   15· · work four hours a week and could not prove that he

   16· · had worked four hours a week.· I believe that the

   17· · evidence showed that there was at least some type

   18· · of deception or deceit going on with regard to

   19· · implying that he was working Wednesday nights from

   20· · 9:00 to 1:00 because that's what the invoices were

   21· · for, that he was in two places or, you know,

   22· · thought to be in two places at the same time, that

   23· · he was expected to work four-hour shifts and

   24· · sometimes worked less than four-hour shifts but


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   ·1· · still accepted the payment for the entire four

   ·2· · hours.· His -- his answers, his reasoning, his

   ·3· · defense was not credible enough to make me believe

   ·4· · that those facts weren't true.

   ·5· · Q.· · · · ·Anything else?

   ·6· · A.· · · · ·Not that I recall.

   ·7· · Q.· · · · ·Okay.· You knew that the invoices for

   ·8· · the jobs were going out the same way every week

   ·9· · regardless of which actual days the officers on

   10· · this assignment were working?

   11· · A.· · · · ·I understood that he was being paid to

   12· · work Wednesday nights from 9:00 to 1:00 and that's

   13· · what the invoices were being paid for.

   14· · Q.· · · · ·Okay.· But that was true even during

   15· · the time when Officer Morgan was switching days

   16· · with the knowledge and authorization of Officer

   17· · Roberts?

   18· · · · · · · ·MR. COGLIANESE:· Objection.

   19· · A.· · · · ·I don't know about prior to that break

   20· · off point where he got a set schedule.

   21· · Q.· · · · ·Okay.· Assuming for the moment that the

   22· · invoices were basically going out as Wednesdays

   23· · even when his special duty coordinator knew that

   24· · he was working a different schedule, would that


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   ·1· · suggest to you that -- it still suggests to you

   ·2· · that it was deceptive for him to invoice for

   ·3· · Wednesdays when he was working on Fridays or

   ·4· · Sundays or something like that?

   ·5· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·6· · Q.· · · · ·Or was the deceptive part that he

   ·7· · wasn't working the actual number of hours claimed?

   ·8· · A.· · · · ·I would say both.· I don't believe that

   ·9· · he was working the hours claimed.· And the fact

   10· · that prior to he was giving actual hours and then

   11· · stopped giving actual hours in my opinion is very

   12· · damaging with regards to accountability.· You

   13· · know, why would you stop?· If you were told this

   14· · is the schedule, work that schedule, you don't do

   15· · that and you don't provide any of the former --

   16· · formerly provided dates and times, then to me

   17· · that's a big absence and omission that could lead

   18· · to the likelihood that you're deceiving.

   19· · Q.· · · · ·Well, you understood there was a

   20· · difference of recollection between Officer Morgan

   21· · and Officer Roberts in terms of Officer Roberts

   22· · said, yeah, I told him just work Wednesdays from

   23· · now on and Officer Morgan said I'm generally going

   24· · to work Wednesdays but there may be days when I


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   ·1· · have to switch?

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·3· · A.· · · · ·I mean I don't specifically recall

   ·4· · that.· But I knew that they had given somewhat

   ·5· · different statements, yes.

   ·6· · Q.· · · · ·Okay.· You just chose to believe

   ·7· · Officer Roberts rather than Officer Morgan in this

   ·8· · particular instance?

   ·9· · A.· · · · ·Well, I believe that the indications

   10· · are that Officer Roberts had no reason to make

   11· · something up and that Officer Morgan certainly had

   12· · a reason to remember things differently if it was

   13· · in his favor because he was the one being accused

   14· · of not doing things the right way.

   15· · Q.· · · · ·Okay.· So when two officers --

   16· · A.· · · · ·Officers --

   17· · · · · · · ·MR. COGLIANESE:· Well --

   18· · Q.· · · · ·I'm sorry.· I didn't realized you

   19· · weren't done.

   20· · A.· · · · ·Officer Roberts gave a statement that

   21· · indicated that this is what he had been told by

   22· · management and that he was passing that

   23· · information along, and so I didn't have any reason

   24· · to disbelieve what he had indicated.· You know, I


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   ·1· · -- I know that everybody's memory as we've noted a

   ·2· · number of times is not perfect.· And so it's not

   ·3· · the question always of accusing somebody of lying

   ·4· · or not, it's just that's how they remember things.

   ·5· · And so I didn't have a reason to believe that

   ·6· · Officer Roberts was remembering it, you know,

   ·7· · wrong and I -- I do know that Officer Morgan had a

   ·8· · reason to say, no, it's okay, you know, I'm

   ·9· · allowed to flex my hours, you know, I had a deal,

   10· · they were aware of it.

   11· · Q.· · · · ·Because --

   12· · A.· · · · ·It could be true, but it could be made

   13· · up.

   14· · Q.· · · · ·Because he was under investigation, he

   15· · had a reason to make it up?

   16· · A.· · · · ·Absolutely.

   17· · Q.· · · · ·So one officer is under investigation

   18· · and the other officer isn't, that's a basis for

   19· · concluding that the one officer is being truthful

   20· · and the other one isn't?

   21· · · · · · · ·MR. COGLIANESE:· Objection.

   22· · A.· · · · ·That's not the only factor that's taken

   23· · into consideration.· But certainly if you're the

   24· · one under investigation, there's kind of an


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   ·1· · automatic motive to lie.

   ·2· · Q.· · · · ·Okay.

   ·3· · A.· · · · ·I've taught that for years, and said

   ·4· · that, you know, why do we trust an officer when

   ·5· · you say you ran a red light?· And we believe him

   ·6· · up and down, right?· But then when somebody makes

   ·7· · a complaint and says, well, they were rude to me,

   ·8· · now -- now the officer is accused.· They didn't

   ·9· · change, there's just a inbuilt motivation to deny,

   10· · that every, every person that talks about

   11· · credibility will teach you that.

   12· · Q.· · · · ·Okay.· But typically in a CPD

   13· · investigation if one officer is saying this

   14· · officer committed misconduct and the officer who

   15· · is being accused says no, I didn't, here's what

   16· · actually happened, the investigator, the chain of

   17· · command, they don't generally take that as

   18· · anything -- as a, you know, well, this officer is

   19· · less credible because he's under investigation,

   20· · that's not -- I can't say I've ever seen that

   21· · cited as a factor in an investigation, that's why

   22· · I'm asking you about it.

   23· · A.· · · · ·I'm not sure what the -- what the

   24· · question is.


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.

   ·2· · Q.· · · · ·Your testimony is when one CPD officer

   ·3· · makes an allegation against another CPD officer,

   ·4· · the complaining officer is automatically more

   ·5· · credible than the focus officer?

   ·6· · A.· · · · ·I didn't say that.

   ·7· · Q.· · · · ·In a sort of he-said-she-said?

   ·8· · A.· · · · ·I didn't say that.

   ·9· · Q.· · · · ·Okay.· In the Roberts/Morgan situation,

   10· · Roberts -- if Roberts said, yeah, I told him to

   11· · show up every Wednesday 9:00 to 1:00 and Morgan

   12· · said 9:00 to -- Wednesday 9:00 to 1:00 was the

   13· · baseline, but I told him that I might not be able

   14· · to make it every Wednesday and I would work

   15· · different days, did -- that's a he-said-she-said.

   16· · By itself, that would be a he-said-she-said type

   17· · situation.

   18· · A.· · · · ·Well, what he said --

   19· · · · · · · ·MR. COGLIANESE:· Objection.

   20· · A.· · · · ·-- was plausible.· He went to look for

   21· · him on a Wednesday night.· Why would you look for

   22· · him on a Wednesday night if you thought that he

   23· · was allowed to work differing shifts and, you

   24· · know, follow-up on what had been told by


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   ·1· · management who didn't see him on a Wednesday

   ·2· · night.· Why would he look for him on a Wednesday

   ·3· · night?· So it's based on what he said, not just

   ·4· · he's the complaining --

   ·5· · Q.· · · · ·It's based on what they each said and

   ·6· · then some of the surrounding circumstances is what

   ·7· · you're saying?

   ·8· · A.· · · · ·Yeah.

   ·9· · Q.· · · · ·Okay.· Officer Morgan was not charged

   10· · with or nor did he have a sustained allegation of

   11· · untruthful conduct in this situation, correct?

   12· · A.· · · · ·Correct.

   13· · Q.· · · · ·Once you recommended termination --

   14· · well, first of all, let me ask a basic question.

   15· · Your recommendation for discipline in this

   16· · situation was a 240-hour suspension I believe and

   17· · termination?

   18· · A.· · · · ·I believe so.

   19· · Q.· · · · ·What's the purpose of that?· Sort of --

   20· · I mean, obviously a six week suspension doesn't

   21· · really mean a whole lot if the officer is also

   22· · being terminated, right?

   23· · A.· · · · ·Yep.· That was something that I saw

   24· · being done by previous chiefs and there wasn't a


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   ·1· · lot of explanation for that in the past.· But I

   ·2· · had never been given any guidance not to do that

   ·3· · by the safety director.

   ·4· · Q.· · · · ·Just sort of tradition?

   ·5· · A.· · · · ·It was a little bit of tradition.· Also

   ·6· · just that, you know, in case an arbitrator or

   ·7· · somebody decided or even the safety director

   ·8· · decided that termination wasn't, you know --

   ·9· · wasn't appropriate.· Okay, but if you don't do

   10· · that, then do this.

   11· · Q.· · · · ·Uh-huh.

   12· · A.· · · · ·Because if it's either, you know --

   13· · Q.· · · · ·It's just --

   14· · A.· · · · ·If it's either no termination or

   15· · scot-free, then I think that there should be some

   16· · type of corrective action.· So it's my way and I

   17· · think previous chiefs way of saying I believe it's

   18· · very strong corrective action that's necessary.

   19· · And if you don't go for the termination, then, you

   20· · know, at least give them a suspension.

   21· · Q.· · · · ·Okay.· Did you attend a director's

   22· · hearing in Kevin Morgan's case?

   23· · A.· · · · ·No.

   24· · Q.· · · · ·Do you ever attend director's hearings?


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   ·1· · A.· · · · ·No.

   ·2· · Q.· · · · ·Okay.· Did you have any discussion with

   ·3· · -- at the time it was Director Speaks who did

   ·4· · Kevin Morgan's director's hearing.· Did you have

   ·5· · any discussion with Director Speaks about this

   ·6· · case?

   ·7· · A.· · · · ·Not that I recall.

   ·8· · Q.· · · · ·Would you typically?

   ·9· · A.· · · · ·No.

   10· · Q.· · · · ·Okay.· Did you have any discussions

   11· · with the union about trying to resolve Kevin

   12· · Morgan's case based on his suspension or something

   13· · less than a termination?

   14· · A.· · · · ·Not that I recall.

   15· · Q.· · · · ·Okay.· Would you typically have a

   16· · discussion with the union about that?

   17· · A.· · · · ·Not that I recall, no.

   18· · Q.· · · · ·Okay.· Did you have any role in Kevin

   19· · Morgan's arbitration?

   20· · A.· · · · ·I might have very well testified.                    I

   21· · just don't specifically remember.

   22· · Q.· · · · ·Okay.· Do you remember that in Kevin

   23· · Morgan's case he -- the City attempted to deprive

   24· · Officer Morgan of his arbitration right because he


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   ·1· · had filed a charge with the EEOC or the civil

   ·2· · rights commission?

   ·3· · · · · · · ·MR. COGLIANESE:· Objection.

   ·4· · A.· · · · ·I think I'm aware of that.

   ·5· · Q.· · · · ·Did you have any opinion or input into

   ·6· · that decision?

   ·7· · A.· · · · ·That's not my call.

   ·8· · Q.· · · · ·Okay.· Do you know of an officer named

   ·9· · Ricky Anderson?

   10· · A.· · · · ·Yeah.

   11· · Q.· · · · ·Was he terminated or disciplined at

   12· · some point for a time -- like, misreporting time

   13· · incident?

   14· · A.· · · · ·Could be.

   15· · Q.· · · · ·Okay.· Was he ever mentioned as a

   16· · comparable in Kevin Morgan's case?

   17· · A.· · · · ·I don't know.

   18· · Q.· · · · ·Okay.· Was that a special duty

   19· · situation?

   20· · A.· · · · ·I don't know.· I don't recall what

   21· · you're talking about, so I can't --

   22· · Q.· · · · ·Okay.· You recalled making a

   23· · disciplinary recommendation in the case involving

   24· · Bronson Constable and Doug Jones and some other


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   ·1· · officers regarding misreporting leave?

   ·2· · A.· · · · ·Yes.· I remember a case involving him

   ·3· · and Sergeant Jones and I'm not sure who else.

   ·4· · Q.· · · · ·Would you differ with me if I said that

   ·5· · your recommendation in the Constable and Jones

   ·6· · case came within a few months of Officer Morgan's

   ·7· · case?

   ·8· · A.· · · · ·Would I what?

   ·9· · Q.· · · · ·Would you disagree with that general

   10· · timeline?

   11· · A.· · · · ·I don't recall specifically.· But I

   12· · wouldn't have the facts to disagree with you.

   13· · Q.· · · · ·Okay.· Do you remember which case

   14· · happened first?

   15· · A.· · · · ·Not really.

   16· · Q.· · · · ·Okay.· The findings in the Constable

   17· · and Jones case were very similar to Officer

   18· · Morgan's case, right?

   19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   20· · A.· · · · ·What do you mean by "findings"?

   21· · Q.· · · · ·The findings -- the disciplinary

   22· · findings against the officers, a similar rule of

   23· · conduct, it was a similar circumstance?

   24· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.


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   ·1· · A.· · · · ·It could be.· I just don't remember the

   ·2· · specific charges.

   ·3· · Q.· · · · ·Okay.· The officers in those -- first

   ·4· · of all, those are two sergeants, right?· Bronson

   ·5· · Constable and Doug Jones?

   ·6· · A.· · · · ·Correct.

   ·7· · Q.· · · · ·There was also a Sergeant Fox, I

   ·8· · believe it was, under investigation?

   ·9· · A.· · · · ·Yeah, that sounds familiar.

   10· · Q.· · · · ·And Sergeant Knight, who was Jennifer

   11· · Knight's husband?

   12· · A.· · · · ·Correct.

   13· · Q.· · · · ·As well as their lieutenant, whose name

   14· · escapes me at the moment was --

   15· · A.· · · · ·Spears.

   16· · Q.· · · · ·Spears was investigated for failure to

   17· · supervise?

   18· · A.· · · · ·Uh-huh.

   19· · Q.· · · · ·Sorry.· You have to say yes or no.· You

   20· · said uh-huh.

   21· · A.· · · · ·Yes.

   22· · Q.· · · · ·Okay.· And those are all white

   23· · officers?

   24· · A.· · · · ·Yes.


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   ·1· · Q.· · · · ·Okay.· The allegation -- I want to

   ·2· · focus particularly on Constable and Jones because

   ·3· · I think the other officers were exonerated or

   ·4· · found to have committed less serious conduct.· But

   ·5· · the findings as to -- the investigative findings

   ·6· · as to Constable and Jones was that they had failed

   ·7· · to report to work on a number of occasions as

   ·8· · patrol sergeants for their regular duty and had

   ·9· · not submitted leave slips for those hours.· Does

   10· · that sound right?

   11· · A.· · · · ·Correct.

   12· · Q.· · · · ·Okay.· This is another investigation I

   13· · assume you were kept updated by Commander Knight

   14· · or whoever was in charge of IAB at the time?

   15· · A.· · · · ·Yes.

   16· · Q.· · · · ·The allegations against those sergeants

   17· · was sustained and recommended for departmental

   18· · charges?

   19· · A.· · · · ·I know some were.· I don't know if

   20· · everything was.· But, yes, I do know that some

   21· · were, yes.

   22· · Q.· · · · ·Well, one difference actually in this

   23· · case was those two officers, those two sergeants

   24· · were alleged to have been untruthful during their


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   ·1· · investigations.· Does that ring a bell?

   ·2· · A.· · · · ·I don't specifically recall it, but

   ·3· · I --

   ·4· · Q.· · · · ·Okay.

   ·5· · A.· · · · ·It could very well be.

   ·6· · Q.· · · · ·If I said --

   ·7· · A.· · · · ·Were they charged with untruthfulness?

   ·8· · Q.· · · · ·I will represent to you they were --

   ·9· · there was an allegation of untruthfulness brought

   10· · up during the investigation by internal affairs,

   11· · and the internal affairs recommendation was not

   12· · sustained but the investigator indicated that it

   13· · was a close call.· Does that -- is any of this

   14· · refreshing your recollection or you just don't

   15· · remember this investigation?

   16· · A.· · · · ·No, I remember --

   17· · Q.· · · · ·Okay.

   18· · A.· · · · ·-- the investigation as a whole.· But I

   19· · don't remember a lot of specific details.

   20· · Q.· · · · ·Okay.· Do you remember that in the

   21· · Constable and Jones case that Bronson Constable

   22· · had sustained allegations against him that he had

   23· · failed to take leave for 19 full days that he had

   24· · not reported to work?


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   ·1· · A.· · · · ·It could be that.

   ·2· · Q.· · · · ·Sounds like that ball park?

   ·3· · A.· · · · ·Number, uh-huh.

   ·4· · Q.· · · · ·It was a total of 152 hours of working

   ·5· · time.

   ·6· · A.· · · · ·Okay.

   ·7· · Q.· · · · ·And Sergeant Jones it was 23 days and

   ·8· · 184 hours.· Does that sound about right?

   ·9· · A.· · · · ·Could be, yeah.

   10· · Q.· · · · ·Okay.· And it was -- I've seen some

   11· · news reports, I haven't done the calculations

   12· · myself.· But I've seen some news reports

   13· · indicating that the time that was not taken --

   14· · that leave wasn't taken for was worth seven or

   15· · eight thousand dollars for each officer?

   16· · A.· · · · ·Okay.

   17· · Q.· · · · ·Does that sound about right?

   18· · A.· · · · ·I have no idea what their pay rate was

   19· · or what the amount of money that could have been,

   20· · but --

   21· · Q.· · · · ·Do you recall from reading Officer

   22· · Morgan's investigation that he was being alleged

   23· · to have failed to report for 11 four-hour shifts?

   24· · · · · · · ·MR. COGLIANESE:· Objection.


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   ·1· · A.· · · · ·Say that again.

   ·2· · Q.· · · · ·The allegations against Officer Morgan

   ·3· · consisted of -- the ones where he was alleged not

   ·4· · to have shown up at all for shifts at Stratford

   ·5· · Lakes was for 11 four-hour shifts?

   ·6· · A.· · · · ·Well, you said alleged.· I mean, I -- I

   ·7· · don't know that that number represents all the

   ·8· · allegations.

   ·9· · Q.· · · · ·Those are the sustained allegations.

   10· · A.· · · · ·Okay.

   11· · Q.· · · · ·The sustained allegations were 11

   12· · four-hour shift and then a few partial?

   13· · A.· · · · ·You didn't say sustained before.

   14· · Q.· · · · ·I'm sorry.· I refer to them as alleged

   15· · because Officer Morgan does not --

   16· · A.· · · · ·But I think there were other dates that

   17· · were alleged as well, so.

   18· · Q.· · · · ·Sure.· So for these purposes, I'm

   19· · talking about the sustained allegations confirmed

   20· · by the division of police, consisted of 11

   21· · four-hour shifts and then a few partial shifts?

   22· · A.· · · · ·That sounds right.

   23· · Q.· · · · ·Okay.· And so roughly -- so if you take

   24· · that as, you know -- anyway, bottom line is it was


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   ·1· · a much fewer number of hours than Constable and

   ·2· · Jones overall?

   ·3· · A.· · · · ·However you want to describe much,

   ·4· · it's --

   ·5· · Q.· · · · ·Okay.

   ·6· · A.· · · · ·-- a difference.

   ·7· · Q.· · · · ·I mean about a quarter?

   ·8· · A.· · · · ·And smaller.

   ·9· · Q.· · · · ·It's about a quarter, right?· I mean --

   10· · A.· · · · ·Eleven and nineteen are not a quarter.

   11· · Q.· · · · ·I guess I would say a third.· Well, but

   12· · it's 11 four-hour shifts versus 19 eight-hour

   13· · shifts?

   14· · A.· · · · ·Okay.

   15· · Q.· · · · ·So you're talking about a far less -- a

   16· · far lower amount of time?

   17· · · · · · · ·MR. COGLIANESE:· Objection.

   18· · Q.· · · · ·Do you disagree with that

   19· · characterization?

   20· · A.· · · · ·Amount of time, it's definitely a

   21· · difference, yes.

   22· · Q.· · · · ·Yeah.· The amount of time and money at

   23· · stake in the Constable and Jones case was much

   24· · more than the amount of time and money at stake in


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   ·1· · the Morgan case?

   ·2· · · · · · · ·MR. COGLIANESE:· Objection.

   ·3· · A.· · · · ·You can characterize it that way if

   ·4· · you'd like.

   ·5· · Q.· · · · ·Okay.· Well, would you characterize it

   ·6· · that way?

   ·7· · A.· · · · ·There was a difference.· Yes.

   ·8· · Q.· · · · ·And it was a fairly -- I mean, in terms

   ·9· · of proportions, it was a fairly large difference?

   10· · · · · · · ·MR. COGLIANESE:· Objection.

   11· · A.· · · · ·I don't know what the numbers are.· But

   12· · yeah, it was smaller.

   13· · Q.· · · · ·Okay.· Does it matter in an

   14· · investigation -- like in terms of the discipline

   15· · whether an officer failed to report for one shift

   16· · or 20 shifts?

   17· · A.· · · · ·Yes.

   18· · Q.· · · · ·Okay.· So quantity of time and money

   19· · being, you know, misreported or stolen matters?

   20· · A.· · · · ·Yeah.· I don't look at it as the money

   21· · because pay rates are different and all that kind

   22· · of stuff.· I mean, certainly I need to be

   23· · conscious of the fact that, you know, the

   24· · taxpayers are paying our salaries.· Special duty


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   ·1· · employers are paying special duty employee

   ·2· · salaries.· But it's the act of misrepresenting or

   ·3· · not being present or not being on time that is

   ·4· · most relevant.

   ·5· · Q.· · · · ·Okay.· But the quantity matters, too,

   ·6· · in terms -- for instance, an officer comes into

   ·7· · work 20 minutes late 10 days in a row versus the

   ·8· · officer just skips 10 shifts in a row, that's a

   ·9· · different volume of misconduct, right?

   10· · · · · · · ·MR. COGLIANESE:· Objection.

   11· · A.· · · · ·There's a different amount, but it

   12· · doesn't mean that the behavior is less serious.

   13· · Q.· · · · ·Okay.· So you can see disciplining two

   14· · officers the same for one of them shows up late 10

   15· · days in a row and one of them just doesn't show up

   16· · 10 days in a row?

   17· · · · · · · ·MR. COGLIANESE:· Objection.

   18· · A.· · · · ·It depends on the circumstances.                   I

   19· · mean, were they ordered to be here the next day,

   20· · you know, were they, you know -- I mean, the facts

   21· · of each case matter.· And I can't theoretically

   22· · say one is different than the other without

   23· · knowing what each situation is and calls for and

   24· · what the responses would be and who was aware and


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   ·1· · all of that.

   ·2· · Q.· · · · ·Okay.· So you can't tell me whether

   ·3· · skipping 20 minutes of a shift is the same as

   ·4· · skipping the shift?

   ·5· · · · · · · ·MR. COGLIANESE:· Objection.

   ·6· · A.· · · · ·There's a difference.· But as far as

   ·7· · the outcome of a disciplinary decision, it still

   ·8· · depends on what the facts are.

   ·9· · Q.· · · · ·Okay.· Assuming every other fact about

   10· · the case is the same, there's no special order or

   11· · no, you know -- anything like that, wouldn't you

   12· · expect that the disciplinary recommendation all

   13· · the way up the chain and including yourself would

   14· · be more for the officer who skips an entire shift

   15· · than the officer who skips 20 minutes of a shift?

   16· · · · · · · ·MR. COGLIANESE:· Objection.

   17· · A.· · · · ·If every single thing is the same, the

   18· · defense is the same, there might be a difference.

   19· · Q.· · · · ·Okay.· Do you remember -- first of all,

   20· · it was Daniel Weaver that did the investigation of

   21· · Constable and Jones.· Does that ring any bells?

   22· · A.· · · · ·Sounds likely.

   23· · Q.· · · · ·Okay.· Do you remember -- first of all,

   24· · the officers, Sergeant Jones, Sergeant Constable


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   ·1· · never admitted any of their alleged misconduct?

   ·2· · A.· · · · ·Well, Sergeant Jones came forward after

   ·3· · Constable was accused and said I might have

   ·4· · misreported some of my time, so he in one sense

   ·5· · came forward with potential errors, but ultimately

   ·6· · he denied that he had stolen time.

   ·7· · Q.· · · · ·And Constable said that he never did

   ·8· · anything wrong and he submitted leave slips for

   ·9· · every hour of time that he missed?

   10· · A.· · · · ·Well, I think that's the gist of that,

   11· · yeah.

   12· · Q.· · · · ·And in Sergeant Jones's case the fact

   13· · that he came forward with additional leave slips

   14· · that he had not previously submitted was actually

   15· · pretty strong evidence of his other misconduct

   16· · that he didn't admit?

   17· · A.· · · · ·It didn't help him at all.

   18· · Q.· · · · ·In fact, it made it appear that he was

   19· · being purposefully dishonest?

   20· · A.· · · · ·Well, misleading at least, yeah.

   21· · Q.· · · · ·Because he had come forward with leave

   22· · slips for time that he had not reported missing,

   23· · and it happened that every single new leave slip

   24· · he came up with he had in fact not previously


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   ·1· · submitted leave for and he had no way to know that

   ·2· · without knowing that he hadn't done it.

   ·3· · · · · · · ·MR. COGLIANESE:· Objection.

   ·4· · A.· · · · ·I don't remember all that specific.

   ·5· · Q.· · · · ·Well, does that sound familiar?

   ·6· · Basically he had no way to know which time he had

   ·7· · missed that he had reported leave for and which

   ·8· · time he hadn't reported leave for within a

   ·9· · particular pay period?

   10· · A.· · · · ·That could be.

   11· · Q.· · · · ·And yet he somehow guessed which days

   12· · he had and hadn't reported?

   13· · A.· · · · ·That could be.

   14· · Q.· · · · ·Do you remember that Sergeant Weaver

   15· · had done some sort of back-of-the-envelope

   16· · calculations and come up with, you know, that it

   17· · was sort of extremely unlikely that somebody would

   18· · randomly guess correctly on those?

   19· · A.· · · · ·I don't remember that.

   20· · Q.· · · · ·It was discussed at the chief's

   21· · hearing, so I didn't -- it was like a 1 and 256

   22· · chance or something.· I'm --

   23· · A.· · · · ·I'm --

   24· · Q.· · · · ·I'm just asking your memory.


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   ·1· · A.· · · · ·I'm saying I don't recall it.

   ·2· · Q.· · · · ·Okay.· But it was something along those

   ·3· · lines, that it was the fact that he had come up

   ·4· · with those leave slips made it seem more likely

   ·5· · that he was intentionally failing to submit leave?

   ·6· · A.· · · · ·Yeah.

   ·7· · Q.· · · · ·Which he did not admit to?

   ·8· · A.· · · · ·Yes.· To the best of my recollection,

   ·9· · neither one of them accepted responsibility for

   10· · any errors.

   11· · Q.· · · · ·Okay.· And certainly not for any

   12· · intentional misconduct?

   13· · A.· · · · ·Correct.

   14· · Q.· · · · ·The allegations against those officers

   15· · were widely reported in the media, it was an

   16· · embarrassment for the department.

   17· · A.· · · · ·Yes.

   18· · Q.· · · · ·Do you remember seeing and knowing

   19· · about the news articles at the time?

   20· · A.· · · · ·I can't imagine that I wasn't.

   21· · Q.· · · · ·Okay.· In both of their cases the

   22· · allegations against the officers were submitted

   23· · for criminal investigation, just like in Morgan's

   24· · case.


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   ·1· · A.· · · · ·Is that a question?

   ·2· · Q.· · · · ·Yeah.

   ·3· · A.· · · · ·Yes.

   ·4· · Q.· · · · ·Okay.· And the officer who did the

   ·5· · criminal investigation, do you remember who that

   ·6· · was?

   ·7· · A.· · · · ·No.

   ·8· · Q.· · · · ·Okay.· But you remember it wasn't

   ·9· · prosecuted criminally?

   10· · A.· · · · ·Correct.

   11· · Q.· · · · ·Do you recall that it was prosecutor

   12· · Jeff Blake that made that decision?

   13· · A.· · · · ·I thought Ron O'Brien had weighed in on

   14· · that.

   15· · Q.· · · · ·Do you remember that the reason for the

   16· · lack of prosecution was extremely similar to the

   17· · reasoning that we talked about earlier for not

   18· · prosecuting Officer Morgan?

   19· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   20· · A.· · · · ·No.· What I recalled was that the

   21· · reasons were is that our recordkeeping system was

   22· · such a mess that because we had records of people

   23· · actually doing the opposite, you know, they were

   24· · actually at work when we didn't have a record of


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   ·1· · them being at work and vice versa, that our

   ·2· · recordkeeping system was such a mess that we

   ·3· · couldn't successfully prove that leave slips had

   ·4· · not been turned in.· And so I thought that the

   ·5· · opinion was such that damaged even our

   ·6· · administrative case because of the opinion of -- I

   ·7· · thought it came from Ron O'Brien but maybe it

   ·8· · didn't.· I don't know.

   ·9· · Q.· · · · ·What you're describing to me sounds a

   10· · lot like what Jeff Blake said in Officer Morgan's

   11· · case, which was there weren't very good records of

   12· · the special duty assignment that Officer Morgan

   13· · was participating in.· And the -- the property

   14· · manager for the department complex herself had

   15· · said that she wanted the officers to vary their

   16· · hours and be a little unpredictable and keep

   17· · people on their toes.· That -- you think that you

   18· · see those as very different explanations for not

   19· · prosecuting?

   20· · · · · · · ·MR. COGLIANESE:· Objection.

   21· · A.· · · · ·I -- that's kind of a convoluted

   22· · statement there.· The systems both might have had

   23· · errors, not the same kind of error.· We had a

   24· · leave slip request system in place that is nothing


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   ·1· · like what Officer Morgan is accused of.· You know,

   ·2· · you requested leave by putting a slip in the

   ·3· · supervisor's tray.· The supervisor is supposed to

   ·4· · sign it, take it into payroll and it gets

   ·5· · processed.· That has nothing to do with Officer

   ·6· · Morgan's case.· He wasn't requesting leave.· He

   ·7· · wasn't saying, hey, I'm going to be off this day

   ·8· · or anything like that.· So I don't see a

   ·9· · similarity in the timekeeping process.

   10· · Q.· · · · ·In both cases --

   11· · A.· · · · ·Both.

   12· · Q.· · · · ·I'm sorry.· Go ahead.

   13· · A.· · · · ·Both of them, you know, relied on

   14· · peoples' integrity to a large degree.· And both

   15· · systems ended up being abused in my opinion by

   16· · people that were less than integrity [sic].

   17· · Q.· · · · ·Okay.· So it sounds to me like you're

   18· · agreeing with me that in both cases what the

   19· · prosecutor's office reported was it would be

   20· · difficult to prove or disprove the officer's

   21· · claims who are under investigation and there

   22· · weren't going to be records that could sort of

   23· · demonstratively discredit or be used to prove the

   24· · criminal investigation.


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.

   ·2· · A.· · · · ·I think that was part of the decision

   ·3· · making.· Not all of it for each one, they each had

   ·4· · different factors, but, yeah.

   ·5· · Q.· · · · ·You mentioned the taxpayers and the

   ·6· · private companies that pay for special duty --

   ·7· · taxpayers pay your salaries for the police

   ·8· · officers, and in special duty cases you're talking

   ·9· · about private companies paying for the services?

   10· · A.· · · · ·Of a special duty officer.

   11· · Q.· · · · ·Yeah.

   12· · A.· · · · ·Correct.

   13· · Q.· · · · ·Does that make one or the other more or

   14· · less important in terms of discipline?

   15· · A.· · · · ·It goes back to the act itself.· You

   16· · know, is it stealing, is it deception, is it

   17· · double dipping, all of that.

   18· · Q.· · · · ·I guess I'm asking if you make a

   19· · distinction between those things or whether

   20· · they're all just wrong.

   21· · A.· · · · ·I don't consider it to be a big

   22· · difference, no.

   23· · Q.· · · · ·Would you agree with me that the

   24· · investigation of Constable and Jones was more


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   ·1· · thorough than the investigation in Morgan's case?

   ·2· · A.· · · · ·I don't have any basis to say that.

   ·3· · Q.· · · · ·Well, do you remember that an officer

   ·4· · in the Constable and Jones case, they didn't just

   ·5· · check the duty roster and compare it to their

   ·6· · leave slips, they actually went through and they

   ·7· · examined the officer's radio logs and walkie

   ·8· · records and ID swipes, they went so far as to look

   ·9· · through all the officer's e-mails to see whether

   10· · they might have been sending e-mails on the days

   11· · when they weren't on the duty roster to see if

   12· · they could fill in any of the time for the

   13· · officers?· Do you remember any of that stuff?

   14· · A.· · · · ·I would say I remember that it seemed

   15· · like it was taking forever.· And when I kept

   16· · saying, you know, where is it, where is it, where

   17· · is it, they said, well, we're out of the records

   18· · warehouse going through records or something along

   19· · those lines.· And so I do remember that I was

   20· · constantly being told that there were more records

   21· · that they were searching and more records that

   22· · they were searching, and so whether that amounts

   23· · to more thorough, you know, it certainly sounds

   24· · like there were a lot of records that were


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   ·1· · checked.

   ·2· · Q.· · · · ·Okay.· And a lot of the records that I

   ·3· · just mentioned were actually ways that could have

   ·4· · been used to corroborate Sergeant Constable or

   ·5· · Sergeant Jones' claims that they might have been

   ·6· · in the workplace rather than absent without leave?

   ·7· · A.· · · · ·Well, I mean it's just to get to the

   ·8· · facts.· Whether -- purpose -- you're alluding that

   ·9· · there's a purpose in it.· In my opinion it's to

   10· · try to check the records that are available to see

   11· · what it tells us.

   12· · Q.· · · · ·Right.

   13· · A.· · · · ·It's getting to the facts.

   14· · Q.· · · · ·But the purpose is to rule out the

   15· · possibility or rule in the possibility that the

   16· · officers were actually working as opposed to

   17· · missing time without leave.

   18· · A.· · · · ·Well, it's to determine whether or not

   19· · there's any evidence that says that they were at

   20· · work or not.

   21· · Q.· · · · ·Okay.

   22· · A.· · · · ·I mean, it's --

   23· · Q.· · · · ·In every single one of the cases, in

   24· · every single date that was at issue, the starting


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   ·1· · point for the investigation was Sergeant Constable

   ·2· · and Sergeant Jones were not on the duty roster

   ·3· · that was kept for the patrol sergeants, but they

   ·4· · had also not submitted a leave slip, and it was

   ·5· · not the case in this investigation that sergeant

   ·6· · Weaver just said, okay, well, the evidence is

   ·7· · you're not on the duty roster, so you're not at

   ·8· · work, let's see if there's a leave slip, end of

   ·9· · story.· He went further and said, okay, maybe they

   10· · weren't on the duty roster but maybe they sent an

   11· · e-mail, maybe they swiped their badge, maybe they

   12· · did this.· All of those methods were ways to

   13· · determine whether or not the officers were on duty

   14· · beyond just the initial evidence that they

   15· · weren't, right?

   16· · · · · · · ·MR. COGLIANESE:· Objection.

   17· · A.· · · · ·Yeah.· I mean, it's to find out what --

   18· · what happened, if they were working, if they

   19· · weren't working, if there was any evidence that

   20· · supported it one way or the other.

   21· · Q.· · · · ·In addition to all of those methods,

   22· · Sergeant Weaver also pulled all of the leave slips

   23· · and duty rosters for the other sergeants in the

   24· · same unit.· Do you remember that?


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   ·1· · A.· · · · ·Yeah.· I know that other sergeants were

   ·2· · looked at and that's how I believe Fox and Knight

   ·3· · got looked at.· I don't know who he considered to

   ·4· · be the unit, but, yeah.

   ·5· · Q.· · · · ·So I mean Knight for instance was the

   ·6· · complaining officer; do you remember that?

   ·7· · A.· · · · ·Correct.

   ·8· · Q.· · · · ·And he ended up getting disciplinary

   ·9· · allegations against him, they were ultimately

   10· · exonerated.· But he became a focus --

   11· · A.· · · · ·Yes.

   12· · Q.· · · · ·-- because Sergeant Weaver decided to

   13· · pull all of the records for the other officers?

   14· · A.· · · · ·Yes.

   15· · Q.· · · · ·Which was not -- that was not done in

   16· · Officer Morgan's case for the Stratford Lakes job,

   17· · for instance?· You're not aware of any other

   18· · officers --

   19· · A.· · · · ·No.

   20· · Q.· · · · ·-- whose time for marking in service

   21· · was pulled for that job?

   22· · A.· · · · ·Correct.

   23· · Q.· · · · ·You knew -- I think we alluded to this

   24· · before, but you knew Bronson Constable had a prior


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   ·1· · untruthfulness on his record?

   ·2· · A.· · · · ·I was aware of that.

   ·3· · Q.· · · · ·Because he was on the 1010 or Brady

   ·4· · list of officers who are -- probably shouldn't

   ·5· · testify in criminal proceedings?

   ·6· · A.· · · · ·Well, it --

   ·7· · Q.· · · · ·It would have to be disclosed?

   ·8· · A.· · · · ·Yes.· Yes.

   ·9· · Q.· · · · ·Okay.

   10· · A.· · · · ·Yeah.· Whether they should testify or

   11· · not is as opinion.· But they need to disclose that

   12· · they've been found to be untruthful in the past.

   13· · Q.· · · · ·Okay.· Which is a serious problem for

   14· · an officer's career?

   15· · A.· · · · ·Yes, it is.

   16· · Q.· · · · ·Okay.· In that investigation, do you

   17· · remember input whether you got input from

   18· · professional standards before the -- before the

   19· · chief's hearing or after the hearing about

   20· · comparables?

   21· · A.· · · · ·Specifically what investigation are you

   22· · referring to?

   23· · Q.· · · · ·The Constable and Jones and Fox and

   24· · Knight?


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   ·1· · A.· · · · ·Oh, I thought you might have been

   ·2· · referring to the 1010 one.

   ·3· · Q.· · · · ·No.· I'm sorry.· The 1010 investigation

   ·4· · you had no involvement with, I assume?

   ·5· · A.· · · · ·No.

   ·6· · Q.· · · · ·Okay.· In fact, in -- but you're aware

   ·7· · -- I've seen the 1010 list, we can pull it out if

   ·8· · you want.· But it says on the 1010 list he had

   ·9· · three sustained allegations of untruthful against

   10· · him.

   11· · A.· · · · ·That might be, I --

   12· · Q.· · · · ·1010 list --

   13· · A.· · · · ·-- I don't remember the number.

   14· · Q.· · · · ·The 1010 list is one of the records in

   15· · the department that stays as long as the officer

   16· · is in the department -- in the division, as

   17· · opposed to other things that are required to be

   18· · expunged over time.

   19· · A.· · · · ·Now, yeah.· We didn't have that policy

   20· · in the contract prior to 20 -- what -- '13 or '12,

   21· · something like that.

   22· · Q.· · · · ·Okay.· But at the time we're talking

   23· · about, the 1010 list was permanent?

   24· · A.· · · · ·Now it is, yes.


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   ·1· · Q.· · · · ·Right.· Now and in the 2013

   ·2· · renegotiation or whatever year it was you're

   ·3· · talking about.

   ·4· · A.· · · · ·Yeah, as far as I know.

   ·5· · Q.· · · · ·Okay.· Certainly during ties frame that

   ·6· · I am that we're talking about, the 2014-2015.

   ·7· · A.· · · · ·As far as I know, yes.· There was a lot

   ·8· · of negotiation back and forth about the creation

   ·9· · of that list and who should be on it.

   10· · Q.· · · · ·And Bronson Constable was on it?

   11· · A.· · · · ·I believe so.

   12· · Q.· · · · ·Okay.· But I'm -- so in terms of the

   13· · theft of time, misreporting leave investigation of

   14· · Constable and Jones and the other officers, I

   15· · assume there was a chief's hearing?

   16· · A.· · · · ·Yes.

   17· · Q.· · · · ·And do you remember whether you got

   18· · comparables before the hearing or after the

   19· · hearing?

   20· · A.· · · · ·No.

   21· · Q.· · · · ·Okay.

   22· · A.· · · · ·Not specifically.

   23· · Q.· · · · ·Do you remember whether it was in

   24· · writing or verbally?


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   ·1· · A.· · · · ·No.

   ·2· · Q.· · · · ·Do you remember whether there were any

   ·3· · comparables presented?

   ·4· · A.· · · · ·I assume that we talked about similar

   ·5· · cases that had, you know -- and I just don't

   ·6· · remember the timing.· I don't know if Officer

   ·7· · LaRoche or Kirby were prior to or after.                  I

   ·8· · just --

   ·9· · Q.· · · · ·I think they were both prior to.

   10· · A.· · · · ·Okay.· So they probably would have come

   11· · up.

   12· · Q.· · · · ·You think they were probably discussed?

   13· · A.· · · · ·Yeah.

   14· · Q.· · · · ·Do you think Officer Morgan's case came

   15· · up?

   16· · A.· · · · ·Like I said before, I don't know

   17· · which --

   18· · Q.· · · · ·It was like three-month --

   19· · A.· · · · ·-- occurred first.

   20· · Q.· · · · ·-- difference in the hearing.

   21· · A.· · · · ·Who was first?

   22· · Q.· · · · ·Morgan.

   23· · A.· · · · ·Okay.· So in Jones and Constable, I

   24· · would have already made a decision on Kevin's.


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   ·1· · Q.· · · · ·Morgan's.· Yes.

   ·2· · A.· · · · ·Yeah.· It very well -- I mean, there's

   ·3· · a good chance that it could have been discussed,

   ·4· · yes.

   ·5· · Q.· · · · ·Okay.· Why did you impose -- you

   ·6· · remember you imposed 240 hours suspensions for

   ·7· · Bronson Constable and Doug Jones?

   ·8· · A.· · · · ·I'm sorry.

   ·9· · Q.· · · · ·I'm sorry.· You recommended 240 hours

   10· · suspensions for Bronson Constable and Doug Jones.

   11· · A.· · · · ·Yes.

   12· · Q.· · · · ·Not termination.

   13· · A.· · · · ·Correct.

   14· · Q.· · · · ·Not demotion to officer.

   15· · A.· · · · ·Correct.

   16· · Q.· · · · ·Why that disciplinary recommendation

   17· · and not termination or demotion?

   18· · A.· · · · ·I thought that termination was

   19· · certainly on the table.· I was appalled.· I did

   20· · not like the fact that they didn't take any

   21· · responsibility for it.· I didn't trust Sergeant

   22· · Constable, as I stated before.· But I felt that

   23· · the evidence was not as strong I guess if we're

   24· · comparing these two cases.· The criminal


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   ·1· · investigation and the comments about our leave

   ·2· · keeping system were pretty damaging to the

   ·3· · evidence.· And I thought that a 240-hour

   ·4· · suspension was probably the best that was going to

   ·5· · be able to happen out of this.· And if I thought

   ·6· · that I could have gotten a termination, I probably

   ·7· · would have recommended a termination.· This was

   ·8· · one of those I think where the FOP was as we

   ·9· · discussed earlier fighting very strenuously to

   10· · defend their honor, if you will, that they had

   11· · some.· So that was at least some line of the

   12· · reasoning that I had.· You know, I was sure that

   13· · it had happened, but I thought the evidence was

   14· · not the best.

   15· · Q.· · · · ·Well, first of all, was there any

   16· · difference of opinion in the -- after the chief's

   17· · -- discussion after the chief's hearing about

   18· · whether they should go to termination?

   19· · A.· · · · ·Difference of opinion.

   20· · Q.· · · · ·Yeah.· Did Deputy Chief Kuebler make a

   21· · different recommendation, did anyone else?

   22· · A.· · · · ·I don't recall.

   23· · Q.· · · · ·What was the nature of the FOP's

   24· · advocacy in this situation that led you to believe


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   ·1· · they were defending their honor more?

   ·2· · A.· · · · ·They just wanted to believe that it was

   ·3· · all the fault of the leave keeping system --

   ·4· · Q.· · · · ·Okay.

   ·5· · A.· · · · ·-- the correspondence system.· And it

   ·6· · was a very large loophole if you will that had

   ·7· · been pointed out by the prosecutor's office.· And

   ·8· · that not -- not their fault for, you know, putting

   ·9· · a piece of paper in a tray and it never getting

   10· · processed, so they were -- what I recall -- and I

   11· · don't even remember who they were.· But I just

   12· · remember that it was pretty adamant that we didn't

   13· · have the evidence, period, let alone, you know,

   14· · 51 percent.

   15· · Q.· · · · ·After getting that notification from

   16· · the prosecutor's office, didn't Sergeant Weaver

   17· · address that potential loophole by comparing

   18· · Constable and Jones' time with the other officers

   19· · and sort of getting a baseline for the potential

   20· · errors in the system?

   21· · A.· · · · ·I don't remember any timing on that

   22· · particular thing.· But I --

   23· · Q.· · · · ·Well, the criminal investigation was

   24· · over before the administrative investigation


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   ·1· · started as almost always happens, right?

   ·2· · A.· · · · ·Well, oftentimes there's some

   ·3· · administrative investigation occurring during the

   ·4· · pendency of the criminal investigation but for

   ·5· · interviews of the focus officer.· So I don't know

   ·6· · when that was, but I don't consider it to be -- it

   ·7· · might very well have been that with that

   ·8· · information he did further investigation.

   ·9· · Q.· · · · ·Okay.· You remember by the end of the

   10· · investigation Sergeant Weaver felt it was -- the

   11· · charges against the officers could be sustained

   12· · based on the fact that it was extremely unlikely,

   13· · if not impossible that these two sergeants and

   14· · only these two sergeants would have a much, much

   15· · larger number of missing leave slips than anybody

   16· · else in the unit?

   17· · A.· · · · ·He convinced me that they were guilty

   18· · of the charges.

   19· · Q.· · · · ·And none of that information to your

   20· · knowledge was used by or presented to Ron

   21· · O'Brien's office prior to their determination?

   22· · A.· · · · ·I don't know.

   23· · Q.· · · · ·Okay.

   24· · A.· · · · ·I don't -- I don't know what was


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   ·1· · presented to the prosecutor's office.

   ·2· · Q.· · · · ·Okay.· Have you seen arbitration

   ·3· · proceedings where a letter from the prosecutor

   ·4· · declining criminal prosecution -- or criminal

   ·5· · charges was used in the arbitration?

   ·6· · A.· · · · ·I don't remember any specific

   ·7· · arbitration hearing that went like that.

   ·8· · Q.· · · · ·Okay.· I had asked previously about the

   ·9· · FOP's advocacy, and I guess I just want to

   10· · clarify.· I understand what the substance of their

   11· · advocacy was.· I'm just asking you what was the

   12· · nature of their advocacy.· Like did somebody from

   13· · the FOP come talk to you about these cases?

   14· · A.· · · · ·Not that I recall.

   15· · Q.· · · · ·Okay.

   16· · A.· · · · ·It's their defense in the hearing.

   17· · Q.· · · · ·At the chief's hearing?

   18· · A.· · · · ·I mean, sometimes their -- either their

   19· · attorney or the FOP members are pounding their

   20· · first and, arg, you can't find this person guilty,

   21· · you know, da-da, da-da, da-da.

   22· · Q.· · · · ·Just louder?

   23· · A.· · · · ·Maybe, yeah.

   24· · Q.· · · · ·Okay.· The suspensions that you


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   ·1· · recommended against Constable and Jones were

   ·2· · concurrent, two concurrent 240-hour suspensions

   ·3· · for each of them.· Do you remember that?

   ·4· · A.· · · · ·That sounds familiar.

   ·5· · Q.· · · · ·Okay.· What's the purpose of a

   ·6· · concurrent six-week suspension?

   ·7· · A.· · · · ·Well, six weeks is the max.

   ·8· · Q.· · · · ·Okay.

   ·9· · A.· · · · ·So you can't do more than that.

   10· · Q.· · · · ·Okay.

   11· · A.· · · · ·So you could say 12 weeks, but it's not

   12· · going to be 12 weeks.· It's going to be six weeks,

   13· · that's the max.

   14· · Q.· · · · ·Okay.

   15· · A.· · · · ·But in general I try to give a level of

   16· · disciplinary recommendation for each charge.· So

   17· · that -- I believe in this case that we're talking

   18· · about today, you know, there might be departmental

   19· · charges, but not everything would warrant

   20· · termination.· But by stating what it would be, at

   21· · least you're on record as to what this would have

   22· · been but for a suspension of longer term or, you

   23· · know, termination or something like that.· But

   24· · because my disciplinary recommendations are often


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   ·1· · compared to each other by other people, I want to

   ·2· · be on record with different charges.· You know, if

   ·3· · it was a stand-alone charge, this is what it would

   ·4· · be, you know, that kind of thing.· Does that make

   ·5· · sense?

   ·6· · Q.· · · · ·I guess I'm not going to render an

   ·7· · opinion on that.

   ·8· · · · · · · ·What's the practical consequence for

   ·9· · the officer?· Is there any?

   10· · A.· · · · ·If the director would decide on a

   11· · 240-hour suspension, it would still be a six-week

   12· · suspension --

   13· · Q.· · · · ·But --

   14· · A.· · · · ·-- whether it's concurrent or not.

   15· · Q.· · · · ·Okay.· But two concurrent 240-hours

   16· · suspensions has the same practical impact on the

   17· · officer as one?

   18· · A.· · · · ·They would lose six weeks of pay.

   19· · Q.· · · · ·Either way?

   20· · A.· · · · ·Correct.

   21· · Q.· · · · ·Okay.· Do you recall that this case was

   22· · settled prior to the safety director's

   23· · determination?

   24· · A.· · · · ·I remembered that it was settled.                    I


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   ·1· · just don't know the timing.

   ·2· · Q.· · · · ·Okay.

   ·3· · A.· · · · ·I don't know if they had had a hearing,

   ·4· · if they hadn't had a hearing, but I know that it

   ·5· · was settled.

   ·6· · Q.· · · · ·Okay.· Do you remember that the outcome

   ·7· · of the settlement was that they reduced the

   ·8· · suspension for each officer from two concurrent

   ·9· · 240-hour suspensions to one 240-hour suspension?

   10· · A.· · · · ·I just remembered a 240-hour

   11· · suspension.

   12· · Q.· · · · ·Okay.· But that was -- I mean, your

   13· · recommended discipline was 240 hours twice at the

   14· · same time, concurrent, right?

   15· · A.· · · · ·Yeah.

   16· · Q.· · · · ·And the settlement of the suspension

   17· · was one 240-hour suspension?

   18· · A.· · · · ·Correct.

   19· · Q.· · · · ·Do you have any explanation for what

   20· · possible benefit the officers would get from

   21· · agreeing to a settlement like that?

   22· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   23· · A.· · · · ·Benefit to the officers?

   24· · Q.· · · · ·Yeah.· There was no practical impact;


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   ·1· · we just talked about that; they lose the same

   ·2· · amount of pay either way.

   ·3· · A.· · · · ·Correct.

   ·4· · Q.· · · · ·Is there -- there's no -- so what's the

   ·5· · point?· What was the point of the settlement like

   ·6· · that?

   ·7· · A.· · · · ·You'd have to ask them.

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · Q.· · · · ·Okay.· Did you have any discussions

   10· · with the safety director about the settlement of

   11· · that charge?

   12· · A.· · · · ·Not that I recall.

   13· · Q.· · · · ·Okay.· Could the safety director have

   14· · terminated these officers despite your

   15· · recommendation of suspension?

   16· · A.· · · · ·Absolutely.

   17· · Q.· · · · ·Okay.· Do you remember whether these

   18· · officers were charged with a Rule 1.4 -- 1.04

   19· · charge?

   20· · A.· · · · ·I don't recall specifically.

   21· · Q.· · · · ·Okay.

   22· · A.· · · · ·I don't think so.

   23· · Q.· · · · ·Do you remember writing in a 1.04 for

   24· · these officers?


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   ·1· · A.· · · · ·I don't remember that.

   ·2· · Q.· · · · ·Okay.· Kevin Morgan's case at least

   ·3· · until the filing of his lawsuit did not appear in

   ·4· · any media coverage.· Are you aware of any that I'm

   ·5· · not?

   ·6· · A.· · · · ·I don't recall.

   ·7· · Q.· · · · ·Okay.· You don't have the same

   ·8· · recollection that it was a widely reported sort of

   ·9· · public issue?

   10· · A.· · · · ·I don't remember it being widely

   11· · reported.

   12· · Q.· · · · ·Okay.· Did the safety director have to

   13· · agree to a settlement with Constable and Jones, do

   14· · you know?

   15· · · · · · · ·MR. COGLIANESE:· Objection.

   16· · Q.· · · · ·Is that typically what the nature of

   17· · the settlement is?

   18· · A.· · · · ·They're the only ones that can approve

   19· · one.

   20· · Q.· · · · ·Okay.· You can't settle cases?

   21· · A.· · · · ·I cannot.

   22· · Q.· · · · ·Okay.· And you were not involved in the

   23· · settlement discussions at all?

   24· · A.· · · · ·No.


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   ·1· · Q.· · · · ·Okay.· Do you remember Zane Kirby's

   ·2· · case?· I think we mentioned it a little earlier.

   ·3· · A.· · · · ·Somewhat.

   ·4· · Q.· · · · ·Okay.· Do you remember his -- first of

   ·5· · all, Kirby was charged like Officer Morgan and

   ·6· · like Sergeant Constable and Sergeant Jones with

   ·7· · receiving pay for hours that he didn't work or

   ·8· · receiving --

   ·9· · A.· · · · ·His was about --

   10· · Q.· · · · ·-- credit for --

   11· · A.· · · · ·His was about not being at work when he

   12· · was supposed to be, yes.

   13· · Q.· · · · ·Right.· But he was paid for those

   14· · hours?

   15· · A.· · · · ·Yes.

   16· · Q.· · · · ·His case was not investigated by

   17· · internal affairs, it was investigated by his own

   18· · chain of command.· Do you remember that?

   19· · A.· · · · ·Yes.

   20· · Q.· · · · ·Do you have an explanation for why that

   21· · would be?

   22· · A.· · · · ·It seemed like it was a fairly

   23· · straightforward case.· He admitted to behavior at

   24· · some point in time it seems like it was fairly,


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   ·1· · fairly quick.· It wasn't in my opinion an

   ·2· · extensive number of dates.· And Sergeant Reffitt

   ·3· · was a former internal affairs supervisor or

   ·4· · investigator, so we knew that she had the ability

   ·5· · to get it done.· And I'm always about trying to

   ·6· · get it done as quickly as possible when possible.

   ·7· · If there's, you know, good reasons to get them

   ·8· · over with as quickly as possible.

   ·9· · Q.· · · · ·Okay.· No criminal investigation of

   10· · Kirby's case?

   11· · A.· · · · ·I don't think there was, no.

   12· · Q.· · · · ·Why not?

   13· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   14· · A.· · · · ·Because I generally prefer that there

   15· · not be criminal investigations.· And because of

   16· · the number of days being fairly short, I thought

   17· · it was prudent to get this done.

   18· · Q.· · · · ·Okay.

   19· · A.· · · · ·With the number of criminal

   20· · investigations that we've had that have not

   21· · resulted in charges, you know, I continue to be

   22· · confident that that's going to be a rare

   23· · occurrence when we get a charge filed against an

   24· · officer with such charges, allegations.


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   ·1· · Q.· · · · ·Okay.· Officer Kirby originally claimed

   ·2· · in response to Sergeant Reffitt's investigative

   ·3· · interview questions that he -- there was a

   ·4· · particular day out of the days when he was being

   ·5· · investigated for where he was not receiving pay

   ·6· · for time he hadn't worked but he had actually

   ·7· · worked from them.· Do you remember that?

   ·8· · A.· · · · ·That sounds familiar.

   ·9· · Q.· · · · ·And he claimed that he was installing a

   10· · particular kind of surveillance software that he

   11· · was using in his investigative work?

   12· · A.· · · · ·I think that sounds familiar.

   13· · Q.· · · · ·Okay.· And then in a second interview

   14· · after Sergeant Reffitt had started asking

   15· · questions of some of his fellow officers about

   16· · that software, he came in and admitted that in

   17· · fact he did not work from home on that date and he

   18· · just was overwhelmed with -- he was exhausted from

   19· · working a long week and he just took the day off

   20· · without permission?

   21· · A.· · · · ·Uh-huh.

   22· · Q.· · · · ·I'm sorry.· You have to say yes or no.

   23· · A.· · · · ·Yes.

   24· · Q.· · · · ·And then in a third interview with


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   ·1· · Sergeant Reffitt when Sergeant Reffitt was

   ·2· · instructed to ask him about why he had lied about

   ·3· · that day, he admitted that he had purposefully

   ·4· · lied but that he -- he admitted to the lie because

   ·5· · he realized he had been caught and he was

   ·6· · concerned about the consequences.· Does that all

   ·7· · sound familiar?

   ·8· · A.· · · · ·Yes.

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.

   10· · A.· · · · ·It's starting to trigger my memories.

   11· · Q.· · · · ·And then do you remember at the chief's

   12· · hearing in Officer Kirby's case you asked him

   13· · about working from home on that date and he

   14· · actually told you in the chief's hearing that he

   15· · had worked from home installing the same software

   16· · that he had falsely claimed to Sergeant Reffitt?

   17· · A.· · · · ·I don't recall the specific comments,

   18· · no.

   19· · Q.· · · · ·Okay.· Can I get 8.

   20· · · · · · · ·While they're looking for that, I want

   21· · to ask you, I mean, you understood prior to the

   22· · chief's hearing that Officer Kirby had been

   23· · purposefully dishonest during the investigation of

   24· · his time theft investigation, right?


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   ·1· · A.· · · · ·I would have to assume if that was

   ·2· · included in the investigation that I was aware of

   ·3· · it, yes.

   ·4· · Q.· · · · ·I mean, not only was it included in the

   ·5· · investigation but the deputy chief, I think it was

   ·6· · Deputy Chief Gray -- oh, no, Deputy Chief Bash had

   ·7· · actually repeatedly had to ask Sergeant Reffitt to

   ·8· · go back and do follow-up to figure out why he had

   ·9· · been untruthful and delve further into that pretty

   10· · serious charge.· You don't remember any of that?

   11· · A.· · · · ·No.

   12· · Q.· · · · ·Okay.

   13· · A.· · · · ·I have no specific memory of that.

   14· · Q.· · · · ·Okay.· But certainly if it was in with

   15· · the packet that you were presented prior to the

   16· · chief's hearing, you would have known at the time

   17· · the events that I just described where he

   18· · originally claimed he worked from home.

   19· · A.· · · · ·If it was spelled out, I would have

   20· · been aware of it.

   21· · Q.· · · · ·If it was spelled out.

   22· · · · · · · ·One of the charges prior to the chief's

   23· · hearing was untruthfulness, so certainly that

   24· · would have been one of the things you were


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   ·1· · focusing on.

   ·2· · A.· · · · ·Okay.

   ·3· · Q.· · · · ·I'm asking you.

   ·4· · A.· · · · ·I don't know what the charges were.

   ·5· · Q.· · · · ·Okay.· Give me 4.· Well, actually, give

   ·6· · me 9.· Might as well get 4, too.· I'm handing you

   ·7· · what's previously been marked as Plaintiff's

   ·8· · Exhibit 4.· And when I say "previously," I mean we

   ·9· · premarked it; it hasn't been used previously.· And

   10· · I am just going to call your attention to the

   11· · first couple pages.· These are the charges that

   12· · were issued to Sergeant Kirby prior to the chief's

   13· · hearing, right, the first page and the second and

   14· · the third?

   15· · A.· · · · ·Yes.

   16· · Q.· · · · ·Charge II, specification I is that on

   17· · December 10th, 2013, he was untruthful to Sergeant

   18· · Denise Reffitt during an administrative interview

   19· · when he stated that he performed his December 6th,

   20· · 2016 tour of duty by working from home, and he

   21· · knew at the time he made these statements that

   22· · they were untruthful.· Right?

   23· · A.· · · · ·Yes.

   24· · Q.· · · · ·And if you take a look at -- if you


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   ·1· · flip through Exhibit 4, the first -- fairly early

   ·2· · on in this packet, the first interview is marked

   ·3· · for December 10th, 2013.· If you flip a few pages.

   ·4· · A.· · · · ·What page is it?

   ·5· · Q.· · · · ·The exhibit isn't paginated, but if you

   ·6· · go about 10 or 15 pages in, you'll start to see at

   ·7· · the top.

   ·8· · A.· · · · ·What am I looking for?

   ·9· · Q.· · · · ·December 10th, 2013 interview.

   10· · · · · · · ·MR. COGLIANESE:· And why don't you

   11· · count the pages and tell her where you're at so

   12· · that way you guys are on the same page.

   13· · Q.· · · · ·If you hand it to me, I'll find it for

   14· · you.

   15· · · · · · · ·So here's the start of the December

   16· · 10th interview.· Do you see that at the top?

   17· · A.· · · · ·Uh-huh.

   18· · Q.· · · · ·And there's pages numbers for each

   19· · page --

   20· · A.· · · · ·Yes.

   21· · Q.· · · · ·-- of the interview.· Can you flip to

   22· · page 14 of that interview?

   23· · A.· · · · ·Okay.

   24· · Q.· · · · ·And on this page 14 she's asking him


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   ·1· · about December 6th.· Do you see that at the top?

   ·2· · Or toward the top?

   ·3· · A.· · · · ·On page 14?

   ·4· · Q.· · · · ·Yeah.

   ·5· · A.· · · · ·I see November 22nd being referenced

   ·6· · there.

   ·7· · Q.· · · · ·And then she says, "So, I'm looking at

   ·8· · December 6th, why nobody saw you, there are no

   ·9· · card swipes for that day."

   10· · A.· · · · ·Yes, I see that.

   11· · Q.· · · · ·Okay.· And then a few responses down he

   12· · says, "I don't know if this counts, but I'm going

   13· · to throw it out there.· Chris Kline...I worked

   14· · from home that day, Sarge."· I'm not sure what the

   15· · Chris Kline is.· Do you see that?

   16· · A.· · · · ·I do.

   17· · Q.· · · · ·Okay.· So he's saying he worked from

   18· · home on December 6th, and his answer a couple

   19· · answers down is that he was installing software on

   20· · a laptop used for scanning Wi-Fi networks?

   21· · A.· · · · ·Correct.

   22· · Q.· · · · ·Then I'll flip a few more pages in here

   23· · for you.· This is page 5 of his second interview

   24· · with Sergeant Reffitt which was on February 5th of


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   ·1· · 2014.· And at the very bottom of the page Sergeant

   ·2· · Reffitt says, "Okay, alright, on December 6th you

   ·3· · did not report to work.· That's a Friday.· What's

   ·4· · your explanation?"

   ·5· · A.· · · · ·I see it.

   ·6· · Q.· · · · ·And his answer is, "On that Friday I

   ·7· · had, that week was a busy week as well.· Um, and I

   ·8· · had worked over my 8 hour tour several days that

   ·9· · week.· When Friday came, I was exhausted.                   I

   10· · stayed at home and needed a break."

   11· · · · · · · ·And Sergeant Reffitt says, "So you

   12· · didn't work from home...you just took the day?"

   13· · And he says "Correct."

   14· · · · · · · ·And she goes further on in that page,

   15· · you can see she's specifically saying, "previously

   16· · you have told me...you worked from home.· So, I

   17· · take it that was not correct."· And he says the

   18· · reality was he was exhausted and he didn't work.

   19· · Do you see all that?

   20· · A.· · · · ·I do.

   21· · Q.· · · · ·Okay.· And then I'll flip for you one

   22· · more time if you hand it back to me.· The third

   23· · interview from April of 2014, the very bottom of

   24· · the fifth page of that interview, Sergeant Reffitt


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   ·1· · asks him why he was untruthful in the first

   ·2· · interview and why he admitted it in the second

   ·3· · interview.· And his answer was that he panicked.

   ·4· · And then if you look at the second answer down on

   ·5· · page 6, he says in terms of why he was truthful in

   ·6· · the second time, he said I knew that I had been

   ·7· · caught.· Do you see that?

   ·8· · A.· · · · ·Uh-huh.

   ·9· · Q.· · · · ·Okay.

   10· · A.· · · · ·Yes.

   11· · Q.· · · · ·This was all information that you would

   12· · have had at the time that the chief's hearing was

   13· · scheduled and the charges were issued?

   14· · A.· · · · ·Correct.

   15· · Q.· · · · ·So now I'm going to hand you what's

   16· · been marked as Plaintiff's Exhibit 8, which is a

   17· · transcript of the chief's hearing.· And if you

   18· · could turn to the third page of that, oops, I

   19· · should be following along.· Do you see at the top

   20· · of the page 3, in the middle of his answer he says

   21· · December 6th, which was a Friday, do you see that

   22· · part?

   23· · A.· · · · ·Uh-huh.· Yes.

   24· · Q.· · · · ·He says December 6th -- and that's the


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   ·1· · same date that we were just talking about in those

   ·2· · three prior interviews, right?

   ·3· · A.· · · · ·Correct.

   ·4· · Q.· · · · ·So "December 6th, which was a Friday, I

   ·5· · stayed home.· I worked on a program known as

   ·6· · Flying Squirrel."· And he then describes the same

   ·7· · software that's supposedly used for intercepting

   ·8· · Wi-Fi signals or something like that.· Do you see

   ·9· · that?

   10· · A.· · · · ·Yeah.

   11· · Q.· · · · ·So in the chief's hearing he's going

   12· · back to the original untruthful explanation that

   13· · he gave to Sergeant Reffitt in his first

   14· · interview.· He's not saying he's exhausted, he's

   15· · not saying he just missed work.· He's saying, oh,

   16· · no, I worked from home, I installed this software,

   17· · the same answer he gave in the first interview.

   18· · A.· · · · ·He gave a similar explanation as he did

   19· · in the first interview.

   20· · Q.· · · · ·The one that he later admitted to

   21· · Sergeant Reffitt was false.

   22· · A.· · · · ·Correct.

   23· · Q.· · · · ·And I don't know if you remember this

   24· · from the investigation, but it turned out that


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   ·1· · what he was describing doing while he was working

   ·2· · from home was not actually possible on his

   ·3· · computer.

   ·4· · A.· · · · ·I don't recall that.

   ·5· · Q.· · · · ·Okay.· I mean it's in the investigative

   ·6· · packet, we can -- I don't want to spend the time

   ·7· · going through it.

   ·8· · A.· · · · ·Okay.

   ·9· · Q.· · · · ·But the reason why his lieutenant

   10· · concluded, lieutenant -- I think it was Lieutenant

   11· · Springer maybe had -- the reason his lieutenant

   12· · had concluded that he was purposefully untruthful

   13· · and not just sort of confused or something was

   14· · that he only came forward and admitted lying about

   15· · working from home once he realized that Sergeant

   16· · Reffitt was going around and asking other people

   17· · about this software, and that it would have been

   18· · obvious that he could not have done what he

   19· · described doing.· Is any of that ringing a bell?

   20· · · · · · · ·MR. COGLIANESE:· Objection.

   21· · Q.· · · · ·No.

   22· · A.· · · · ·No.

   23· · Q.· · · · ·I guess my question is do you remember

   24· · at the end of this investigation what charges you


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   ·1· · sustained against Officer Kirby?

   ·2· · A.· · · · ·Not specifically, no.

   ·3· · Q.· · · · ·Okay.· Would you disagree with me if I

   ·4· · told you you did not sustain his untruthfulness

   ·5· · charge?

   ·6· · A.· · · · ·Well, it's in writing, so.

   ·7· · Q.· · · · ·Okay.· Here, I'll just hand you what's

   ·8· · been marked as Exhibit 9, and you can look at the

   ·9· · first page for yourself.· But the finding of

   10· · untruthful is not sustained.· Do you see that?

   11· · · · · · · · · · · · ·- - - - -

   12· · · · · · ·Thereupon, Plaintiff's Exhibit 9 is marked

   13· · for purposes of identification.

   14· · · · · · · · · · · · - - - - -

   15· · A.· · · · ·I do.

   16· · Q.· · · · ·Okay.· Do you have any explanation for

   17· · how you could not sustain an untruthfulness charge

   18· · against an officer who admitted that he was

   19· · untruthful and then repeated his untruthfulness in

   20· · a hearing in front of you?

   21· · · · · · · ·MR. COGLIANESE:· Objection.

   22· · A.· · · · ·Do I have an explanation for it?· Is

   23· · that what you asked?

   24· · Q.· · · · ·Yeah.· Well, I'll withdraw that


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   ·1· · question for a second.

   ·2· · · · · · · ·First of all, Officer Kirby is a white

   ·3· · officer.

   ·4· · A.· · · · ·Yes.

   ·5· · Q.· · · · ·Okay.· Do you have an explanation for

   ·6· · why Officer Kirby was not -- why you issued a not

   ·7· · sustained finding for Officer Kirby on

   ·8· · untruthfulness?

   ·9· · A.· · · · ·I can't remember what I was thinking at

   10· · the exact moment when I decided to do that.· But I

   11· · felt that this officer very clearly exhibited some

   12· · signs of being under great stress.· He cried I

   13· · believe during the hearing.· If you've listened to

   14· · the tape, then you might have heard that.                   I

   15· · believe that he was very upset, rambling, offering

   16· · things.· He didn't have a representative to the

   17· · best of my recollection, so he presented on his

   18· · own behalf.

   19· · Q.· · · · ·That's something he chose to do, right?

   20· · A.· · · · ·Yeah.

   21· · Q.· · · · ·He could have had a representative if

   22· · he wanted to?

   23· · · · · · · ·MR. COGLIANESE:· Let her finish the

   24· · answer.


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   ·1· · Q.· · · · ·I'm sorry.· Were you not done?

   ·2· · A.· · · · ·No.· I was still describing --

   ·3· · Q.· · · · ·Okay.· I'm sorry.· Go ahead.

   ·4· · A.· · · · ·-- what I recall of the hearing.

   ·5· · Q.· · · · ·Uh-huh.

   ·6· · A.· · · · ·I don't recall everything.

   ·7· · Q.· · · · ·Uh-huh.

   ·8· · A.· · · · ·But I remember that he was very upset.

   ·9· · He had been working in a very, very, very

   10· · difficult assignment that plays on your motions

   11· · and creates an awful lot of -- of I think turmoil

   12· · perhaps when you see children and others being

   13· · abused and you can't really do everything that you

   14· · want to to deal with it.· He was emotional,

   15· · apologetic.· And as I said before, I haven't read

   16· · my entire transcript here.· But I think that I

   17· · might have recommended that he seek some

   18· · counseling.

   19· · Q.· · · · ·Were you aware at the time -- I'm

   20· · sorry.· I'll let you keep going.

   21· · A.· · · · ·Feeling that he was suffering from a

   22· · significant amount of stress and burnout.

   23· · Q.· · · · ·Okay.· Do you remember whether he had

   24· · been diagnosed with any kind of condition?


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   ·1· · A.· · · · ·Not to my knowledge.

   ·2· · Q.· · · · ·Okay.· His job -- what was his job?

   ·3· · A.· · · · ·He worked in the Internet crimes

   ·4· · against children unit.

   ·5· · Q.· · · · ·Okay.

   ·6· · A.· · · · ·I believe.

   ·7· · Q.· · · · ·Is that a job where it's important for

   ·8· · officers to be truthful?

   ·9· · A.· · · · ·Every job that we have is.

   10· · Q.· · · · ·Okay.· Not sustaining the allegation of

   11· · untruthfulness against Officer Kirby meant that he

   12· · did not go on the 1010 list, right?

   13· · A.· · · · ·Correct.

   14· · Q.· · · · ·So criminal defendants who were being

   15· · investigated by Officer Kirby would have no

   16· · automatic basis to know that he had lied about

   17· · reporting for duty and admitted lying because he

   18· · had been caught in the lie.

   19· · · · · · · ·MR. COGLIANESE:· Objection.

   20· · A.· · · · ·Well, the requirement is that you

   21· · report that to the prosecutor.· The prosecutor

   22· · then decides who needs to know what.

   23· · Q.· · · · ·Okay.· You didn't report anything, you

   24· · had no -- nothing to report to the prosecutor on


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   ·1· · Officer Kirby because you issued not sustained for

   ·2· · the untruthfulness.

   ·3· · A.· · · · ·Correct.

   ·4· · Q.· · · · ·Even though he admitted that he was

   ·5· · untruthful?

   ·6· · · · · · · ·MR. COGLIANESE:· Objection.

   ·7· · A.· · · · ·I don't recall the words admitted that

   ·8· · I was untruthful.· He gave different statements.

   ·9· · I don't -- did he say I admit that I lied?

   10· · Q.· · · · ·I think he did.

   11· · A.· · · · ·Okay.· I'm just saying I can't -- I

   12· · can't tell you what the word was.

   13· · Q.· · · · ·I mean it was clear that he was

   14· · untruthful, right?· There was really no dispute

   15· · about it at the point at least prior to the

   16· · chief's hearing?

   17· · · · · · · ·MR. COGLIANESE:· Objection.

   18· · A.· · · · ·He gave two different stories, so one

   19· · of them is not true, yes.

   20· · Q.· · · · ·And then he explained why he was

   21· · untruthful by saying the reason he was untruthful

   22· · was because he was caught and he was concerned

   23· · about the consequences.

   24· · A.· · · · ·Correct.


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   ·1· · Q.· · · · ·We just read through that.

   ·2· · · · · · · ·And then he lied again in the chief's

   ·3· · hearing to you about working from home.

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.

   ·5· · A.· · · · ·He very well could have.· I don't know

   ·6· · what he did while he was at home, whether he, you

   ·7· · know, picked that up for five minutes or not.· But

   ·8· · I -- he certainly gave two different statements

   ·9· · about the same day.

   10· · Q.· · · · ·And one of which he admitted was a lie,

   11· · but that -- I guess so you're saying that you

   12· · issued a not sustained on Officer Kirby because

   13· · you felt he was stressed out from his job and he

   14· · was emotional about his conduct.

   15· · · · · · · ·MR. COGLIANESE:· Objection.

   16· · A.· · · · ·I said I don't remember all of the

   17· · things that I took into consideration, but that

   18· · was part of it.

   19· · Q.· · · · ·Okay.· Why not just sustain the finding

   20· · but issue him a less serious discipline for that

   21· · finding?

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·It's what I chose to do.

   24· · Q.· · · · ·Okay.· His suspension overall for three


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   ·1· · instances of absence without leave was three

   ·2· · 16-hour suspensions, so a total of 48 hours.· Do

   ·3· · you remember what -- why that level of discipline

   ·4· · and not a greater or lesser level?

   ·5· · A.· · · · ·I thought that was what was appropriate

   ·6· · for those circumstances.

   ·7· · Q.· · · · ·Okay.· Officer Kirby's discipline was

   ·8· · issued prior to Officer Morgan's.· Do you remember

   ·9· · whether Kirby's case came up as a potential

   10· · comparable for Morgan?

   11· · A.· · · · ·It may have been discussed as an

   12· · example with similar rule violation.

   13· · Q.· · · · ·Okay.· Officer Morgan and pretty much

   14· · every other officer that I think we're going to

   15· · discuss today also worked in high stress jobs.                    A

   16· · police officer is a pretty high stress job, right?

   17· · A.· · · · ·Yes.

   18· · Q.· · · · ·Certainly Officer Morgan's job working

   19· · patrol is a more dangerous job than Officer

   20· · Kirby's job doing computer investigations of child

   21· · pornographers.

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·Well, that's an opinion.· I mean

   24· · dangerous to physical health, dangerous to mental


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   ·1· · health.

   ·2· · Q.· · · · ·I meant physically.

   ·3· · A.· · · · ·Yes.· They're all dangerous.

   ·4· · Q.· · · · ·I meant physically dangerous.

   ·5· · A.· · · · ·Okay.· You didn't -- you did not say

   ·6· · that.

   ·7· · Q.· · · · ·Would you agree it's more physically

   ·8· · dangerous than what Officer Kirby was doing?

   ·9· · A.· · · · ·The potential certainly there, yes.

   10· · Q.· · · · ·Okay.· Did you ask Officer Morgan or

   11· · any of his chain of command whether Officer Morgan

   12· · may have been under any kind of stress during this

   13· · time period?

   14· · A.· · · · ·I don't recall asking that question.

   15· · Q.· · · · ·Okay.· Officer Morgan was fairly

   16· · apologetic in his chief's hearing.· He didn't --

   17· · obviously, he didn't admit to doing the conduct

   18· · that he was being accused of, but he did apologize

   19· · to you for the inconvenience caused by his shoddy

   20· · recordkeeping.

   21· · A.· · · · ·I do believe so.

   22· · Q.· · · · ·Did he seem concerned about the charges

   23· · during his chief's hearing?

   24· · A.· · · · ·Officer Morgan?


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   ·1· · Q.· · · · ·Yeah.

   ·2· · A.· · · · ·Yeah.

   ·3· · Q.· · · · ·He was at least pretty stressed out

   ·4· · during the hearing?

   ·5· · A.· · · · ·Yes.

   ·6· · Q.· · · · ·He was like Officer Kirby was sort of

   ·7· · throwing things out there like potential witnesses

   ·8· · who could corroborate his story, for instance,

   ·9· · documents that he felt like he could have been

   10· · able to provide, things like that?

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · A.· · · · ·I'm not sure what the question is.

   13· · Q.· · · · ·It's okay.

   14· · · · · · · ·He did admit to some misconduct in the

   15· · chief's hearing, including the failure to mark in

   16· · service.

   17· · A.· · · · ·Yes.

   18· · Q.· · · · ·He was apologetic about it?

   19· · A.· · · · ·I believe so.

   20· · Q.· · · · ·He sort of asked you for another chance

   21· · so that he could, you know, improve his

   22· · organization and that kind of thing?

   23· · A.· · · · ·If it's in the transcript, then, yes.

   24· · Q.· · · · ·Why didn't you ask Officer Morgan about


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   ·1· · his stress level and his emotional state?

   ·2· · A.· · · · ·I don't even remember that I didn't, so

   ·3· · I -- I wouldn't have a reason for not doing it or

   ·4· · a reason for doing it.

   ·5· · Q.· · · · ·Officer Kirby unlike Officer Morgan had

   ·6· · a prior issue of some issues about his attendance,

   ·7· · right?

   ·8· · A.· · · · ·Say that again.

   ·9· · Q.· · · · ·Officer Kirby had issues previously

   10· · about his attendance, he had been repeatedly

   11· · warned about being more careful about his

   12· · attendance and leave time?

   13· · A.· · · · ·Maybe.

   14· · · · · · · ·MR. COGLIANESE:· Objection.

   15· · Q.· · · · ·Okay.

   16· · A.· · · · ·I don't recall.

   17· · Q.· · · · ·And his chain of command noted -- it

   18· · was actually Lieutenant Gardener -- I said the

   19· · wrong name.· But Lieutenant Gardener had noted

   20· · during the investigation that Officer Kirby had

   21· · expressed concerns about being overworked and they

   22· · had sort of bent over backwards to make sure that

   23· · it wouldn't keep happening prior to this incident.

   24· · · · · · · ·MR. COGLIANESE:· Objection.


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   ·1· · Q.· · · · ·Do you remember that?

   ·2· · A.· · · · ·No.· Not specifically.

   ·3· · Q.· · · · ·Okay.

   ·4· · A.· · · · ·But that could be.

   ·5· · Q.· · · · ·Okay.· I think we talked a little

   ·6· · earlier about a black officer named Randall Lyons.

   ·7· · Do you remember Randall Lyons?

   ·8· · A.· · · · ·Yes.

   ·9· · Q.· · · · ·He's a current CPD officer, right?

   10· · A.· · · · ·Yes.· I believe so.

   11· · Q.· · · · ·I think the most recent thing I saw in

   12· · the news about him was that he had, like, helped

   13· · pull a child out of a pond or something like that

   14· · and saved the child's life or helped to do that.

   15· · A.· · · · ·He was there, yes.· I don't think they

   16· · ultimately were able to pull him out.· He -- he

   17· · got cold and got pulled out himself before he

   18· · actually saved the child, but --

   19· · Q.· · · · ·Okay.

   20· · A.· · · · ·-- he attempted to.

   21· · Q.· · · · ·Okay.· Do you remember there being an

   22· · issue between you and -- that your executive staff

   23· · about whether you were willing to congratulate

   24· · Officer Lyons about that, about his attempted act


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   ·1· · of heroism at least?

   ·2· · A.· · · · ·What do you mean by "congratulate"?

   ·3· · Q.· · · · ·That you had to be pressured by people

   ·4· · in your chain of command to actually give Officer

   ·5· · Lyons a call to thank him for his service in that

   ·6· · instance.

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.

   ·8· · A.· · · · ·I remember that I was told that he was

   ·9· · very upset that I hadn't called him.· And I don't

   10· · know that I ever did call him.· I -- I don't know

   11· · who might have tried to -- maybe my PIO or

   12· · somebody tried to tell me that I should call him,

   13· · reach out to him or something like that because he

   14· · was upset.

   15· · Q.· · · · ·Okay.· You didn't -- I mean why not

   16· · just -- I mean, it was a pretty high profile

   17· · incident, he had done something fairly heroic,

   18· · jumping into a pond to try to save a kid at risk

   19· · to himself.

   20· · A.· · · · ·I --

   21· · Q.· · · · ·Wouldn't it be routine to call an

   22· · officer in that situation?

   23· · A.· · · · ·It's not routine.

   24· · Q.· · · · ·No?


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   ·1· · A.· · · · ·No.

   ·2· · Q.· · · · ·Okay.· Randall Lyons had his own time

   ·3· · reporting issue.· I think you alluded to it

   ·4· · earlier.

   ·5· · A.· · · · ·I did.

   ·6· · Q.· · · · ·In that situation he had actually been

   ·7· · in 580 on administrative duty, had been relieved

   ·8· · of duty at the time.

   ·9· · A.· · · · ·I don't think that he was working in

   10· · the patrol office.· I think he was assigned to

   11· · work in the telephone reporting unit.

   12· · Q.· · · · ·Okay.

   13· · A.· · · · ·But he --

   14· · Q.· · · · ·He was relieved of duty and put on

   15· · administrative assignment of some kind.

   16· · A.· · · · ·Correct.

   17· · Q.· · · · ·He reported to supervisors in that role

   18· · that he was extremely uncomfortable in the

   19· · assignment that he was given because it was, like,

   20· · very confined and had limited lighting or

   21· · something like that.· Is any of this ringing a

   22· · bell?

   23· · A.· · · · ·I don't recall that specific

   24· · information.· I --


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   ·1· · Q.· · · · ·Would you deny it?

   ·2· · · · · · · ·MR. COGLIANESE:· Hold on.· Let her

   ·3· · finish.

   ·4· · Q.· · · · ·I'm sorry.· Go ahead.

   ·5· · · · · · · ·MR. VARDARO:· Rich, I'm just trying to

   ·6· · move things along.· I'm not trying to interrupt

   ·7· · her, but she's got these long pauses.

   ·8· · A.· · · · ·I'm trying to recall things that

   ·9· · happened years ago.

   10· · Q.· · · · ·I'm not purposefully trying to

   11· · interrupt you.· I thought you were just sort of

   12· · done with that part of your answer.· So go ahead.

   13· · A.· · · · ·I don't recall what concerns that he

   14· · might have had.· I just know that he wasn't

   15· · working in the patrol office and that he was

   16· · working in the telephone reporting unit which is a

   17· · more out of the public eye place.· I don't recall

   18· · if that was by choice or by -- you know, by design

   19· · by the supervisor.

   20· · Q.· · · · ·Okay.

   21· · A.· · · · ·I just don't recall that.

   22· · Q.· · · · ·And you don't remember that Officer

   23· · Lyons had reported to supervisors that because of

   24· · a severe psychological condition he had, he was


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   ·1· · really struggling in the assignment that he was on

   ·2· · and that he was actually experiencing suicidal

   ·3· · thoughts?

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.

   ·5· · A.· · · · ·I think when he came to see me, he

   ·6· · expressed how troubled he was.· I don't remember

   ·7· · it being suicidal, but --

   ·8· · Q.· · · · ·You were aware -- I'm sorry.· Go ahead.

   ·9· · A.· · · · ·Go ahead.

   10· · Q.· · · · ·You were aware that Officer Lyons was a

   11· · military veteran and had some psychological

   12· · conditions related to that service?

   13· · A.· · · · ·I might have been at the time.

   14· · Q.· · · · ·Okay.· Actual, unlike Officer Kirby's

   15· · situation, actual diagnosed psychological

   16· · conditions?

   17· · · · · · · ·MR. COGLIANESE:· Objection.

   18· · A.· · · · ·If that was brought to my attention,

   19· · then I was aware of it at the time.

   20· · Q.· · · · ·Okay.· And his explanation for why he

   21· · had stopped coming to work in his administrative

   22· · assignment was that he was unable to cope with the

   23· · assignment psychologically and was experiencing

   24· · suicidal thoughts.· Wasn't that his defense?


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   ·1· · A.· · · · ·It could be.· I --

   ·2· · Q.· · · · ·Okay.

   ·3· · A.· · · · ·-- just don't recall.

   ·4· · Q.· · · · ·Officer Lyons received an 80-hour

   ·5· · suspension for the time issue related to his

   ·6· · issue, right?

   ·7· · A.· · · · ·Sounds familiar.

   ·8· · Q.· · · · ·Okay.· Do you remember why he received

   ·9· · a greater suspension than Officer Kirby?

   10· · A.· · · · ·I don't recall enough of the specific

   11· · facts and numbers and all that kind of thing to do

   12· · that.· He had been involved in another incident

   13· · involving judgment and decision making and all

   14· · that that made -- may have played into that.· But

   15· · I don't -- I don't recall any specific reason.

   16· · Q.· · · · ·Okay.· Do you remember whether Kirby's

   17· · case was brought up as a competitor for Lyon's?

   18· · A.· · · · ·If it had happened prior to then, it

   19· · might very well have.

   20· · Q.· · · · ·I talked a little bit previously about

   21· · David LaRoche.

   22· · A.· · · · ·Uh-huh.

   23· · Q.· · · · ·He's a white officer?

   24· · A.· · · · ·Uh-huh.


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   ·1· · Q.· · · · ·I'm sorry.· You've got to give yeses or

   ·2· · nos.

   ·3· · A.· · · · ·Yes.

   ·4· · Q.· · · · ·Doug Williams was his supervisor during

   ·5· · the time when his disciplinary issue came up.

   ·6· · Does that sound familiar?

   ·7· · A.· · · · ·Maybe.· Yeah.· I think that was the

   ·8· · case.

   ·9· · Q.· · · · ·It was in SRB?

   10· · A.· · · · ·Yes.

   11· · Q.· · · · ·There was an incident somewhat similar

   12· · to Officer Morgan's situation in the sense that

   13· · there was an incident where somebody was looking

   14· · for LaRoche during the time when he was supposed

   15· · to be on duty and couldn't find him.

   16· · A.· · · · ·Okay.

   17· · Q.· · · · ·I'm asking you whether you remember

   18· · this stuff.· I --

   19· · A.· · · · ·I --

   20· · Q.· · · · ·I'm sorry that I don't put question

   21· · marks at the end of all of them.

   22· · A.· · · · ·Rarely.

   23· · · · · · · ·I don't recall the specific, you know,

   24· · facts.


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   ·1· · Q.· · · · ·I'll just give you a description of it

   ·2· · and you can tell me whether this jogs your memory.

   ·3· · LaRoche was supposed to be working a surveillance,

   ·4· · the other officers working surveillance couldn't

   ·5· · find him.· And then because of that, Sergeant

   ·6· · Williams started surveilling him and trying to

   ·7· · keep track of when he was coming in and leaving

   ·8· · versus when he was reporting coming in and leaving

   ·9· · over several weeks.

   10· · A.· · · · ·Sounds familiar.

   11· · Q.· · · · ·And it turned out that in fact some

   12· · days he wasn't coming in, that some days he was

   13· · coming in very late or leaving early and reporting

   14· · different hours than he was actually working, much

   15· · -- many more hours than he was actually working

   16· · during that several week period.

   17· · A.· · · · ·Yes.· I remember there were several

   18· · instances that he couldn't find him.

   19· · Q.· · · · ·Okay.

   20· · A.· · · · ·For at least some periods of the time.

   21· · Q.· · · · ·And there was an administrative

   22· · investigation and it was clear during the

   23· · investigation that -- first of all, he did not

   24· · admit to any misconduct.· Do you remember him


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   ·1· · admitting to any misconduct?

   ·2· · A.· · · · ·I don't recall the specifics.

   ·3· · Q.· · · · ·Okay.· The deputy chief reported to you

   ·4· · -- this was Deputy Chief Quinlan, Deputy Chief

   ·5· · reported to you that his behavior was done with

   ·6· · deliberate intent and it was not the result of

   ·7· · carelessness or negligence and involved reporting

   ·8· · overtime that wasn't worked and that it occurred

   ·9· · over a lengthy time period.· Any of that --

   10· · · · · · · ·MR. COGLIANESE:· Objection.

   11· · Q.· · · · ·-- sound familiar?

   12· · A.· · · · ·I don't remember the overtime part of

   13· · it.· But I'm not disputing any of that.

   14· · Q.· · · · ·Officer LaRoche received an 88-hour

   15· · suspension as a result of that investigation.· Do

   16· · you remember why that suspension and not something

   17· · more severe?

   18· · A.· · · · ·Just based on the information that I

   19· · had available and other comparables as we've

   20· · discussed, you know, all of the other factors that

   21· · I take into consideration, I felt that was an

   22· · appropriate level of corrective action.

   23· · Q.· · · · ·Unlike with Officer Morgan, in Officer

   24· · LaRoche's case there was no effort to go back


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   ·1· · through prior time records and figure out whether

   ·2· · he had committed actually more misconduct than was

   ·3· · immediately witnessed by Sergeant Williams.· Do

   ·4· · you have any knowledge of why that was?

   ·5· · · · · · · ·MR. COGLIANESE:· Objection.

   ·6· · A.· · · · ·No.

   ·7· · Q.· · · · ·Do you remember sort of understanding

   ·8· · as part of the LaRoche discipline that the actual

   ·9· · number of times that he reported late or left

   10· · early was most likely sort of the tip of the

   11· · iceberg, because all of the surveillance happened

   12· · after a particular time when he was essentially

   13· · caught and not being on duty, and there was no

   14· · effort to go back in time and trying to figure out

   15· · whether there were other instances like that?

   16· · · · · · · ·MR. COGLIANESE:· Objection.

   17· · A.· · · · ·I accept the fact that, you know, if

   18· · what we see is happening that it could have

   19· · happened before.

   20· · Q.· · · · ·Okay.· Do you remember whether you

   21· · added cause for dismissal as one of the charges

   22· · against Officer LaRoche?

   23· · A.· · · · ·I don't believe I did.

   24· · Q.· · · · ·I think I may have asked this already.


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   ·1· · LaRoche is white, right?

   ·2· · A.· · · · ·I believe so.· Yeah.

   ·3· · Q.· · · · ·Do you remember discussing LaRoche's

   ·4· · case with the safety director?

   ·5· · A.· · · · ·I don't recall any conversations like

   ·6· · that.

   ·7· · Q.· · · · ·Okay.· How about with the union other

   ·8· · than just directly in the chief's hearing?

   ·9· · A.· · · · ·Not that I recall.

   10· · Q.· · · · ·And I'm sorry.· Fred pointed this out

   11· · for me.· The LaRoche case was resolved by

   12· · suspension in July of 2014, about nine months

   13· · before your determination in Officer Morgan -- or

   14· · your recommendation in Officer Morgan's case.· Do

   15· · you remember whether the LaRoche case came up as a

   16· · potential comparable for Morgan?

   17· · A.· · · · ·If the rule number is the same, then,

   18· · yes, it probably did.

   19· · Q.· · · · ·Does it matter the specific rule

   20· · number?· Is that the whole -- is it only

   21· · comparable if it's the specific -- same specific

   22· · rule number?

   23· · A.· · · · ·Well, that's the starting point.

   24· · Q.· · · · ·Okay.


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   ·1· · A.· · · · ·You know, it's easier -- not everybody

   ·2· · always agrees on the right rule of conduct number.

   ·3· · But generally that's where we're going to look for

   ·4· · any other instances that were charged under the

   ·5· · same rule.

   ·6· · Q.· · · · ·Okay.· Do you remember there being any

   ·7· · discussion about why the Morgan investigation was

   ·8· · so much more extensive in terms of its scope than

   ·9· · the LaRoche investigation?

   10· · · · · · · ·MR. COGLIANESE:· Objection.

   11· · A.· · · · ·I don't remember any discussions along

   12· · those lines.

   13· · Q.· · · · ·Do you remember why LaRoche wasn't

   14· · investigated criminally?

   15· · A.· · · · ·I don't recall a specific date,

   16· · reasoning or anything like that.· I told you

   17· · before that my preference is to not do criminal

   18· · investigations when we think that that's still,

   19· · you know, going to take care of the situation as

   20· · best.

   21· · Q.· · · · ·Okay.

   22· · · · · · · ·MR. COGLIANESE:· Jeff, let's take a

   23· · break when you --

   24· · Q.· · · · ·I was going to say five minutes would


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   ·1· · probably be good for everybody at this point.

   ·2· · · · · · · ·(A short recess is taken.)

   ·3· · BY MR. VARDARO:

   ·4· · Q.· · · · ·In terms of the LaRoche investigation

   ·5· · we were just talking about, there was no, like,

   ·6· · loophole or problem with the evidence like you

   ·7· · were mentioning with the Constable and Jones

   ·8· · situation, right?

   ·9· · A.· · · · ·Not that I recall.

   10· · Q.· · · · ·I mean, in that case, Sergeant Williams

   11· · had essentially directly observed LaRoche stealing

   12· · time, so there wasn't really much doubt to the

   13· · whole thing?

   14· · A.· · · · ·I think LaRoche claimed that he had

   15· · submitted some slips, but I'm not sure about that.

   16· · Q.· · · · ·Okay.· He was claiming that he was

   17· · submitting leave slips during a period of time

   18· · when Sergeant Williams was actively surveilling

   19· · him for failing to show up for work which made it

   20· · a really unlikely claim, right?

   21· · A.· · · · ·I was convinced that he had done it,

   22· · that's why I sustained the charge.

   23· · Q.· · · · ·Okay.· Do you remember an officer named

   24· · White -- Freudian slip.· His name was not White


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   ·1· · Slaughter.· Brett Slaughter.

   ·2· · A.· · · · ·I remember a case involving Brett

   ·3· · Slaughter.

   ·4· · Q.· · · · ·White officer?

   ·5· · A.· · · · ·I believe he is.

   ·6· · Q.· · · · ·Okay.· He was alleged to have claimed

   ·7· · overtime or regular duty time of some kind that he

   ·8· · had not worked while he was on an ATF task force.

   ·9· · A.· · · · ·I don't recall a whole lot about the

   10· · overtime part of it.· But I think I remember the

   11· · most was that they didn't think that he was

   12· · working the hours that they expected him to in the

   13· · ATF office.

   14· · Q.· · · · ·"They" meaning the ATF?

   15· · A.· · · · ·Well, the division expects you to work

   16· · an 8-hour tour.· ATF was his supervisor at the

   17· · time.· So it came to light that he might have been

   18· · shorting his days and was investigated for that.

   19· · Q.· · · · ·Okay.· That similar to the LaRoche

   20· · situation it came to light because someone at the

   21· · ATF was essentially looking for him while he was

   22· · supposed to be there and he wasn't there, right?

   23· · A.· · · · ·That sounds familiar.

   24· · Q.· · · · ·Okay.· And his shorting of hours or


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   ·1· · theft of time or whatever you want to call it was

   ·2· · discovered directly through basically surveillance

   ·3· · after the initial report.

   ·4· · A.· · · · ·I believe so.

   ·5· · Q.· · · · ·Okay.· Do you remember how much time he

   ·6· · was alleged to have stolen?

   ·7· · A.· · · · ·No.

   ·8· · Q.· · · · ·Do you remember that during the

   ·9· · investigation there was additional misconduct

   10· · discovered, there was some kind of pornographic

   11· · material or something like that discovered in his

   12· · office that he wasn't supposed to have?

   13· · A.· · · · ·I remember that they found pornographic

   14· · material.· I don't remember if it resulted in an

   15· · actual allegation of misconduct.

   16· · Q.· · · · ·Okay.

   17· · A.· · · · ·Because I don't remember if we could

   18· · prove that it was his or -- I just remember that

   19· · they found that material.

   20· · Q.· · · · ·Was officer --

   21· · A.· · · · ·I don't remember the outcome.

   22· · Q.· · · · ·Oh, I'm sorry.· Was Officer Slaughter

   23· · terminated?

   24· · A.· · · · ·No.


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   ·1· · Q.· · · · ·What was his discipline?

   ·2· · A.· · · · ·He was removed from that assignment.

   ·3· · And I don't recall what the outcome of the

   ·4· · disciplinary case was.

   ·5· · Q.· · · · ·Was there a suspension?

   ·6· · A.· · · · ·I don't -- I just said I don't recall.

   ·7· · Q.· · · · ·You don't remember.· Oh, I'm sorry.                    I

   ·8· · just meant like, you know, you could not remember

   ·9· · whether it was a DCC or a written reprimand or

   10· · something?

   11· · A.· · · · ·I don't recall.

   12· · Q.· · · · ·You just don't remember at all what the

   13· · level of discipline was?

   14· · A.· · · · ·I'm sure you have the record.

   15· · Q.· · · · ·I actually don't.

   16· · A.· · · · ·Oh.

   17· · Q.· · · · ·Do you remember any discussions with

   18· · professional standards or the safety director

   19· · about the level of discipline in this case?

   20· · · · · · · ·MR. COGLIANESE:· Objection.

   21· · A.· · · · ·I don't have any recall of it.

   22· · Q.· · · · ·Okay.

   23· · A.· · · · ·When was the hearing?

   24· · Q.· · · · ·I believe 2018 maybe.


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   ·1· · A.· · · · ·Well, I was gone for a significant

   ·2· · portion of 2018.

   ·3· · Q.· · · · ·Okay.

   ·4· · A.· · · · ·So --

   ·5· · Q.· · · · ·Do you think you were involved in

   ·6· · Slaughter's discipline?

   ·7· · A.· · · · ·It's not ringing any bells.

   ·8· · Q.· · · · ·Okay.

   ·9· · A.· · · · ·I might have been.· I remember being

   10· · told about the case, but I don't remember holding

   11· · the disciplinary hearing.

   12· · Q.· · · · ·Do you remember what deputy chief he

   13· · would have been reporting up to through ATF?

   14· · A.· · · · ·I'm pretty sure it was Deputy Chief

   15· · Becker.

   16· · Q.· · · · ·Okay.· Is there anything else you can

   17· · tell me about that case?· Everything we just

   18· · discussed is basically everything you remember?

   19· · A.· · · · ·I remember that the ATF was highly

   20· · embarrassed by their lack of oversight over him

   21· · and we threatened to not give them another task

   22· · force officer because we didn't want that kind of

   23· · behavior to be allowed.· They admitted that they

   24· · had done a very poor job of monitoring time in the


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   ·1· · office and/or whatever.· I believe that in that

   ·2· · particular case there was some surveillance, yes.

   ·3· · But it was surveillance that said you're not in

   ·4· · the office, but I can't prove that you are not

   ·5· · doing some other type of work, you know, that

   ·6· · originated outside the office and you were just

   ·7· · late getting there.· That was a -- I believe an

   ·8· · evidence problem in that particular case, and

   ·9· · really poor oversight by the ATF.

   10· · Q.· · · · ·But at the end of the day, the CPD's

   11· · conclusion was that Slaughter was guilty of some

   12· · misconduct conduct related to this.

   13· · A.· · · · ·I don't recall.

   14· · Q.· · · · ·Okay.

   15· · A.· · · · ·I'm not sure if I even had the hearing

   16· · because I didn't work the last two months of the

   17· · year, and I was gone for almost all of August, and

   18· · I don't recall when that was resolved.

   19· · Q.· · · · ·Okay.· Other than the officers that we

   20· · have discussed today, are you aware of any white

   21· · Columbus Division of Police officers who were

   22· · terminated for misreporting their hours worked or

   23· · receiving pay or leave credit for hours that they

   24· · didn't work?


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   ·2· · A.· · · · ·I can't remember exactly what the

   ·3· · charges were, but Lieutenant Brian Lance was

   ·4· · charged with a lot of different leave issues, not

   ·5· · being at work when he said he was at work.                   I

   ·6· · believe I made a recommendation of 240-hour

   ·7· · suspension, termination and demotion on him.

   ·8· · Q.· · · · ·Okay.· That was his -- I'm sorry.· Go

   ·9· · ahead.

   10· · A.· · · · ·And I believe that he might have

   11· · resigned prior to being fired.

   12· · · · · · · ·I already talked about Troy Casner.

   13· · Sergeant Moore, as you know, I believe I made a

   14· · recommendation of termination and suspension for

   15· · him with regard to abuse of overtime and basically

   16· · stealing money that he didn't earn, didn't work.

   17· · Q.· · · · ·And a lot of other things as well.

   18· · A.· · · · ·And a lot of other things.· As far as

   19· · related to leave and time and overtime and theft.

   20· · Officer Knode is white, I recommended termination

   21· · for him for theft.

   22· · Q.· · · · ·But not for theft of time?

   23· · A.· · · · ·No.· Money.· Those are the ones that I

   24· · recall.· There may be -- well, no.· I take that


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   ·1· · back.· I had a number of male white officers that

   ·2· · got in trouble with being at work.· Joe Hern,

   ·3· · Steve Franchini, Richard Ptak.· They basically

   ·4· · abandoned their jobs to a large degree.· But they

   ·5· · had medical conditions so they were being covered

   ·6· · by sick leave and/or, you know, maybe they were

   ·7· · time -- leave without pay time, but they were

   ·8· · marked off sick I believe.· I think both Ptak and

   ·9· · Franchini might have died after they left

   10· · employment.· I think they were both fired.· Hern

   11· · might have resigned because he was under

   12· · investigation a number of times.· Josh Wagner was

   13· · I don't think related to time, but he had several

   14· · different issues going on.

   15· · · · · · · ·Sergeant -- but, yeah, Franchini and

   16· · Ptak and Hern all I believe were somewhat similar

   17· · in the sense that they were probably abusing sick

   18· · leave and not coming to work and therefore being

   19· · -- and I don't even know if -- what paid status

   20· · they were in, but it was potentially under the

   21· · same rule of conduct or something similar.

   22· · Q.· · · · ·What time frame are we talking about?

   23· · A.· · · · ·During my time as chief.

   24· · Q.· · · · ·Okay.· And these were all guys who had


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   ·1· · legitimate medical conditions -- you don't know?

   ·2· · A.· · · · ·Well, I think two of them were

   ·3· · alcoholics.

   ·4· · Q.· · · · ·Okay.

   ·5· · A.· · · · ·And just weren't able to get their life

   ·6· · turned around well enough.· Hern I don't know that

   ·7· · he had a medical problem or not.· I -- I just

   ·8· · don't remember the circumstances well enough.· I'd

   ·9· · have to go back through the -- well, if they still

   10· · exist.· But --

   11· · Q.· · · · ·I guess I'm -- I've got to figure out

   12· · what you're saying about Franchini and Ptak.· Were

   13· · they terminated because they had basically run out

   14· · of unpaid sick leave that they could take or were

   15· · they terminated because they were found to have

   16· · abused sick leave?

   17· · A.· · · · ·Well, we have rules that say that you

   18· · have to, you know, stay in touch.· If you are on

   19· · medical leave, you have to at lease call HR every

   20· · two weeks to say, hey, I'm still on medical leave

   21· · and this is my condition and give us an update.

   22· · And they were failing to follow orders.· So at

   23· · some point in time HR gets involved and starts

   24· · talking to them to see if they're dealing with


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   ·1· · their issues and yet they still can't violate the

   ·2· · orders to, you know, stay in touch or to stay in

   ·3· · paid status if they can and various other things.

   ·4· · And so they weren't fired because they have a

   ·5· · medical condition.· They were I believe fired

   ·6· · because they were failing to follow the orders

   ·7· · related to staying -- of following orders.

   ·8· · Q.· · · · ·They basically just stopped coming to

   ·9· · work and then nobody could get in touch with them

   10· · to figure out --

   11· · A.· · · · ·Correct.

   12· · Q.· · · · ·-- what was going on.

   13· · A.· · · · ·Yeah.

   14· · Q.· · · · ·And they abandoned their jobs?

   15· · A.· · · · ·We went out to do home visits, and, you

   16· · know, either they weren't home or they were home

   17· · and they weren't answering the door, you know.

   18· · Q.· · · · ·So it wasn't about officers trying to

   19· · get paid for work they weren't doing or something

   20· · like that.· It was basically officers who just

   21· · weren't coming to work anymore and weren't --

   22· · A.· · · · ·Well, I don't recall.· At some point in

   23· · time they might have been trying to get paid for

   24· · not working.· But I just don't remember the


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   ·1· · timeline.· You know, oftentimes you -- if it goes

   ·2· · that long, you were on paid time for a while and

   ·3· · then you get off of it.

   ·4· · Q.· · · · ·Okay.· Was it the same with Hern as

   ·5· · with Franchini and Ptak, or is that something

   ·6· · different?

   ·7· · A.· · · · ·No.· It's different.

   ·8· · Q.· · · · ·What was Hern doing?

   ·9· · A.· · · · ·I don't recall.· There was some

   10· · misconduct on his part.

   11· · Q.· · · · ·About abuse of sick leave or --

   12· · A.· · · · ·I can't remember.

   13· · Q.· · · · ·Okay.· And Hern resigned under

   14· · investigation but hadn't actually been recommended

   15· · for termination at that point.

   16· · A.· · · · ·I believe so.

   17· · Q.· · · · ·And Franchini and Ptak were terminated,

   18· · but it was basically like --

   19· · A.· · · · ·As far as I recall.

   20· · Q.· · · · ·Did they contest the termination or did

   21· · they just basically disappear?

   22· · A.· · · · ·I don't believe that they contested it

   23· · much.

   24· · Q.· · · · ·Was there a chief's hearing?


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   ·1· · A.· · · · ·To be terminated you would have to have

   ·2· · a chief's hearing.

   ·3· · Q.· · · · ·Did they show up for the chief's

   ·4· · hearing?

   ·5· · A.· · · · ·I just don't know that.

   ·6· · Q.· · · · ·Okay.· You said somebody named Wagner.

   ·7· · Did you say that that wasn't related at the time?

   ·8· · A.· · · · ·Yeah.· I don't think that that's

   ·9· · related to leave time.

   10· · Q.· · · · ·Okay.· I'm going to jump back to the

   11· · ones that I think are a little bit more closely

   12· · related maybe -- maybe you think those are closely

   13· · related.· But Casner we talked about a little bit.

   14· · There was an additional allegation about tampering

   15· · with the investigation or talking to other

   16· · officers about the investigation.· But in addition

   17· · to that, do you recall he had had also a DUI

   18· · within the time frame of the lookback?

   19· · A.· · · · ·It was prior to that behavior being

   20· · discovered.

   21· · Q.· · · · ·Right.· But it was within the four-year

   22· · window of being able to be included in

   23· · disciplinary decisions?

   24· · A.· · · · ·Yeah.· I don't think that he received


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   ·1· · any discipline out of the DUI.· Did he?

   ·2· · Q.· · · · ·Oh, really?· I --

   ·3· · A.· · · · ·I don't think that he did.

   ·4· · Q.· · · · ·Okay.

   ·5· · A.· · · · ·They were -- they were -- he was found

   ·6· · not guilty I believe in court, and so that made it

   ·7· · really difficult to proceed administratively.

   ·8· · Q.· · · · ·Okay.· The one you mentioned, Brian

   ·9· · Lance that you recall he was terminated on this

   10· · third incident of AWOL.

   11· · A.· · · · ·I think he was terminated.· I don't

   12· · think he resigned.

   13· · Q.· · · · ·Well, I mean he resigned in lieu of

   14· · termination, I guess.

   15· · A.· · · · ·Okay.

   16· · Q.· · · · ·But your recommendation for his

   17· · termination was after his third indent of AWOL,

   18· · right?

   19· · A.· · · · ·All within a short period of time, yes.

   20· · Q.· · · · ·But they were separately investigated

   21· · like they had actually disciplined him for AWOL

   22· · previously twice before he was recommended for

   23· · termination.

   24· · A.· · · · ·Yeah.· I believe so.


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   ·1· · Q.· · · · ·Are you -- other than the officers we

   ·2· · already mentioned, are you aware of any black

   ·3· · officers who had a sustained allegation of time

   ·4· · reporting issues that were not terminated?

   ·5· · A.· · · · ·Do you mean --

   ·6· · · · · · · ·MR. COGLIANESE:· Objection.

   ·7· · A.· · · · ·-- besides Randall Lyons?

   ·8· · Q.· · · · ·Yes.

   ·9· · A.· · · · ·Not that I recall specifically.

   10· · Q.· · · · ·Okay.

   11· · A.· · · · ·I mean, understand that, you know,

   12· · discipline could happen for being late by the

   13· · immediate supervisor and I wouldn't know about it.

   14· · Q.· · · · ·In terms of discipline that was in

   15· · front of you, though, you can't think of any other

   16· · ones?

   17· · A.· · · · ·That's correct.

   18· · Q.· · · · ·Okay.· How about white officers who had

   19· · discipline in front of you who were not terminated

   20· · for time reporting infractions besides the ones

   21· · we've talked about?

   22· · A.· · · · ·Not that I recall.

   23· · Q.· · · · ·Okay.· Do you remember I think we

   24· · talked about Joseph Houseberg at the very


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   ·1· · beginning in terms of your relationship?· Do you

   ·2· · remember an investigation of Houseberg related to

   ·3· · special duty?

   ·4· · A.· · · · ·Yes.

   ·5· · Q.· · · · ·Houseberg was found to have made a

   ·6· · false report regarding his special duty assignment

   ·7· · about contact he had with a civilian; is that

   ·8· · right?

   ·9· · A.· · · · ·Yes.

   10· · Q.· · · · ·All right.· And it was the kind of

   11· · report that it somehow caused the apartment

   12· · complex involved to mistakenly believe that

   13· · somebody had violated a protection order or

   14· · something and they had actually started to

   15· · initiate civil litigation about it; does that

   16· · sound familiar?

   17· · A.· · · · ·Not a protection order.· I think it was

   18· · just a stay away order.

   19· · Q.· · · · ·Stay away order?

   20· · A.· · · · ·Uh-huh.

   21· · Q.· · · · ·Okay.· And first of all, he was

   22· · immediately fired from that special duty

   23· · assignment by the apartment complex, right?

   24· · A.· · · · ·I believe so.


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   ·1· · Q.· · · · ·Okay.· And the same report that he

   ·2· · filed actually amounted to improper use of OHLEG

   ·3· · data from the law enforcement Gateway.

   ·4· · A.· · · · ·It contained information from that,

   ·5· · yes.

   ·6· · Q.· · · · ·And he had given that information to a

   ·7· · civilian, to the apartment complex.

   ·8· · A.· · · · ·Yes.

   ·9· · Q.· · · · ·Which was improper.

   10· · A.· · · · ·Correct.

   11· · Q.· · · · ·And a felony.

   12· · A.· · · · ·Well --

   13· · · · · · · ·MR. COGLIANESE:· Objection.

   14· · A.· · · · ·-- if it's prosecuted, then it's a

   15· · felony.

   16· · Q.· · · · ·Well, it's a felony whether it's

   17· · prosecuted or not.· But if he was found guilty of

   18· · it, he would be guilty of a felony, right?

   19· · · · · · · ·MR. COGLIANESE:· Objection.

   20· · Q.· · · · ·I'll withdraw that question.

   21· · · · · · · ·Improper use of -- impair sharing of

   22· · OHLEG data with a civilian by a police officer is

   23· · a fifth degree felony in the State of Ohio?

   24· · · · · · · ·MR. COGLIANESE:· Objection.


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   ·1· · A.· · · · ·There is a law like that.

   ·2· · Q.· · · · ·Okay.· In particularly I mean there's

   ·3· · -- I don't know if you've seen the reporting

   ·4· · recently, there was a chief of police out of

   ·5· · Buckeye Lake that was just indicted for a couple

   ·6· · of those.· Do you remember seeing that?

   ·7· · A.· · · · ·I don't.

   ·8· · Q.· · · · ·Okay.· The luxury of not having to read

   ·9· · the papers I guess when you're not the chief

   10· · anymore.

   11· · · · · · · ·In the packet, the internal affairs

   12· · packet and the chain of command materials for the

   13· · Houseberg investigation there's a notation that

   14· · said that after consulting with Jeff Furbee, there

   15· · was an indication that this was not the kind of

   16· · OHLEG violation that would likely to be

   17· · prosecuted.· Do you remember that?

   18· · A.· · · · ·Not specifically.· But I don't doubt

   19· · that you've read that.

   20· · Q.· · · · ·Do you remember that there was no

   21· · actual criminal investigation of Joe Houseberg?

   22· · A.· · · · ·I don't recall a criminal investigation

   23· · being conducted by anybody about that particular

   24· · violation.


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   ·1· · Q.· · · · ·Okay.· And he admitted to the

   ·2· · violation, I mean it was clear that there was no

   ·3· · question that he had shared OHLEG data with a

   ·4· · civilian.

   ·5· · A.· · · · ·Correct.

   ·6· · Q.· · · · ·Okay.· He received a sustained

   ·7· · allegation of untruthful after your chief's

   ·8· · hearing; is that right?

   ·9· · A.· · · · ·After my chief's hearing?

   10· · Q.· · · · ·You sustained -- there was a charge of

   11· · untruthful against him.

   12· · A.· · · · ·You said after my hearing.

   13· · Q.· · · · ·And then after your hearing you

   14· · sustained -- you recommended sustaining the

   15· · charge.

   16· · A.· · · · ·I thought I changed the rule of

   17· · conduct.

   18· · Q.· · · · ·Okay.· Can I get 24.

   19· · · · · · · ·Let me ask before we get into that.· Do

   20· · you remember why you would have changed the rule

   21· · of conduct?

   22· · A.· · · · ·Because I thought that was the most

   23· · appropriate way of handling that particular

   24· · situation.


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   ·1· · Q.· · · · ·Okay.· What did you change it --

   ·2· · A.· · · · ·He was classified as making a

   ·3· · misrepresentation of the information on the report

   ·4· · rather than untruthfulness.

   ·5· · Q.· · · · ·Okay.· Is that a less serious charge?

   ·6· · A.· · · · ·It was handled as a less serious rule

   ·7· · of conduct.· With a 136, there's -- that's the

   ·8· · unbecoming conduct.· He was untruthful to the

   ·9· · people that he worked for at the apartment

   10· · complex.· It wasn't a matter of being untruthful

   11· · to the Division of Police.

   12· · Q.· · · · ·Okay.· But before we go further down

   13· · this line, let me just give you the packet.· This

   14· · has been marked as Plaintiff's Exhibit 24.· If you

   15· · flip, one, two -- about three pages in is your

   16· · recommendation to Director Speaks on Houseberg's

   17· · case.· Do you see it?

   18· · · · · · · · · · · · ·- - - - -

   19· · · · · · ·Thereupon, Plaintiff's Exhibit 24 is

   20· · marked for purposes of identification.

   21· · · · · · · · · · · · - - - - -

   22· · A.· · · · ·Yes.

   23· · Q.· · · · ·On the second page it appears to me

   24· · that you -- the charge says, "You are hereby


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   ·1· · charged with violating Rule 1:15(A)(5) General

   ·2· · Requirements, which states, 'Division personnel

   ·3· · shall be truthful at all times.'"· And it says,

   ·4· · "Specification I+II:· Sustained."· Is that not a

   ·5· · sustained untruthful?

   ·6· · A.· · · · ·Well, you have to keep reading.

   ·7· · Q.· · · · ·Okay.· What does that mean, the next

   ·8· · notation?

   ·9· · A.· · · · ·It says my recommendation is that it's

   10· · an 80-hour suspension for violating rule of

   11· · conduct 1.36.

   12· · Q.· · · · ·Okay.· So basically you're saying he

   13· · did the thing that he was accused of, but the rule

   14· · of conduct is as you described.

   15· · A.· · · · ·Yeah.

   16· · Q.· · · · ·It's different in your mind -- well,

   17· · first of all, do you know, does a finding like

   18· · this get an officer put on a 1010 list?

   19· · A.· · · · ·No.

   20· · Q.· · · · ·Okay.· In your view, it's different for

   21· · the officer to falsely report something to his

   22· · special duty employer than it is to falsely report

   23· · it to the division.

   24· · A.· · · · ·Well, there's a distinction.


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.

   ·2· · Q.· · · · ·Okay.· Less serious to report it to a

   ·3· · private person than to the public.

   ·4· · A.· · · · ·It's serious any time it's -- you know,

   ·5· · the rule is to be truthful at all times, it

   ·6· · doesn't specify just to division personnel.· We

   ·7· · hope that you're honest and have integrity in all

   ·8· · cases.· But in this particular case, he ended up

   ·9· · giving bad information to his special duty

   10· · employer.

   11· · Q.· · · · ·False information.

   12· · A.· · · · ·Yeah.

   13· · Q.· · · · ·Information that wasn't just bad, he

   14· · knew it was not true.

   15· · A.· · · · ·Well, I don't know if he knew that it

   16· · -- yeah.

   17· · Q.· · · · ·Do you remember what the report was

   18· · about?

   19· · A.· · · · ·He said that he talked to somebody, so,

   20· · yes, that was wrong.

   21· · Q.· · · · ·Yeah.· He said that he -- rather than

   22· · just seeing somebody drive by, he had actually

   23· · stopped the car and done some work that he didn't

   24· · actually do which is to stop the car and --


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   ·1· · A.· · · · ·Yeah.

   ·2· · Q.· · · · ·-- talk to the person.

   ·3· · A.· · · · ·Yeah.

   ·4· · Q.· · · · ·And confirm their identity.

   ·5· · A.· · · · ·I remember that now.

   ·6· · Q.· · · · ·Okay.· So obviously something that he

   ·7· · intentionally lied about within the report.

   ·8· · A.· · · · ·Correct.

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.

   10· · Q.· · · · ·And again as with the Kirby case, this

   11· · is a situation where you've got an officer who's

   12· · found in an investigation to have lied, but in

   13· · terms of the prosecutor's obligation to inform

   14· · criminal defendants of untruthfulness, a criminal

   15· · defendant being investigated by Officer Houseberg

   16· · would not be provided with the information.

   17· · · · · · · ·MR. COGLIANESE:· Objection.

   18· · A.· · · · ·What was the question?

   19· · Q.· · · · ·This is another situation where you

   20· · have an officer who you know lied but you're not

   21· · informing the prosecutor of that?

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · Q.· · · · ·Right?

   24· · A.· · · · ·I wouldn't describe it that way.                   I


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   ·1· · decided not to sustain a charge of untruthfulness.

   ·2· · It's not a matter of me not telling the

   ·3· · prosecutor.

   ·4· · Q.· · · · ·Okay.· Did you tell the prosecutor

   ·5· · about this one?

   ·6· · A.· · · · ·I don't believe that I did.

   ·7· · Q.· · · · ·Okay.· And you didn't put him on the

   ·8· · 1010 list?

   ·9· · A.· · · · ·Correct.

   10· · Q.· · · · ·Okay.· Why wasn't Officer Houseberg

   11· · terminated?

   12· · A.· · · · ·Because I didn't think that that was

   13· · the level of discipline that was appropriate for

   14· · this instance.

   15· · Q.· · · · ·Why not?

   16· · A.· · · · ·Because I didn't think it was

   17· · appropriate.

   18· · Q.· · · · ·Okay.· No reasoning, no, you know,

   19· · nothing -- what makes this case less serious than

   20· · Officer Morgan's case in your mind?

   21· · · · · · · ·MR. COGLIANESE:· Objection.

   22· · A.· · · · ·Well, to start off with, this was a

   23· · one-time incident.· It was giving the wrong

   24· · information -- untruthful information if you will


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   ·1· · in one particular instance.

   ·2· · Q.· · · · ·Okay.· Do you know whether in this

   ·3· · investigation anybody pulled the rest of Officer

   ·4· · Houseberg's reports to this special duty employer

   ·5· · to determine whether they may have been other

   ·6· · similar instances?

   ·7· · A.· · · · ·I do not know.

   ·8· · Q.· · · · ·Okay.· Unlike in Officer Morgan's case

   ·9· · where all of his time was pulled?

   10· · · · · · · ·MR. COGLIANESE:· Objection.

   11· · A.· · · · ·I don't know.

   12· · Q.· · · · ·Okay.· Do you know -- first of all, is

   13· · Officer Houseberg a white officer?

   14· · A.· · · · ·Yes.

   15· · Q.· · · · ·Okay.· Do you remember an officer named

   16· · Andrew Hawkins?

   17· · A.· · · · ·I know of -- I know of him.

   18· · Q.· · · · ·Okay.· White officer?

   19· · A.· · · · ·Yes.

   20· · Q.· · · · ·Okay.· Do you recall that there was an

   21· · investigation of Officer Hawkins related to an

   22· · off-duty stop of civilians?

   23· · A.· · · · ·Well, I don't know about calling it a

   24· · stop.· But there was an incident involving him off


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   ·1· · duty and civilian.

   ·2· · Q.· · · · ·Okay.· Well, what do you remember about

   ·3· · that incident?

   ·4· · A.· · · · ·His wife called him very upset about

   ·5· · something that had happened while she was I

   ·6· · believe shopping.· And he misconstrued it it

   ·7· · sounds like or she gave him bad information, I'm

   ·8· · not sure which.· But he believed that she was in

   ·9· · some sort of danger or, you know, facing harm or

   10· · some type of a volatile situation, and he

   11· · responded to her location and found I think two

   12· · men that he thought were involved with her

   13· · situation.· And I believe that he, you know,

   14· · threatened them.· I'm not sure if he -- he might

   15· · have pulled his gun and tried to keep them there

   16· · until -- I think maybe he might have called the

   17· · Sheriff's Office or something like that, but I

   18· · don't remember all the particulars.

   19· · Q.· · · · ·Okay.· Do you remember that the actual

   20· · incident that his wife was calling him about was

   21· · she was in the parking lot and the guys had opened

   22· · their car door and dinged her car door with their

   23· · door and then drove away without exchanging

   24· · information?


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   ·1· · A.· · · · ·I remember that it was something that

   ·2· · was totally blown up.· And I don't remember what

   ·3· · she told him.· But I remember that he perceived it

   ·4· · as something far worse than it actually was.

   ·5· · Q.· · · · ·Okay.· And do you remember that he told

   ·6· · Sergeant Decker, who conducted his internal

   ·7· · affairs investigation, that he believed his wife

   ·8· · might have been kidnapped and that this somehow

   ·9· · justified him stopping these civilians on the

   10· · road?

   11· · A.· · · · ·I can't remember what words he used

   12· · exactly.· But I know that he felt that she was in

   13· · some sort of danger.

   14· · Q.· · · · ·Okay.· And Sergeant Decker's conclusion

   15· · was that was not a reasonable reaction to this

   16· · situation, considering that there was, like, 30 or

   17· · 40 seconds between him getting the call from his

   18· · wife and coming into contact with these guys?

   19· · There wasn't, like, possibly enough time for

   20· · somebody to grab her and put her in a car or

   21· · something like that?

   22· · A.· · · · ·I don't remember Sergeant Decker's

   23· · words to that effect.· But I think that most of us

   24· · felt that.


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   ·1· · Q.· · · · ·Yeah.· And in particular, also there

   ·2· · was reason to believe that even Officer Hawkins

   ·3· · didn't actually believe that his wife had

   ·4· · potentially been kidnapped or harmed because he

   ·5· · was yelling at these guys about doing a hit skip

   ·6· · or a hit and run, not about kidnapping somebody or

   ·7· · hurting somebody.

   ·8· · A.· · · · ·Is that a question?

   ·9· · Q.· · · · ·I'm asking you whether you remember

   10· · that?

   11· · A.· · · · ·Not particularly.

   12· · Q.· · · · ·Okay.· But you wouldn't dispute it?

   13· · A.· · · · ·No.

   14· · Q.· · · · ·Okay.· Do you remember that this was a

   15· · very widely reported incident in the media?

   16· · A.· · · · ·I don't remember how widely.

   17· · Q.· · · · ·There was news coverage, though.

   18· · A.· · · · ·Okay.

   19· · Q.· · · · ·Right?

   20· · A.· · · · ·I can't remember anything specific on

   21· · that.

   22· · Q.· · · · ·Okay.· Do you remember that Officer

   23· · Hawkins pled guilty to criminal charges based on

   24· · this incident?


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   ·1· · A.· · · · ·That sounds familiar, maybe a

   ·2· · disorderly conduct or something.

   ·3· · Q.· · · · ·I think it was actually an attempted

   ·4· · unlawful restraint.· Does this sound right or --

   ·5· · A.· · · · ·Could be.· You've got the paperwork.

   ·6· · Q.· · · · ·Do you remember that once Officer

   ·7· · Hawkins -- well, I'll just represent to you once

   ·8· · Officer Hawkins pled guilty to the charges against

   ·9· · him, he was immediately restored to active duty

   10· · after having been relieved of his assignment prior

   11· · to that.

   12· · A.· · · · ·Do I recall that?

   13· · Q.· · · · ·I'm representing to you that that

   14· · happened.· I'm just asking do you recall being

   15· · involved in that or aware of that?

   16· · A.· · · · ·No.

   17· · Q.· · · · ·Okay.· Can you explain why he would be

   18· · restored to active duty before the investigation

   19· · was concluded?

   20· · A.· · · · ·What is --

   21· · · · · · · ·MR. COGLIANESE:· Objection.

   22· · A.· · · · ·-- the -- what is the level of

   23· · conviction?

   24· · Q.· · · · ·It was a misdemeanor.· Does that


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   ·1· · matter?

   ·2· · A.· · · · ·Yes.

   ·3· · Q.· · · · ·So if it's a misdemeanor and not a

   ·4· · felony, that's automatically back to duty.

   ·5· · A.· · · · ·Well, if it's a felony, he can't be a

   ·6· · police officer.

   ·7· · Q.· · · · ·Okay.

   ·8· · A.· · · · ·So it's an automatic.

   ·9· · Q.· · · · ·Okay.

   10· · A.· · · · ·If it's a misdemeanor, then it's taken

   11· · into consideration.· But we've had any number of

   12· · officers charged with M1s that have not been

   13· · fired.· OVI, for instance.

   14· · Q.· · · · ·Okay.

   15· · A.· · · · ·So there's no reason to believe

   16· · necessarily that a conviction of a misdemeanor

   17· · would be resulting in a termination.

   18· · Q.· · · · ·Okay.· Officer Hawkins received a

   19· · 40-hour suspension for this incident.· Do you have

   20· · recollection of why that level of discipline was

   21· · chosen compared to something more serious or

   22· · termination?

   23· · A.· · · · ·It's a misdemeanor conviction, so I

   24· · look at what other misdemeanor convictions we have


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   ·1· · and the circumstance of the case.· And I know

   ·2· · previously mentioned Officer Lyons had been

   ·3· · involved in an off-duty incident, pulling a gun

   ·4· · and pointing it at a citizen and scaring her half

   ·5· · to death and waiving it in front of her children.

   ·6· · And I don't remember what the outcome of his case

   ·7· · was, but I know that that was something that was

   ·8· · taken into consideration.

   ·9· · Q.· · · · ·Just to remind you, Officer Lyons got

   10· · 80 hours --

   11· · A.· · · · ·Okay.

   12· · Q.· · · · ·-- double the suspension that Officer

   13· · Hawkins got.· Does that tell you any more about

   14· · why you gave Hawkins what you gave him or

   15· · recommended what you recommended?

   16· · A.· · · · ·Well, I based it based on the fact that

   17· · I thought that the 40 hours was appropriate for

   18· · the circumstances, just like I did for Officer

   19· · Lyons.

   20· · Q.· · · · ·The Lyons situations that you just

   21· · mentioned, Officer Lyons had actually been

   22· · directly involved in the accident that resulted in

   23· · the stop that he made, right?

   24· · A.· · · · ·What are you asking?


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   ·1· · Q.· · · · ·Officer Hawkins, he was told about an

   ·2· · incident and then basically chased these guys down

   ·3· · without proper authority to do that.· Whereas,

   ·4· · Officer Lyons personally witnessed a potential

   ·5· · crime and therefore had authority to make the

   ·6· · stop, right?

   ·7· · A.· · · · ·That was his interpretation --

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · A.· · · · ·-- of it, yes.

   10· · Q.· · · · ·Okay.· That was also Jeff Furbee's

   11· · interpretation of it, right?

   12· · · · · · · ·MR. COGLIANESE:· Objection.· Don't --

   13· · don't answer what Furbee told you.

   14· · · · · · · ·MR. VARDARO:· It's been -- I mean, it's

   15· · in the public records that we were provided about

   16· · Officer Lyons.

   17· · · · · · · ·MR. COGLIANESE:· You're asking her to

   18· · tell you what Furbee told her.

   19· · · · · · · ·MR. VARDARO:· The department's already

   20· · disclosed it in public records.

   21· · A.· · · · ·I don't recall the conversation.

   22· · Q.· · · · ·Officer Lyons wasn't subjected to a

   23· · criminal investigation unlike Hawkins who was

   24· · criminally convicted, right?


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   ·1· · A.· · · · ·You have better records than I do.

   ·2· · Q.· · · · ·Okay.· You just don't remember.

   ·3· · A.· · · · ·I don't remember.

   ·4· · Q.· · · · ·Okay.· Do you remember that the Officer

   ·5· · Lyons situation was he was driving with a woman

   ·6· · and a child in his car and the person that he was

   ·7· · accused of this conduct toward had actually run

   ·8· · into his car and he believed that it might have

   ·9· · been on purpose?

   10· · · · · · · ·MR. COGLIANESE:· Objection.

   11· · Q.· · · · ·Clipped his mirror or something like

   12· · that.

   13· · A.· · · · ·I think that was the claim.

   14· · Q.· · · · ·Okay.· And it was confirmed that there

   15· · was contact between the cars at least.

   16· · A.· · · · ·Could be.

   17· · Q.· · · · ·Okay.· Officer Lyons I'll represent to

   18· · you was never charged with anything, never

   19· · convicted of anything in terms of the criminal

   20· · process.· He was relieved of duty for the entire

   21· · course of his investigation, unlike Officer

   22· · Hawkins.· Can you explain that?

   23· · · · · · · ·MR. COGLIANESE:· Objection.

   24· · A.· · · · ·I don't know what the reasoning was.


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   ·1· · Q.· · · · ·Okay.· Was it your reasoning --

   ·2· · A.· · · · ·But I don't know that I made that

   ·3· · decision.

   ·4· · Q.· · · · ·Okay.· Who would have made the

   ·5· · decision?

   ·6· · A.· · · · ·Immediate supervisors have the ability

   ·7· · to relieve somebody of duty and deputy chiefs can

   ·8· · put somebody back to work after being relieved of

   ·9· · duty, sometimes commanders can.· So I don't know

   10· · where that decision was made.

   11· · Q.· · · · ·Okay.· Officer Lyons had made quite an

   12· · issue of the fact that he was being kept in

   13· · administrative duty for as long as he was, right?

   14· · I mean, it had been grieved through the union, it

   15· · resulted in a federal lawsuit.· Is any of this

   16· · ringing a bell?

   17· · A.· · · · ·Now that you say something about that,

   18· · I think that he and Jones and Constable are all

   19· · part of one.· But I haven't heard much about that

   20· · particular lawsuit.

   21· · Q.· · · · ·Okay.· But at the time, you don't

   22· · remember being aware of a controversy over Lyons

   23· · being kept in an administrative duty as long as he

   24· · was?


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   ·1· · A.· · · · ·I'm saying I don't recall that now.

   ·2· · Q.· · · · ·Okay.· Do you also remember an

   ·3· · investigation of Officer Hawkins while he was

   ·4· · under investigation for the improper -- for that

   ·5· · -- the situation we just described where he

   ·6· · improperly handled an OVI arrest?

   ·7· · A.· · · · ·You're going to have to refresh my

   ·8· · memory on that one.

   ·9· · Q.· · · · ·He was a field training officer, and he

   10· · and his trainee had been called in to help with an

   11· · OVI situation involving a Hispanic male and ended

   12· · up -- he ended up being removed from the field

   13· · training officer program as a result of it.

   14· · A.· · · · ·I don't remember the details about

   15· · that.

   16· · Q.· · · · ·I'll tell you a little bit more about

   17· · it, see if I can jog your memory.

   18· · · · · · · ·He actually failed to investigate the

   19· · guy for OVI, even though it was obvious that he

   20· · was the person driving the car and he was

   21· · extremely intoxicated and had been involved in a

   22· · hit and run.· They put the guy in the back of the

   23· · cruiser without putting his seat belt on and he

   24· · was flailing all around the cruiser and falling


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   ·1· · down and stuff while they were driving.· He ended

   ·2· · up vomiting and defecating in the cruiser, and

   ·3· · Hawkins was accused of taking pictures of it and

   ·4· · distributing it to other officers.· Does any of

   ·5· · that familiar?

   ·6· · A.· · · · ·Was he departmentally charged?

   ·7· · Q.· · · · ·I -- that, I don't know.

   ·8· · A.· · · · ·Was he given a written reprimand?

   ·9· · Q.· · · · ·I'm asking you whether you remember it.

   10· · A.· · · · ·I don't remember dealing with the

   11· · disciplinary case involving that --

   12· · Q.· · · · ·Okay.

   13· · A.· · · · ·-- set of circumstances.· I'm not

   14· · saying I didn't, I just don't recall it.

   15· · Q.· · · · ·If it happened during the course of the

   16· · stop investigation, the investigation resulting in

   17· · his criminal charge or resulting from his criminal

   18· · charge, would you have been informed of it at the

   19· · time of your chief's hearing in terms of his

   20· · active discipline?

   21· · · · · · · ·MR. COGLIANESE:· Objection.· Go ahead.

   22· · A.· · · · ·I don't know.· I can't recall.

   23· · Q.· · · · ·Okay.

   24· · A.· · · · ·It's just not sounding familiar to me.


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   ·1· · Q.· · · · ·You do remember the Eric Moore

   ·2· · investigation, the one where he was terminated and

   ·3· · then brought back after arbitration?

   ·4· · A.· · · · ·I do.

   ·5· · Q.· · · · ·Okay.· And you remember also

   ·6· · recommending the termination of Melissa McFadden

   ·7· · related to EEO violations?

   ·8· · A.· · · · ·I do.

   ·9· · Q.· · · · ·Okay.· Officer Moore, Sergeant Moore a

   10· · white officer.· McFadden was black, correct?

   11· · A.· · · · ·Yes.

   12· · Q.· · · · ·Both officers were investigated for

   13· · allegedly making racially inappropriate remarks,

   14· · right?

   15· · A.· · · · ·Not -- Sergeant Moore's allegation of

   16· · making racially charged remarks was different than

   17· · Lieutenant McFadden's.· And Lieutenant McFadden

   18· · was alleged to have engaged in a pattern of that.

   19· · Q.· · · · ·Okay.· But they were both accused of

   20· · making racially inappropriate remarks.

   21· · A.· · · · ·No.

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·I believe that Lieutenant McFadden was

   24· · charged with making discriminatory -- not just


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   ·1· · racially inappropriate, but discriminatory

   ·2· · remarks.

   ·3· · Q.· · · · ·But the remarks were also racially

   ·4· · inappropriate.· I mean, depending on -- the label

   ·5· · is fair to put on that in addition to whatever

   ·6· · other label you want to add to it.

   ·7· · · · · · · ·MR. COGLIANESE:· Objection.

   ·8· · Q.· · · · ·Let me put it this way before you

   ·9· · answer:· I understand there are differences

   10· · between the two cases and I want to ask those

   11· · differences.

   12· · A.· · · · ·Okay.

   13· · Q.· · · · ·I'm just asking about a similarity.

   14· · Both of these supervisors were alleged to have

   15· · made racial remarks of some kind, right?

   16· · · · · · · ·MR. COGLIANESE:· Objection.

   17· · A.· · · · ·That's one way of phrasing it if you

   18· · want to.· But there's a great distinction between

   19· · the behavior that they each were accused of.

   20· · Q.· · · · ·Okay.· Well, Sergeant Moore's remarks

   21· · that he was alleged to have made involved making

   22· · violent threats toward black officers, right?

   23· · A.· · · · ·That was an allegation that was not

   24· · sustained.


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   ·1· · Q.· · · · ·Okay.· But it was clear in reviewing

   ·2· · the investigation that there were corroborated

   ·3· · allegations of him if not making death threats

   ·4· · towards these officers, at least threatening to

   ·5· · beat them up.

   ·6· · · · · · · ·MR. COGLIANESE:· Objection.

   ·7· · A.· · · · ·The allegation was not sustained.

   ·8· · Q.· · · · ·Okay.· But you read the investigation,

   ·9· · right?· You read it pretty recently.· We had a

   10· · deposition about this last month.

   11· · A.· · · · ·The allegation was not sustained.

   12· · Q.· · · · ·You're allowed to overrule and not

   13· · sustain allegations, right?

   14· · A.· · · · ·Yes.

   15· · Q.· · · · ·Okay.· You decided not to sustain the

   16· · allegation based on the recommendation of your

   17· · chain of command and IA, right?

   18· · A.· · · · ·Based on all the evidence.

   19· · Q.· · · · ·Okay.· The evidence included multiple

   20· · officers confirming that Sergeant Moore used

   21· · racial slurs and used them in a context of

   22· · threatening to beat up or further harm black

   23· · officers.

   24· · A.· · · · ·I'm not going to agree to that --


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.

   ·2· · A.· · · · ·-- depiction of that.

   ·3· · Q.· · · · ·Okay.· The allegations against

   ·4· · lieutenant --

   ·5· · · · · · · ·(A discussion is held off record.)

   ·6· · BY MR. VARDARO:

   ·7· · Q.· · · · ·The allegations against Lieutenant

   ·8· · McFadden did not involve any allegation that she

   ·9· · had made any threat of violence toward any

   10· · officers based on race, not even alleged.

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · A.· · · · ·Not that I recall.

   13· · Q.· · · · ·Okay.· You do remember that there were

   14· · officers who told internal affairs that they

   15· · directly heard Eric Moore make violent threats

   16· · toward black officers.

   17· · A.· · · · ·I know that the allegation was made.

   18· · Q.· · · · ·Okay.· And you know that multiple

   19· · officers who Sergeant Decker interviewed confirmed

   20· · that allegation.

   21· · A.· · · · ·I don't know what you mean by

   22· · "multiple," so --

   23· · Q.· · · · ·Well, officer --

   24· · A.· · · · ·More than one?


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   ·1· · Q.· · · · ·Yes, more than one.· That's what

   ·2· · multiple means.

   ·3· · A.· · · · ·I believe that that might be the case

   ·4· · that there was more than one.

   ·5· · Q.· · · · ·Okay.· Is there a difference between

   ·6· · multiple officers saying the same type of thing

   ·7· · and corroboration?

   ·8· · A.· · · · ·It is not necessarily the same, but it

   ·9· · can be.

   10· · Q.· · · · ·Okay.· Well, in this case Officer

   11· · Serrell accused Eric Moore of making violent

   12· · threats toward black officers and using racial

   13· · slurs in that conversation.· And another officer

   14· · said he wasn't sure if it was a death threat, but

   15· · he definitely used a racial slur and said that he

   16· · was going to beat up a black officer named Cornett

   17· · who was black.

   18· · A.· · · · ·What's the question?

   19· · Q.· · · · ·I'm asking you whether you agree with

   20· · that.

   21· · A.· · · · ·Whether I agree --

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·-- with what?

   24· · Q.· · · · ·The fact that another officer confirmed


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   ·1· · Officer Serrell's allegation that Sergeant Moore

   ·2· · made a violent threat toward Eric Cornett, a black

   ·3· · officer.

   ·4· · A.· · · · ·I'm not denying anything that was in

   ·5· · the investigation --

   ·6· · Q.· · · · ·Okay.

   ·7· · A.· · · · ·-- that was said.

   ·8· · Q.· · · · ·Well, the reason I'm asking it is I

   ·9· · asked you whether there was a corroborated

   10· · allegation of a violent racial threat by Eric

   11· · Moore, and you said you weren't going to admit to

   12· · that because you didn't sustain the allegation.

   13· · A.· · · · ·I don't think that's how you phrased

   14· · it.

   15· · Q.· · · · ·Okay.· So if I phrase it that way, then

   16· · that is accurate in terms of the Moore

   17· · investigation?

   18· · · · · · · ·MR. COGLIANESE:· Objection.

   19· · A.· · · · ·Corroboration in my opinion means that

   20· · the stories match and are contributory towards

   21· · believing that a certain thing did occur.· Stories

   22· · that are similar that may or may not match up on

   23· · certain times may or may not be corroborative.· So

   24· · it's just that word that I'm, you know --


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   ·1· · Q.· · · · ·Okay.

   ·2· · A.· · · · ·I don't know -- like I said, statements

   ·3· · are the statements, the investigation is there.

   ·4· · Q.· · · · ·Okay.· So you agree with me that

   ·5· · multiple officers reported in the Eric Moore

   ·6· · investigation that Eric Moore made violent racial

   ·7· · threats toward another CPD officer?

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · A.· · · · ·The investigation has statements from

   10· · those people that alleged what they said.

   11· · Q.· · · · ·Is that a yes?· Can you answer my

   12· · question yes or no?

   13· · A.· · · · ·Well, the investigation contains all of

   14· · that information, so --

   15· · Q.· · · · ·Including information that multiple

   16· · officers --

   17· · A.· · · · ·I --

   18· · Q.· · · · ·-- reported that --

   19· · A.· · · · ·I don't --

   20· · Q.· · · · ·-- Eric Moore made violent racial

   21· · threats toward another CPD officer.

   22· · A.· · · · ·I don't recall what they specifically

   23· · said.· So if I have to take your word for what it

   24· · says specifically, then you can read it to me or


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   ·1· · point it to me and then I'll say yes.· But I don't

   ·2· · recall exactly what was said in that investigation

   ·3· · and by how many people.

   ·4· · Q.· · · · ·Okay.· I mean I assume, I hope, you

   ·5· · haven't had too many investigations where your

   ·6· · officers are accusing another officer of making

   ·7· · violent racial threats toward another officer.

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.· Jeff, come

   ·9· · on.

   10· · · · · · · ·MR. VARDARO:· Please stop with the

   11· · speaking off objections, Rich.· I'm trying to

   12· · move --

   13· · · · · · · ·MR. COGLIANESE:· Please stop haranguing

   14· · the witness.

   15· · A.· · · · ·What's the question?

   16· · Q.· · · · ·Is there some reason that you can't

   17· · remember this investigation?· We talked about it a

   18· · month ago --

   19· · A.· · · · ·It happened a long time ago.

   20· · Q.· · · · ·-- in great detail.

   21· · · · · · · ·Sergeant Moore's conduct also involved

   22· · directly taking employment action against black

   23· · officers because they participated in internal

   24· · affairs investigation against him, correct?


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   ·1· · · · · · · ·MR. COGLIANESE:· Objection.

   ·2· · A.· · · · ·I don't recall what you're talking

   ·3· · about.

   ·4· · Q.· · · · ·Do you remember that he confronted

   ·5· · Whitney Lancaster, a black officer, about not

   ·6· · taking a narcotics job, and he had made some

   ·7· · threatening statements and text messages about

   ·8· · Carl Shaw about the same narcotics job, and he

   ·9· · admitted in the internal affairs investigation

   10· · that he did that because they had called him a

   11· · racist in an internal affairs investigation?

   12· · · · · · · ·MR. COGLIANESE:· Objection.

   13· · A.· · · · ·That sounds familiar, yeah.

   14· · Q.· · · · ·Okay.· There was no allegation that

   15· · Lieutenant McFadden had directly taken action

   16· · against a white officer because of some racial --

   17· · some conduct that they engaged in during the

   18· · internal affairs investigation?

   19· · A.· · · · ·Not --

   20· · Q.· · · · ·Or a black officer?· She didn't

   21· · retaliate against anybody for participating in her

   22· · investigation that you know of?

   23· · A.· · · · ·Correct.

   24· · Q.· · · · ·And as I said, Sergeant Moore admitted


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   ·1· · that retaliation, Lieutenant McFadden didn't admit

   ·2· · to any misconduct.

   ·3· · A.· · · · ·Correct.

   ·4· · Q.· · · · ·There was evidence that Sergeant Moore

   ·5· · may have violated some federal weapons laws during

   ·6· · his investigation.· Do you remember that?

   ·7· · A.· · · · ·I remember that coming up.

   ·8· · Q.· · · · ·Okay.· And that nothing like that

   ·9· · involved in Lieutenant McFadden's investigation.

   10· · A.· · · · ·Correct.

   11· · Q.· · · · ·Sergeant Moore was directly untruthful

   12· · to you about his involvement in a hiring process

   13· · for that same narcotics job about who had passed

   14· · on the job and who hadn't.

   15· · A.· · · · ·Say that again.

   16· · Q.· · · · ·Sergeant Moore was directly untruthful

   17· · to you about the narcotics position that he was

   18· · hiring for.

   19· · A.· · · · ·In what way?

   20· · Q.· · · · ·He told you that all of the officers

   21· · involved in the hiring process had passed on the

   22· · job.

   23· · A.· · · · ·Did he tell me that?

   24· · Q.· · · · ·Yes.· In a report to you.


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   ·1· · A.· · · · ·Yeah.· I think that's how he

   ·2· · represented it.· I -- I can't remember very well.

   ·3· · Q.· · · · ·Well, it turned out not to be true.· He

   ·4· · was actually told in particular Carl Shaw could

   ·5· · not have passed to him because he was supposed to

   ·6· · not even be talking to Carl Shaw about it.

   ·7· · A.· · · · ·Okay.

   ·8· · Q.· · · · ·Lieutenant McFadden was not charged

   ·9· · with untruthfulness or accused in any

   10· · untruthfulness in her investigation, right?

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · A.· · · · ·During the investigation of the EEO

   13· · stuff, there was no allegation brought forward

   14· · about an untruthfulness.

   15· · Q.· · · · ·Sergeant Moore was found to have

   16· · violated a direct report related to the

   17· · investigation, the no contact order with respect

   18· · to Whitney Lancaster.· Do you remember that?

   19· · A.· · · · ·I believe that's true.

   20· · Q.· · · · ·Lieutenant McFadden had no

   21· · insubordination or charge against her in her

   22· · investigation.

   23· · A.· · · · ·I believe that's true.

   24· · Q.· · · · ·Right.· Sergeant Moore was never


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   ·1· · relieved of his assignment or relieved of duty

   ·2· · until his sustained IA investigation concluded,

   ·3· · correct?

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.

   ·5· · A.· · · · ·I believe that's been addressed.

   ·6· · Q.· · · · ·And that's correct, right?· I mean --

   ·7· · A.· · · · ·I take your word for it.

   ·8· · Q.· · · · ·Okay.· I mean, you know that he was not

   ·9· · relieved of duty until after the IA investigation

   10· · was over.

   11· · A.· · · · ·I don't recall that specifically.· I've

   12· · been told that a number of times by you and

   13· · others.

   14· · Q.· · · · ·Okay.· You have no reason to doubt it.

   15· · A.· · · · ·No.

   16· · Q.· · · · ·Okay.· Lieutenant McFadden you removed

   17· · from supervision before her first interview in the

   18· · internal affairs investigation.

   19· · A.· · · · ·She was not relieved of duty.

   20· · Q.· · · · ·I didn't say relieved of duty.

   21· · A.· · · · ·I know, but she wasn't relieved of

   22· · supervision.· She was relieved of assignment.

   23· · Q.· · · · ·Immediately before her first internal

   24· · affairs interview, correct?


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   ·1· · A.· · · · ·Shortly after the allegations came

   ·2· · forth, she was relieved of her assignment.

   ·3· · Q.· · · · ·Right.

   ·4· · A.· · · · ·Not relieved of supervision.

   ·5· · Q.· · · · ·Well, she wasn't supervising anybody

   ·6· · any more because she was working in the

   ·7· · property room.

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · Q.· · · · ·Right?

   10· · A.· · · · ·She wasn't relieved of her

   11· · responsibility as a supervisor.

   12· · Q.· · · · ·But she was relieved of the practical

   13· · responsibility of supervising any human being?

   14· · · · · · · ·MR. COGLIANESE:· Objection.

   15· · A.· · · · ·I wouldn't say that.

   16· · Q.· · · · ·Who was she supervising in the property

   17· · room?

   18· · A.· · · · ·Any officer that came in there would be

   19· · subject to whatever supervisory decision that she

   20· · made.

   21· · Q.· · · · ·Okay.· She didn't have any direct

   22· · reports anymore?

   23· · A.· · · · ·To my knowledge, that's correct.

   24· · Q.· · · · ·Okay.· Sergeant Moore never faced any


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   ·1· · departmental charges for any of his racial

   ·2· · remarks, all the departmental charges were about

   ·3· · his property allegations, correct?

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.

   ·5· · A.· · · · ·I believe that's correct.· I don't

   ·6· · recall if it was a departmental charge that got

   ·7· · dropped down to a written reprimand for the one

   ·8· · that was sustained.

   ·9· · Q.· · · · ·Okay.· Lieutenant McFadden you

   10· · recommended for termination.

   11· · A.· · · · ·Correct.

   12· · Q.· · · · ·All right.· The safety director

   13· · overtured it.

   14· · A.· · · · ·Correct.

   15· · Q.· · · · ·Okay.· You remember an officer named

   16· · Jesse Perkins?

   17· · A.· · · · ·I do.

   18· · Q.· · · · ·White officer?

   19· · A.· · · · ·Uh-huh.· Yes.

   20· · Q.· · · · ·He was found through an internal

   21· · affairs -- actually, through a -- yeah, through an

   22· · internal affairs investigation to have used

   23· · excessive force against a civilian, hit him over

   24· · the head with a baton, right?


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   ·1· · A.· · · · ·Yes.

   ·2· · Q.· · · · ·And he lied about it directly to his

   ·3· · sergeant after the incident.

   ·4· · A.· · · · ·Right after the incident.

   ·5· · Q.· · · · ·Okay.· And he later admitted to the

   ·6· · untruthfulness.

   ·7· · A.· · · · ·Within a couple hours.

   ·8· · Q.· · · · ·Okay.· His allegation -- his misconduct

   ·9· · involved likely a violation of constitutional

   10· · rights of the civilian.

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · Q.· · · · ·Right?

   13· · A.· · · · ·Say that again.

   14· · Q.· · · · ·Hitting somebody over the head with a

   15· · baton without cause, without proper cause would

   16· · violate that person's constitutional rights to be

   17· · free of excessive force.

   18· · · · · · · ·MR. COGLIANESE:· Objection.

   19· · A.· · · · ·If it was found to be unconstitutional

   20· · use of force, yes.

   21· · Q.· · · · ·Okay.· I mean your department concluded

   22· · and you agreed that this was an excessive use of

   23· · force against a civilian, right?

   24· · A.· · · · ·Correct.


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   ·1· · Q.· · · · ·And that violated -- that likely

   ·2· · violated that person's constitutional rights.

   ·3· · · · · · · ·MR. COGLIANESE:· Objection.· Legal

   ·4· · conclusions.· Come on.

   ·5· · Q.· · · · ·You --

   ·6· · A.· · · · ·We don't find people guilty of

   ·7· · violating the constitutional right.· We find them

   ·8· · guilty of violating our rules of conduct.

   ·9· · Sometimes those coincide.

   10· · Q.· · · · ·Okay.· You've been trained extensively

   11· · in constitutional rights of civilians in your long

   12· · police career, correct?

   13· · A.· · · · ·Yeah.· However you want to describe

   14· · extensively.

   15· · Q.· · · · ·I mean, all of your officers in the

   16· · division of police are trained in what does and

   17· · doesn't violate the constitutional rights of

   18· · civilians with respect to searches, with respect

   19· · to seizures --

   20· · A.· · · · ·Sure.

   21· · Q.· · · · ·-- with respect to excessive force, all

   22· · of that stuff, that training is given as a basic

   23· · element of police procedure, right?

   24· · A.· · · · ·Yes.


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   ·1· · Q.· · · · ·So you know that using excessive force

   ·2· · against a civilian violates their constitutional

   ·3· · rights.

   ·4· · · · · · · ·MR. COGLIANESE:· Objection.· She's not

   ·5· · a lawyer.

   ·6· · Q.· · · · ·Don't you --

   ·7· · A.· · · · ·I know that it could be a

   ·8· · constitutional violation.· It's not always

   ·9· · perceived that way based on the circumstances.

   10· · And just because we rule it to be outside doesn't

   11· · always mean that it would be found to be

   12· · unconstitutional in a court of law.

   13· · Q.· · · · ·Okay.· Is there any doubt in this

   14· · situation involving Jesse Perkins that his use of

   15· · excessive physical force against this civilian

   16· · would have violated this person's constitutional

   17· · rights?

   18· · · · · · · ·MR. COGLIANESE:· Objection.· This calls

   19· · for a legal conclusion.

   20· · A.· · · · ·Ask the question again.

   21· · Q.· · · · ·Did you have any doubt that this use of

   22· · force by Officer Perkins violated that civilian's

   23· · constitutional rights?

   24· · · · · · · ·MR. COGLIANESE:· Objection.


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   ·1· · Q.· · · · ·To hit them over the head with a baton

   ·2· · in a situation that didn't call for it.

   ·3· · · · · · · ·MR. COGLIANESE:· Objection.

   ·4· · A.· · · · ·It certainly could be perceived that

   ·5· · way.

   ·6· · Q.· · · · ·You're aware there was a lawsuit about

   ·7· · that use of force.

   ·8· · A.· · · · ·I'm not recalling that part.

   ·9· · Q.· · · · ·Okay.· In Officer Perkins' case when

   10· · the departmental charges came to you for your --

   11· · prior to the chief's hearing, did you add cause

   12· · for dismissal to the charges against Officer

   13· · Perkins?

   14· · A.· · · · ·Not that I'm aware of.

   15· · Q.· · · · ·Okay.· Any reason why?

   16· · A.· · · · ·No.

   17· · Q.· · · · ·Okay.· Officer Perkins was recommended

   18· · for termination -- Officer Perkins was recommended

   19· · for termination by you and then was brought back

   20· · to work with a 240-hour suspension by the safety

   21· · director; does that sound right?

   22· · A.· · · · ·Uh-huh.· Yes.

   23· · Q.· · · · ·Do you have any understanding of why

   24· · that case was settled?


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   ·1· · A.· · · · ·I believe that it was determined that

   ·2· · it would be possible to allow him to continue his

   ·3· · career.

   ·4· · Q.· · · · ·Okay.· How was that determined?

   ·5· · A.· · · · ·Well, by the director of public safety.

   ·6· · Q.· · · · ·Okay.· Well, where did you get the

   ·7· · understanding I guess is what I'm sort of asking

   ·8· · you?

   ·9· · A.· · · · ·If he didn't fire him, he must have

   10· · thought that he had some value.

   11· · Q.· · · · ·Well, does Director Speaks consult with

   12· · you about that, returning that officer to your

   13· · employment?

   14· · A.· · · · ·I don't remember if I had direct

   15· · communication with him or not.· I might very well

   16· · have.

   17· · Q.· · · · ·Okay.· I mean, it would be your

   18· · typical --

   19· · A.· · · · ·I don't know if I reached out to him or

   20· · I reached out --

   21· · · · · · · ·MR. COGLIANESE:· Hold on.· She's added

   22· · to her answer, Rich.

   23· · · · · · · ·MR. VARDARO:· I'm not intentionally

   24· · doing it.


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   ·1· · · · · · · ·MR. COGLIANESE:· You seem to be doing a

   ·2· · lot of it.· Whether it's intentional or not, just

   ·3· · let her finish her answers.

   ·4· · BY MR. VARDARO:

   ·5· · Q.· · · · ·Do you remember any situations while

   ·6· · you were chief of police where you recommended

   ·7· · somebody for termination and the safety director

   ·8· · settled the case or overruled you where you were

   ·9· · not at least informed in advance if not consulted

   10· · before that decision was made?

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · A.· · · · ·You have to ask that one again.

   13· · Q.· · · · ·Do you remember any situations while

   14· · you were chief of police where you recommended

   15· · somebody for termination and the safety director

   16· · settled the case or overruled you where you were

   17· · not at least informed in advance if not consulted

   18· · before that decision was made by the safety

   19· · director?

   20· · · · · · · ·MR. COGLIANESE:· Objection.

   21· · A.· · · · ·Just for termination?

   22· · Q.· · · · ·Yeah.

   23· · A.· · · · ·I don't recall whether or not he told

   24· · me before he made the decision on Lieutenant


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   ·1· · McFadden.

   ·2· · Q.· · · · ·Do you remember that your

   ·3· · recommendation on McFadden was forwarded to the

   ·4· · safety director and then there was a long delay

   ·5· · between the safety director's hearing and the

   ·6· · determination in McFadden's case because he was

   ·7· · waiting for you to come back for vacation or leave

   ·8· · of some kind?

   ·9· · · · · · · ·MR. COGLIANESE:· Objection.

   10· · A.· · · · ·I don't recall what the reasoning was

   11· · for the delay.· It may have well have been, but I

   12· · don't recall.

   13· · Q.· · · · ·Okay.· And you don't remember whether

   14· · or not he told you before he made that decision?

   15· · A.· · · · ·I believe the decision had already been

   16· · made by the time I found out about it --

   17· · Q.· · · · ·Okay.

   18· · A.· · · · ·-- from the director.

   19· · Q.· · · · ·In Perkins' case, you just can't

   20· · remember whether there was consultation or not

   21· · about the settlement.

   22· · A.· · · · ·I don't remember who any contact was

   23· · made -- made between.

   24· · Q.· · · · ·Did you disagree with the decision to


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   ·1· · bring him back?

   ·2· · A.· · · · ·No.

   ·3· · Q.· · · · ·Okay.· Why not?

   ·4· · A.· · · · ·I thought that Officer Perkins made a

   ·5· · very bad decision to not be truthful about the

   ·6· · circumstances of that particular incident.· It was

   ·7· · done kind of in the heat of the moment in my

   ·8· · opinion, after a volatile situation.· I think that

   ·9· · he realized very quickly that he had made a very

   10· · bad mistake and went to his supervisor and

   11· · confessed that he had not told him the truth and

   12· · that he was remorseful about that and honest about

   13· · that mistake.· And I thought that he might have

   14· · the potential for more value within the division

   15· · of police.

   16· · Q.· · · · ·Okay.· I assume you remember a white

   17· · officer named Zach Rosen.

   18· · A.· · · · ·I remember him.

   19· · Q.· · · · ·Okay.· I want to ask you about two

   20· · different investigations involving Officer Rosen.

   21· · First of all, he was investigated for a -- for

   22· · allegedly kicking a civilian in the head while he

   23· · was handcuffed.· Do you remember that?

   24· · A.· · · · ·I do.


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   ·1· · Q.· · · · ·Okay.· And he was also investigated and

   ·2· · disciplined for a retaliatory stop of a civilian

   ·3· · who had yelled at him.· Do you remember that one?

   ·4· · A.· · · · ·I believe that it was a civilian

   ·5· · complaint that had come in from a traffic violator

   ·6· · that had gotten a ticket from him.· I don't

   ·7· · remember what the allegation was because it did

   ·8· · not come to me for a resolution.

   ·9· · Q.· · · · ·Okay.· No departmental charges in that

   10· · situation?

   11· · A.· · · · ·It wasn't brought to me for those --

   12· · Q.· · · · ·Okay.

   13· · A.· · · · ·-- charges.

   14· · · · · · · ·They had decided to do a DCC without

   15· · consulting with me.

   16· · Q.· · · · ·Okay.· Do you remember becoming aware

   17· · that the deputy chief had actually issued some

   18· · discipline or counseling to the chain of command

   19· · beneath him for not properly disciplining Officer

   20· · Rosen in that situation?

   21· · A.· · · · ·I don't have any specific recall of it.

   22· · But I remember being very frustrated that they had

   23· · not viewed it as critical misconduct.

   24· · Q.· · · · ·If you wanted to, you could have


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   ·1· · instructed them to departmentally charge him,

   ·2· · right?· You had the power to do that.

   ·3· · A.· · · · ·Not that I'm aware of.

   ·4· · Q.· · · · ·Okay.

   ·5· · A.· · · · ·They had already disciplined the

   ·6· · officer, and so I -- I'm not aware that I can come

   ·7· · back and do a departmental charge for the same

   ·8· · behavior.· He was disciplined and -- I mean, I

   ·9· · don't know that I ever tried it.· I don't know if

   10· · anybody ever tried it.· But, you know, all the

   11· · training and advice and all that that I've been

   12· · given is that, you know, once somebody has been

   13· · disciplined, you can't change that discipline.

   14· · Q.· · · · ·In the other investigation, the one

   15· · where he was accused of using improper force

   16· · against the civilian, the allegation was that the

   17· · civilian was handcuffed and lying on the ground

   18· · and that he had come from a fair distance away and

   19· · run over and kicked the guy in the head, right?

   20· · A.· · · · ·Yes.

   21· · Q.· · · · ·And there was video evidence in that

   22· · situation showing him doing that.

   23· · A.· · · · ·There is video of that particular

   24· · incident.


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   ·1· · Q.· · · · ·Okay.· The video confirmed that he was

   ·2· · not being truthful in his use of force report,

   ·3· · didn't it?

   ·4· · A.· · · · ·By -- in what way?

   ·5· · Q.· · · · ·Well, his use of force report indicated

   ·6· · that he had placed his foot on the person's

   ·7· · shoulder and held him down, and the video showed

   ·8· · that he had struck him with his foot, to the point

   ·9· · where the guy's head, like, bounced off the

   10· · pavement, right?

   11· · A.· · · · ·Well, you're alleging that he was

   12· · untruthful in saying that.· It doesn't match up

   13· · with what it appears on the video, but you're

   14· · saying it's untruthful and it might have been his

   15· · perception.

   16· · Q.· · · · ·Okay.· His use of force report was

   17· · inaccurate in a way that downplayed the severity

   18· · of the incident, putting aside his motive.

   19· · A.· · · · ·Well, it certainly didn't look as he

   20· · described.

   21· · Q.· · · · ·Because he didn't do what he described?

   22· · A.· · · · ·That's certainly the way that it

   23· · appears, yes.

   24· · Q.· · · · ·Why did you recommend not terminating


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   ·1· · Zach Rosen for that incident?· Your recommendation

   ·2· · was a three-day working suspension, right?

   ·3· · A.· · · · ·For outside policy use of force.

   ·4· · Q.· · · · ·Right.

   ·5· · A.· · · · ·And I don't know that I've ever

   ·6· · recommended termination for an outside of policy

   ·7· · use of force.· I don't remember any comps along

   ·8· · those lines.

   ·9· · Q.· · · · ·Okay.

   10· · A.· · · · ·So it ranges from a written reprimand

   11· · to I think the most I gave was like 160-hour

   12· · suspension --

   13· · Q.· · · · ·Okay.

   14· · A.· · · · ·-- for outside policy use of force or

   15· · something along those lines.

   16· · Q.· · · · ·Rosen's was 24 hours, right?

   17· · A.· · · · ·Yes.

   18· · Q.· · · · ·And I assume you did not charge him

   19· · with cause for dismissal as you did with Officer

   20· · Morgan.

   21· · A.· · · · ·Correct.

   22· · Q.· · · · ·Okay.· Did you discuss Rosen's case

   23· · with the safety director?

   24· · A.· · · · ·I know that the conversations were had


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   ·1· · and a number of different ways, so, yes, that

   ·2· · particular incident was discussed a number of

   ·3· · times.

   ·4· · Q.· · · · ·Okay.· Did you disagree with the safety

   ·5· · director's determination to terminate?

   ·6· · A.· · · · ·Yes.· Or I would have recommended it.

   ·7· · Q.· · · · ·Okay.· This by the way was an incident

   ·8· · that was very widely reported in the media and

   ·9· · didn't reflect particularly well on the

   10· · department.

   11· · A.· · · · ·Correct.

   12· · Q.· · · · ·Was there criminal investigation of

   13· · Officer Rosen?

   14· · A.· · · · ·No.

   15· · Q.· · · · ·Okay.· And Officer Rosen at the time

   16· · was still actively under investigation for

   17· · shooting a civilian, correct?· The shooting

   18· · investigation hadn't cleared him at that point?

   19· · A.· · · · ·I think that's -- I think that's

   20· · correct.

   21· · Q.· · · · ·Did you take that into account?

   22· · A.· · · · ·Did I take what into account?

   23· · Q.· · · · ·The fact that he was already under

   24· · investigation for use of force against a civilian


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   ·1· · when he improperly used force another civilian.

   ·2· · A.· · · · ·Well, I was aware of it.· But what do

   ·3· · you mean by take into account?

   ·4· · Q.· · · · ·Did you use it as an aggravating or a

   ·5· · mitigating factor in his discipline, the fact that

   ·6· · he was -- he knew that he was already sort of

   ·7· · under investigation and maybe should have been a

   ·8· · little bit more careful about kicking people in

   ·9· · the head?

   10· · A.· · · · ·No.· I didn't --

   11· · · · · · · ·MR. COGLIANESE:· Objection.

   12· · A.· · · · ·-- consider -- I didn't consider that

   13· · they played into each other.

   14· · Q.· · · · ·Okay.· Did you consider the fact that

   15· · he had recently been found -- even though you

   16· · weren't involved, that he had been recently found

   17· · to have made a retaliatory stop of a civilian?

   18· · A.· · · · ·I can't consider discipline that's

   19· · beyond its administrative use time.

   20· · Q.· · · · ·Was that DCC for the retaliatory stop

   21· · beyond its administrative use time?

   22· · A.· · · · ·I believe it was.

   23· · Q.· · · · ·What would be the use time?

   24· · A.· · · · ·Nine months.


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   ·1· · Q.· · · · ·The --

   ·2· · A.· · · · ·And it was not the same behavior.· So

   ·3· · it's progressive if it's the same behavior.· It's

   ·4· · not progressive if it's different behavior.

   ·5· · Q.· · · · ·Okay.· Can you shed any light for me on

   ·6· · why Rosen got a shorter suspension than Lyons for

   ·7· · the vehicle stop?

   ·8· · · · · · · ·MR. COGLIANESE:· Objection.

   ·9· · A.· · · · ·Different circumstances.· Lyons was off

   10· · duty, he had no duty to take action.· He could

   11· · have written down a license plate and drove on.

   12· · He could have called the police agency and

   13· · reported a hit skip accident if he wanted to.

   14· · · · · · · ·Officer Rosen was in a circumstance

   15· · where he had a duty to respond to this particular

   16· · incident and he did and he responded in a way that

   17· · was inappropriate and so different circumstances,

   18· · different rules in play.· On duty, off duty.· All

   19· · of that played into the decision making.

   20· · Q.· · · · ·Okay.· And in your mind what Lyons did

   21· · was more severe than what Rosen did?

   22· · · · · · · ·MR. COGLIANESE:· Objection.

   23· · A.· · · · ·I thought it deserved a more severe

   24· · corrective action.· You know, it's hard to say


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   ·1· · what's more severe in the sense of public trust in

   ·2· · the sense of a whole bunch of other things.· But

   ·3· · based on the behavior and the comparables and the

   ·4· · circumstances and all of that, I thought that that

   ·5· · was appropriate level of corrective action for

   ·6· · that particular use of force.

   ·7· · Q.· · · · ·If we could take a quick break, I think

   ·8· · I'm just about done.· But I've got to check with

   ·9· · my co-counsel.

   10· · A.· · · · ·Great.

   11· · · · · · · ·(A short recess is taken.)

   12· · BY MR. VARDARO:

   13· · Q.· · · · ·With one exception, those are the

   14· · questions that I have for you today.

   15· · · · · · · ·The only other question I have is

   16· · whether there's anything that we've discussed that

   17· · you feel like you need to add to or correct?

   18· · A.· · · · ·Not that I can think of.

   19· · Q.· · · · ·Then those are all the questions I

   20· · have.

   21· · · · · · · ·MR. COGLIANESE:· She'll read.

   22· · · · · · · · · (Signature not waived.)

   23· · · · · · ·(Thereupon, the foregoing proceedings

   24· · · · · · · concluded at 5:21 p.m.)


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   ·1·   · State of Ohio· · ·:· · · ·C E R T I F I C A T E
   · ·   · County of Franklin: SS
   ·2
   · ·   ·   · · I, Stacy M. Upp, a Notary Public in and for
   ·3·   ·   the State of Ohio, certify that Kimberley K.
   · ·   ·   Jacobs was by me duly sworn to testify to the
   ·4·   ·   whole truth in the cause aforesaid; testimony then
   · ·   ·   given was reduced to stenotype in the presence of
   ·5·   ·   said witness, afterwards transcribed by me; the
   · ·   ·   foregoing is a true record of the testimony so
   ·6·   ·   given; and this deposition was taken at the time
   · ·   ·   and place specified on the title page.
   ·7
   · ·   ·   · · Pursuant to Rule 30(e) of the Federal Rules of
   ·8·   ·   Civil Procedure, the witness and/or the parties
   · ·   ·   have not waived review of the deposition
   ·9·   ·   transcript.

   10·   ·   · · I certify I am not a relative, employee,
   · ·   ·   attorney or counsel of any of the parties hereto,
   11·   ·   and further I am not a relative or employee of any
   · ·   ·   attorney or counsel employed by the parties
   12·   ·   hereto, or financially interested in the action.

   13· · · · IN WITNESS WHEREOF, I have hereunto set my
   · · · hand and affixed my seal of office at Columbus,
   14· · Ohio, on August 2, 2019.

   15

   16

   17

   18

   19

   20· · ______________________________________________
   · · · Stacy M. Upp, Notary Public - State of Ohio
   21· · My commission expires August 6, 2021.

   22

   23

   24


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             ·   · · · Witness Errata and Signature Sheet
             ·   · · · ·Correction or Change Reason Code
             ·   ·1-Misspelling· 2-Word Omitted· 3-Wrong Word
             ·   · ·4-Clarification· 5-Other (Please explain)

             Page/Line· · ·Correction or Change· · ·Reason Code

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

             _______· _______________________________· ________

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             _______· _______________________________· ________

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             _______· _______________________________· ________

             _______· _______________________________· ________


             I, Kimberley K. Jacobs, have read the entire
             transcript of my deposition taken in this matter,
             or the same has been read to me.· I request that
             the changes noted on my errata sheet(s) be entered
             into the record for the reasons indicated.

             Date__________Signature___________________________

             The witness has failed to sign the deposition
             within the time allowed.

             Date__________Signature___________________________

             · · · · · · · · · · · · · ·Ref: SU31482KJ· S-SU P-BW



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